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                                         EXHIBIT “D”
                          Attached to and made a part of that certain
        Brewton Prospect Participation Agreement dated effective as of January 23, 2015,
     by and between Sklar Exploration Company L.L.C., as Operator, and Sklarco L.L.C., et
                                     al., as Non-Operator




                                  A.A.P.L. FORM 610-1982

                 MODEL FORM OPERATING AGREEMENT
                              BREWTON PROSPECT
                          ESCAMBIA COUNTY, ALABAMA




                                  OPERATING AGREEMENT

                                             DATED

                                   January 23        ,   2015     ,
                                                          year



    OPERATOR      SKLAR EXPLORATION COMPANY L.L.C.


    CONTRACT AREA As shown on Exhibit “A” to this Agreement.




    COUNTY ORr^ARiS^OF        ESCAMBIA                                STATE OF   ALABAMA




                               COPYRIGHT 1982 - ALL RIGHTS RESERVED
                               AMERICAN ASSOCIATION OF PETROLEUM
                               LANDMEN, 4100 FOSSIL CREEK BLVD.，FORT
                               WORTH, TEXAS，76137-2791, APPROVED
                               FORM. A.A.P.し NO. 610 - 1982 REVISED




                                                                                     EXHIBIT 7
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                                                             OPERATING AGREEMENT

    2       THIS AGREEMENT, entered into by and between         SKLAR EXPLORATION COMPANY L.L.C., a Louisiana limited liability
    3 Company, with a mailing address of 401 Edwards Street^Suite 1601, Shreveport Louisiana 71101                  hereinafter designated and
    4 referred to as “Operator”，and the signatory party or parties other than Operator, sometimes hereinafter referred to individually herein
    5 as “Non-Operator”，and collectively as “Non-Operators”.
    6
    7                                                            WITNESSETH:
    8
    9      WHEREAS，the parties to this agreement are owners of oil and gas leases and/or oil and gas interests in the land identified in
   10 Exhibit “A”，and the parties hereto have reached an agreement to explore and develop these leases and/or oil and gas interests for the
   11 production of oil and gas to the extent and as hereinafter provided.
   12
   13         NOW，THEREFORE, it is agreed as follows:
   14
   15                                                                    ARTICLE I.
   16                                                                   DEFINITIONS
   17
   18         As used in this agreement，the following words and terms shall have the meanings here ascribed to them:
   19         A. The term “oil and gas’，shall mean oil, gas, casinghead gas, gas condensate, and all other liquid or gaseous hydrocarbons
   20   and other marketable substances produced therewith, unless an intent to limit the inclusiveness of this term is specifically stated.
   21         B. The terms “oil and gas lease”，“lease” and “leasehold” shall mean the oil and gas leases covering tracts of land
   22   lying within the Contract Area which are owned by the parties to this agreement.
   23         C. The term “oil and gas interests” shall mean unleased fee and mineral interests in tracts of land lying within the
   24   Contract Area which are owned by parties to this agreement, including royalty and overriding royalty interests.
   25         D. The term “Contract Area” shall mean all of the lands, oil and gas leasehold interests and oil and gas interests intended to be
   26   developed and operated for oil and gas purposes under this agreement Such lands, oil and gas leasehold interests and oil and gas interests
   27   are described in Exhibit “A”
   28         E. The term “drilling unit” shall mean the area fixed for the drilling of one well by order or rule of any state or
   29   federal body having authority. If a drilling unit is not fixed by any such rule or order, a drilling unit shall be the drilling unit as establish-
   30   ed by the pattern of drilling in the Contract Area or as fixed by express agreement of the Drilling Parties.
   31         F. The term “drillsite” shall mean the oil and gas lease or interest on which a proposed well is to be located^^o^
                                                                                                                                   of
   32         G. The terms “Drilling Party” and “Consenting Party” shall mean a party who agrees to join in and pay / its share of the cost of
   33   any operation conducted under the provisions of this agreement.
   34         H. The terms “Non-Drilling Party” and “Non-Consenting Party” shall mean a party who elects not to participate
        for 100% of its share of
   35   tfh/a proposed operation.
   36
   37         Unless the context otherwise clearly indicates, words used in the singular include the plural，the plural includes the
   38 si ngular, and the neuter gender includes the masculine and the feminine. Words defined herein shall have the same meaning whether or
        not they are capitalized.
   39
   40                                                                    ARTICLE II.
   41                                                                     EXHIBITS
   42
   43        The following exhibits, as indicated below and attached hereto, are incorporated in and made a part hereof:
   44 0      A. Exhibit “A”，shall include the following information:
   45            (1) Identification of lands subject to this agreement,
   46            (2) Restrictions, if any, as to depths, formations, or substances,
   47            (3) Percentages or fractional interests of parties to this agreement,
   48            (4) Oil and gas leases and/or oil and gas interests subject to this agreement,
   49            (5) Addresses of parties for notice purposes.
   50 0 B. Exhibit “B”，Form of Lease.
   510 C. Exhibit “C”，Accounting Procedure.
   52 0 D. Exhibit “D”，Insurance.
   53 0 E. Exhibit “E”，Gas Balancing Agreement.
   54 tà----F. Exhibit tcF?VNon- Diserimination-and Certification of-Non-Segregated Faeilitiesr
   55 B~G： Exhibk-^\ Tax Partnership
   56        If any provision of any exhibit, except Exhibks / “F，" -and- --G22, is inconsistent with any provision contained in the body
   57 of tms agreement, the provisions in theoSs0/^                                                               “A” and “E’7 is inconsistent with
       any provision contained in the body <                                                                      prevail.
   58
   59        I. The term “Deepen” shall mean a single operation whereby a well is drilled to an objective Zone below the deepest Zone in
   60 which the well was previously drilled, or below the deepest Zone proposed in the associated AFE, whichever is the lesser.
             J. The term “Plug Back” shall mean a single operation whereby a deeper Zone is abandoned in order to attempt a completion
   61 in a shallower Zone.
   62        K. The term “Recompletion” or “Recomplete” shall mean an operation whereby a Completion in one Zone is abandoned or
   63 temporarily isolated in order to attempt a Completion in or commingling with a different Zone within the existing wellbore.
             L. The term “Rework” shall mean an operation conducted in the wellbore of a well after it is Completed to secure, restore, or
   64
      improve production in a Zone which is currently open to production in the wellbore. Such operations include, without limitation, well
   65 stimulation operations, but exclude any routine repair or maintenance work or drilling, Sidetracking, Deepening, Completing, Re-
   66 completing or Plugging Back of a well.
   67        M. The term “Sidetrack” shall mean the directional control and intentional deviation of a well from vertical so as to change
      the bottom hole location, unless done to straighten the hole or drill around junk in the hole to overcome other mechanical difficulties.
   68        N. The term “Zone” shall mean a stratum of earth containing, or thought to contain, a common accumulation of Oil and Gas
   69 separately producible from any other common accumulation of Oil ana oas.
   70
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                                                                    ARTICLE III.
                                                                INTERESTS OF PARTIES
    2
    3 A. Oil and Gas Interests:
    4
    5        If any party owns an oil and gas interest in the Contract Area，that interest shall be treated for all purposes of this agreement
    6 and during the term hereof as if it were covered by the form of oil and gas lease attached hereto as Exhibit “B”，and the owner thereof
    7                                                                                                                                            that
    8
    9 B. Interests of Parties in Costs and Production:
   10
   11        Unless changed by other provisions, all costs and liabilities incurred in operations under this agreement shall be borne and
   12 paid, and all equipment and materials acquired in operations on the Contract Area shall be owned, by the parties as their interests are set
   13 forth in Exhibit “A”. In the same manner, the parties shall also own all production of oil and gas from the Contract Area subject to the
   14 payment of royalties to the extent of______ all jointly owned lease burdens______             which shall be borne as hereinafter set forth.
   15                                                                                                                                           and
   16         :r.!L_áless oí whk-h-i)artY hag-eentributed-the-lease^-and/or-eH-and-gas interest(s) .hereto-en-which t royalty-fô-^^-t
      from any liability therçfor. If the interest of any party(ies) in^any oil and gas lease covered by this agreement subject to any $dd-
   17 pavable, each pa~ entitled to-reeeive a share-ot production of oil-and-gaslrom the-gon^æt-Afea shai4)ær-Qnd^afl--pay or âeiiwv^v
      itiónal royalty, overriding royalty, production payment or other charge over and above those shown on Exhibit “A”，such party(ies)
   18 cause to Be paid -or deliveped, to tiie-ex-tent ot its-mterest-卜rnsuch produetion7-the-royalty amount Gtipulated hereinabove-and-s-ha» held-fee
      shall assume and alone bear all $uch obligations and shall account, or cause to be accounted, for such interest(s) to the owners therof.
                      • from anv-iiability therefor—No party shall ever be responsible, however, on a price basis higher than the price received
   19 et-hep parties tree
   20 by such party, to any other party’s lessor or royalty owner, and if any such other party’s lessor or royalty owner should demand and
   21 receive settlement on a higher price basis，the party contributing the affected lease shall bear the additional royalty burden attributable to
   22 such higher price.
   23
   24       Nothing contained in this Article III.B. shall be deemed an assignment or cross-assignment of interests covered hereby.
   25
   26 C Excess Royalties, Overriding Royalties and Other Payments:
   27
   28       Unless changed by other provisions, if the interest of any party m any lease covered hereby is subject to any royalty,
                                                               which is not a joint (Obligation of the parties.
   29 overriding royalty, production payment or other burden on production / in excess of-the-amount- st-ipw-ateé ■in-A-Ftiek-IlI-.-B-：-, such party so
   30 burdened shall assume and alone bear all such excess obligations and shall indemnify and hold the other parties hereto harmless from any
   31 and all claims and demands for payment asserted by owners of such excess burden.
   32
   33   D.   Subsequently Created Interests:
   34
   35        If any party should hereafter create an overriding royalty, production payment or other burden payable out of production
   36 attributable to its working interest hereunder, or if such a burden existed prior to this agreement and is not set forth in Exhibit “A”，e?
   37 was- not .diseased in wrk~ifíg-4o-at4-^her part-ies-prior -to-t-he execution of this agreement-by--all partiesror is not a jointly acknowledged and
   38 accepted obligation of all parties (any such interest being hereinafter referred to as “subsequently created interest” irrespective of the
   39 timing of its creation and the party out of whose working interest the subsequently created interest is derived being hereinafter referred
   40 to as “burdened party’’)，and:
   41
   42       1.   If the burdened party is required under this agreement to assign or relinquish to any other party, or parties, all or a portion
   43             of its working interest and/or the production attributable thereto, said other party, or parties，shall receive said assignment and/or
   44            production free and clear of said subsequently created interest and the burdened party shall indemnity and save said other party，
   45             or parties, harmless from any and all claims and demands for payment asserted by owners of the subsequently created interest;
   46             and.
   47
   48       2.    If the burdened party fails to pay，when due, its share of expenses chargeable hereunder, all provisions of Article VII.B. shall be
   49             enforceable against the subsequently created interest in the same manner as they are enforceable against the working interest of
   50             the burdened party.
   51
   52                                                                      ARTICLE IV.
   53                                                                         TITLES
   54
   55 A.     Title Examination:
   56
   57       Title examination shall be made on the drillsite of any proposed well prior to commencement of drilling operations or,^f
                             at Opcríitor's       tion
   58 the Drilling Parties-5so -request /, title examination shall be made on the leases and/or oil and gas interests included, or planned to be includ-
   59 ed, in the drilling unit around such well. The opinion will include the ownership of the working interest, minerals, royalty, overriding
   60 royalty and production payments under the applicable leases. At the time a well is proposed, each party contributing leases and/or oil and
   61 gas interests to the drillsite, or to be included in such drilling unit, shall furnish to Operator all abstracts (including federal lease status
   62 reports), title opinions, title papers and curative material m its possession free of charge. All such information not in the possession of or
   63 made available to Operator by the parties, but necessary for the examination of the title, shall be obtained by Operator. Operator shall
   64 cause title to be examined by attorneys on its staff or by outside attorneys. / Copies of 一 title opinions shall be furnished to each party
      provided such party has paid 100% of its share of all costs ofall çperanon.s conducted under the provisions of this agreement
   65 hereto /. The cost incurrea by Operator in this title program shall be borne as follows:
   66
   67 B——Option No. It~Gosts—Cerned by Operator-in-pæe^r-iftg-abstFaots-and title-ex-amination- (-inej-Hding pFeliminary，supplem^rtfa^
   68 shut-in gas royalty~opifriorfô~aftd-ài_vfôk)n order-併a part of the administrative-overhead as-provided -in-E-xhH)it-
   69 and-shall-flot be a-direet-e^ar-ge, whether-peiforn^-by-OpeFator-^-st-a-ffattorneys-er by outsiëe-attomeysT
   70


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                                                                        ART]ICLE IV
                                                                         con tinued


    1   0    Option No. 2:      Costs incurred by Operator in procuring abstracts / and fees paid outsjde attorneys / for title examination
   2 (including preliminary, supplemental, shut-in gas royalty opinions and division order title opinions) / shall be borne by the Drilling Parties
   3 in the proportion that the interest of each Drilling Party bears to the total interest of all Drilling Parties as such interests appear in Ex-
   4 hibit “A”. Operator shall make no charge for services rendered by its staff attorneys or other personnel in the performance of the above
   5    ictions.            ,       .,
        :urative matters and materials        landmen and consultants           and for applications and hearings
   6

   8 with                                                                                                                                二：:;::
   9 designations or declarations as well as the conduct of hearings before governmental agencies for the securing of spacing or pooling orders.
  10 This shall not prevent any party from appearing on its own behalf at any such hearing.
  11
  12       No well shall be drilled on the Contract Area until after (1) the title to the drillsite or drilling unit has been examined as above
                                                                                                            Operator
  13 provided, and (2) the title has been approved by the examining attorney or title has been accepted by / all of the parties- who-are-te卞af-
  14 ticipate-iñ-the drilling-of the-well.
  15
  16    B.   Loss of Title:
  17
  18          1. Failure of Title: Should any oil and gas interest or lease, or interest therein, be lost through failure of title, which loss results in a
  19    reduction of interest from that shown on Exhibit “A”，the party contributing the affected lease or interest shall have ninety (90) days
  20    from final determination of title failure to acquire a new lease or other instrument curing the entirety of the title failure, which acquisi­
  21    tion will not be subject to Article VIII.B., and failing to do so, this agreement, nevertheless, shall continue in force as to all remaining oil
  22    and gas leases and interests: and,
  23          (a) The party whose oil and gas lease or interest is affected by the title failure shall bear alone the entire loss and it shall not be
  24    entitled to recover from Operator or the other parties any development or operating costs whicn it may have theretofore paid or incurred,
  25    but there shall be no additional liability on its part to the other parties hereto by reason of such title failure;
  26          (b) There shall be no retroactive adjustment of expenses incurred or revenues received from the operation of the interest which has
  27    been lost, but the interests of the parties shall be revised on an acreage basis, as of the time it is determined finally that title failure has oc-
  28    curred, so that the interest of the party whose lease or interest is affected by the title failure will thereafter be reduced in the Contract
  29    Area by the amount of the interest lost;
  30          (c) If the proportionate interest of the other parties hereto in any producing well theretofore drilled on the Contract Area is
  31    increased by reason of the title failure, the party whose title has failed shall receive the proceeds attributable to the increase in such in­
  32    terest (less costs and burdens attributable thereto) until it has been reimbursed for unrecovered costs paid by it in connection with such
  33    well;
  34          (d) Should any person not a party to this agreement, who is determined to be the owner of any interest in the title which has
  35    failed, pay in any manner any part of the cost of operation, development, or equipment, such amount shall be paid to the party or parties
  36    who bore the costs which are so refunded;
  37          (e) Any liability to account to a third party for prior production of oil and gas which arises by reason or title failure shall be
  38    borne by the party or parties whose title failed in the same proportions in which they shared in such prior production; and,
  39          (f) No charge shall be made to the joint account for legal expenses, fees or salaries, in connection with the defense of the interest
  40    claimed by any party hereto, it being the intention of the parties hereto that each shall defend title to its interest and bear all expenses in
  41    connection therewith.
  42
  43         2. Loss bv Non-Payment or Erroneous Payment of Amount Due:                    If，through mistake or oversight, any rental, shut-in well
   44 payment, minimum royalty or royalty payment, is not paid or is erroneously paid，and as a result a lease or interest therein terminates，
   45 there shall be no monetary liability against the party who failed to make such payment. Unless the party who failed to make the required
   46 payment secures a new lease covering the same interest within ninety (90) days from the discovery of the failure to make proper payment，
   47 which acquisition will not be subject to Article VIII.B.，the interests of the parties shall be revised on an acreage basis, effective as of the
   48 date of termination of the lease involved，and the party who failed to make proper payment will no longer be credited with an interest in
   49 the Contract Area on account of ownership of the lease or interest which has terminated. In the event the party who failed to make the
   50 required payment shall not have been fully reimbursed, at the time of the loss, from the proceeds of the sale of oil and gas attributable to
   51 the lost interest, calculated on an acreage basis, for the development and operating costs theretofore paid on account of such interest，it
   52 shall be reimbursed for unrecovered actual costs theretofore paid by it (but not for its share of the cost of any dry hole previously drilled
   53 or wells previously abandoned) from so much of the following as is necessary to effect reimbursement:
   54       (a) Proceeds of oil and gas，less operating expenses，theretofore accrued to the credit of the lost interest, on an acreage basis，
   55 up to the amount of unrecovered costs;
   56       (b) Proceeds, less operating expenses, thereafter accrued attributable to the lost interest on an acreage basis, of that portion of
   57 oil and gas thereafter produced and marketed (excluding production from any wells thereafter drilled) which，in the absence of such lease
   58 termination，would be attributable to the lost interest on an acreage basis，up to the amount of unrecovered costs, the proceeds of said
   59 portion of the oil and gas to be contributed by the other parties in proportion to their respective interest; and,
   60       (c) Any monies, up to the amount of unrecovered costs, that may be paid by any party who is，or becomes, the owner of the interest
   61 lost，for the privilege of participating in the Contract Area or becoming a party to this agreement.
   62
   63      3. Other Losses: All losses incurred, other than those set forth in Articles IV.B. 1. and IV.B.2. above, shall be joint losses
   64 and shall be borne by all parties in proportion to their interests. There shall be no readjustment of interests in the remaining portion of
   65 the Contract Area.
   66
   67
   68
   69
   70


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                                                                           ARTICLE V.
    2                                                                      OPERATOR
    3
    4 A.     Designation and Responsibilities of Operator:
    5
    6                          SKLAR EXPLORATION COMPANY L.L.C. of Shreveport Louisiana                                                shall be the
    7   Operator of the Contract Area, and shall conduct and direct and have full control of all operations on the Contract Area as permitted and
    8   required by, and within the limits of this agreement. It shall conduct all such operations in a good and workmanlike manner, but it shall
    9   have no liability as Operator to the other parties for losses sustained or liabilities incurred, except such as may result from gross
   10   negligence or willful misconduct.
   11
   12   B.   Resignation or Removal of Operator and Selection of Successor:
   13
   14        1. Resignation or Removal of Operator: Operator may resign at any time by giving written notice thereof to Non-Operators.
   15 If Operator terminates its legal existence, no longer owns an interest hereunder in -the-gontracf-Arearor is no longer capable of serving as
   16 Operator, Operator shall be deemed to have resigned without any action by Non-Operators, except the selection of a successor. Operator
   17 may be removed ii it fails or refuses to carry out its duties hereunder, or becomes insolvent, bankrupt or is placed m receivership, by the
   18 affirmative vcote of two (2) or more Non-Operators owning a majority interest based on ownership as sliown on Exhibit “A” remaining
      Such vote shiiall not be deemed effective until a written nonce has been delivered to Operator by Non-Operator(s) detailing the alleged
   19 after excluding the voting interest of Operator. / Such resignation or removal shall not become effective until 7:00 o’clock A.M. on me
      4efault an<i Op erator has failed to cure the alleged defaujï within thirty (30) davs oi.itç receipt qI sai(j notice.
   20 first day ot the calendar month tollowing the expiration ot ninety (90) days after the giving ot notice of resignation by Operator or action
   21 by the Non-Operators to remove Operator, unless a successor Operator has been selected and assumes the duties of Operator at an earlier
   22 date. Operator, after effective date of resignation or removal, shall be bound by the terms hereof as a Non-Operator. A change of a cor-
   23 porate name or structure of Operator or transfer of Operator’s interest to any single subsidiary, parent or successor corporation shall not
   24 be the basis for removal of Operator.
   25
   26        2. Selection of Successor Operator: Upon the resignation or removal of Operator, a successor Operator shall be selected by
   27 the parties. The successor Operator shall be selected from the parties owning an interest in the Contract Area at the time such successor
   28 Operator is selected. The successor Operator shall be selected by the affirmative vote of two (2) or more parties owning a majority interest
   29 based on ownership as shown on Exhibit “A”； provided, however, if an Operator whieh-has been removed fails-to-vote-or votes- only to
   30 succoed itself, the successor Operator shall be selected by the affirmative vote of two (2) or more parties owning a majority interest based
   31 on ownership as shown on Exhibit “A” remaining after excluding the voting interest of the Operator that was removed.
   32
   33 C.      Employees:
   34
   35     The number of employees used by Operator in conducting operations hereunder, their selection, and the hours of labor and the
   36 compensation for services performed shall be determined by Operator, and all such employees shall be the employees of Operator.
   37
   38 D. Drilling Contracts:
   39                                                                                     ment condition, contractor employee reliability and
                                                                                          determining the real compennve price.
   40                                                                                    basis at the usual rates prevailing in tíie area, /. If it so
   41 desires. Operator may employ its own tools and equipment in the drilling of wells, but its charges therefor shall not exceed the prevailing
   42 rates in the area a^4he-rate of sueh-charges shaH-be-agreed-upon-by the-parties in-wntmg-before dri 11 ing-epefgtiens-are-eommen€edrand
   43 such work shall be performed by Operator under the same terms and conditions as are customary and usual in the area in contracts of in­
   44 dependent contractors who are doing work of a similar nature.
       E. Custody of Funds: Operator shall hold for the account of Non-Operators any funds of Non-Operators advanced or paid to Operator, either for the
       conduct of operations hereunder or as a result of the sale of production from the Contract Area, and such funds shall remain the funds of Non-Operators
       on whose account they are advanced or paid until used for tneir intended purpose or otherwise delivered to Non-Operators or applied toward the pay-
   4¢) ment of debts, regardless of whether the debts arise out of the same well or operation for which the funds were advanced or from which the' sales     *
       proceeds were derived. Nothing in this paragraph shall be construed to establish a fiduciary relationship between Operator and Non-Operators. Nothing
   4 / m this paragraph shall require the maintenance by Operator of separate accounts for the funds of Non-Operators.
       F. Statutory Employer: Operator shall be considered the statutory employer of all employees of all contractors, their sub-contractors or agents, whose
   40 goods furnished or services rendered for Operator are an integral part of or essential to Operator's ability to perform its operations as an oil and gas
       operator.
   49                                                                 ARTICLE VI.
   50                                                         DRILLING AND DEVELOPMENT
   51
   52 A. Initial Well:
             -―Initiai Well” is the well referred to in Section 1.5 of the Participation Agreement to which this instrument is attached
   53 as Exhibit “D”.
   54       On or before the__________ day of.                                   ，（＞’咖）             , Operator shall commence the drilling of a well for
   55 oil and gas at the following location:
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   57
   58
   59
   60 and shall thereafter continue the drilling of the well with due diligence to
   61
   62
   63
   64
   65 unless granite or other practically impenetrable substance or condition in the hole, which renders further drilling impractical, is en-
   66 countered at a lesser depth, or unless all parties agree to complete or abandon the well at a lesser depth.
   67
   68       Operator shall make reasonable tests of all formations encountered during drilling which give indication of containing oil and
   69 gas in quantities sufficient to test, unless this agreement shall be limited in its application to a specific formation or formations, in which
   70 event Operator shall be required to test only the formation or formations to which this agreement may apply.


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                                                                         ARTICLE VI
                                                                          continued


    1        If, in Operator’s judgment, the well will not produce oil or gas in paying quantities, and it wishes to plug and abandon the
   2 well as a dry hole, the provisions of Article VLE.l. shall thereafter apply.
   3
   4
   5
   6 B.       Subsequent Operations:
   7
    8       1. Proposed Operations: Should any^party hereto desire to drill any well on the Contract Area other than the well provided
   9 for in Article VIA., or to rework, / deepen or plug back a dry hole drilled Qt the joint expense of alj；partiefr-Qr a well
  10 the paities-æ^é-not then producing in paying quantities, the party desiring to drill, rework, / deepen or plug back such a well shall give the
  “ that have.not forfeited their interest in the well             _.      .     .    .      .       ,
  11 other parties / written notice ot the proposed operation, specifying the work to be performed, the location, proposed^depth, objective iorma-
  12 tion and the estimated cost of the operation. The parties / reeeiviRg-such a notice / shall have / thnty-^&>-days after / feeetpt-of the notice
  13 within which to notify the party wishing to do the work whether they elect to participate m the cost of the proposed operation. If a dnll-
                                                reenter, recomplete, sidetrack
  14 ing ri^is on k>cati(^ notice of a proposal to rework, / plug back or drill deeper m ay be given by telephone and th e response period shall be
                                                                                               t.o whom such notice.is. del:    _ .
  15 limited to Pforty. eig山      hours, exclusive of-SaturdayrStmday, and- legal-hohéayf}. Failure of a party/ reeeiving-sueh-Hetiee-to reply within
  16 the period above fixed shall constitute an election by that party not to participate in the cost of the proposed operation. Any notice or
  17 response given by telephone shall^be promptly confirmed in writing. Notwithstand^pp this^i^icle VI.B.l1, andi subject to the right of anyw
                                                                                                             or        ack a well producing in pay­

  19
        職
  18 PartJuantitiesC,0which is consented by two (1) orlmore parties owning two-thirbs^Z/S) or more of the
           proceed and be executed on behalf of the Consenting Parties without the unanimous consent ot all p arnés.
                                                                                                                      ing interest under tne well


  20
  21        If all parties elect to participate in such a proposed operation. Operator shall, within ninety (90) days after expiration of the notice
  22 period of / thirty.(~36fdays (or as promptly as possible after the expiration of the/forty eight ■(■/i8)-hour period when a drilling ng is on loca-
  23 tion, as the case may be), actually commence the proposed operation and complete it with due diligence at the risk and expense of all par-
  24 ties hereto; provided, however, said commencement date may be extended upon written notice of same by Operator to the other parties,
  25 for a period of up to thirty (30) additional days it in the sole opinion of Operator, such additional time is reasonably necessary to obtain
  26 permits from governmental authorities, surface rights (including rights-of-way) or appropriate drilling equipment, or to complete title ex-
  27 amination or curative matter required for title approval or acceptance. Notwithstanding the force majeure provisions of Article XI, if the
  28 actual operation has not been commenced within the time provided (including any extension thereof as specifically permitted herein) and
  29 if any party hereto still desires to conduct said operation, written notice proposing same must be resubmitted to the other parties in accor-
  30 dance with the^rovisions hereof as if no prior proposal had been mad.e.^Operator may, at its discretion, oerform.preparatory work in
  31 during the notice period, and if such operation in one conducted by less   '   than all parties, the Consenting Parties shall, nevertheless, be
     entitled to recover the risk compensation provided for hereunder.
  32
  33
                                                                        to whom .                 delivered
  34          2. Operations bv Less than All Parties: If any party / reeeiv-mg-such otice / as provided in Article VI.B.l. or VII.D.l. (Option
  35    No. 2) elects not to participate in the proposed operation, then,，“inj order to be entitled to the benefits of this Article, the party or parties
                                                                             subject to the availability of eqiiipnient and personnel              . .       _
  36    giving the notice and such other parties as shall elect to participate in the operation shalr / within ninety (90； days after the expiration of
                             fi
   37   the notice period of 7 thirty-(-30>-days (or as promptly as possible after the expiration of'the / forty-eight (48) hour period when a drilling rig is
   38   on location, as the case may be) actually commence the proposed operation and complete it with due diligence. Operator shall perform all
  39    work for the account of the Consenting Parties; provided，however，if no drilling rig or other equipment is on location，and if Operator is
  40    a Non-Consenting Party, the Consenting Parties shall either: (a) request Operator to perform the work required by such proposed opera-
  41    tion for the account of the Consenting Parties, or (b) designate one (1) of the Consenting Parties as Operator to perform such work. Con-
  42    senting Parties, when conducting operations on the Contract Area pursuant to this Article VLB.2.，shall comply with all terms and con-
   43 ditions of this agreement.
   44
   45
   46
   47           If less than all parties approve any proposed operation, the proposing party，immediately after the expiration of the applicable
   48   notice period, shall advise the Consenting Parties of the total interest of the parties approving such operation and its recommendation as
   49   to whether the Consenting Parties should proceed with the operation as proposed. Each Consenting Party, within /                        t-(-48) -hours
                                                              delivery .
   50   (exclusive of Saturday, Sunday and legal holidays) after / receipt of such notice, shall advise the proposing party of its desire to (a) limit par-
   51   ticipation to such party’s interest as shown on Exhibit “A” or (b) carry / its proportionate part of Non-Consenting Parties’ interests, and
   52   failure to advise the proposing party shall be deemed an election under (a). In the event a drilling rig is on location，the time permitted for
                                              twent
   53   such a response shall not exceed a total 'o?/            t~44&4-hours finclusive-ef- Saturday. Sunday and legal-jiot-idavs). The proposing party,
   54    at its election, may withdraw such proposal if there is insufficient participation and shall promptly notify all parties of such decision.
   55
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   57
   58         The entire cost and risk of conducting such operations shall be borne by the Consenting Parties in the proportions they have
   59   elected to bear same under the terms of the preceding paragraph. Consenting Parties shall keep the leasehold estates involved in such
   60   operations free and clear of all liens and encumbrances of every kind.created by or arising from the operations of the Consenting Parties.
   61   If such an operation results in a dry hole, the Consenting^Parties shalW plug and abandon the well and restore the surface location at their
   62   sole cost, risk and expense /. If an y well drilled, reworked, / deepened or plugged back under the provisions of this Article results in a pro-
   63   ducer of oil and/or gas in paying quantities, the Consenting Parties shall complete and equip the well to produce at their sole cost and risk.
   64   * or one of them shall make a proposal to the other Consenting Parties to conduct further operations under Article VLB
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                                                                       ARTICLE VI
                                                                        continued


   1    and the well shall then be turned over to Operator and shall be operated by it at the expense and for the account of the Consenting Par-
   2    ties. Upon commencement of operations for the drilling, reworking, / deepening or plugging back of any such well by Consenting Parties
   3    in accordance with the provisions of this Article, each Non-Consenting Party shall be deemed to have relinquished to Consenting Parties,
   4    and the Consenting Partjes shall own and be entitled .to receive, in proportion to their respective interests, all of such Non-Consenting
   5    Party’s interest m the / \¿el1-an§ share of production therefrom until the proceeds of the sale of such share, calculated at the well, or
   6 market value thereof if such share is not sold, (after deducting production taxes, excise taxes, royalty, overriding royalty and other in-
   7 terests not excepted by Article III.D. payable out of or measured by the production from / such well accruing with respect to such interest
   8 until it reverts) shall equal the total of the following:
   9
  10
  11
  12          ⑻m%-of each such Non-Consenting Parly’s share of the cost of any newly acquired surface equipment bevond the wellhead
  13    connections (including, but not limited to, stock tanks, separators, treaters, pumping equipment and piping), plus / 4^0%-of each such
  14    Non-Consenting Party’s share of the cost of operation of the well commencing with first production and continuing until each such Non-
  15    Consenting Party’s relinquished interest shall revert to it under other provisions of this Article, it being agreed that each Non-
  16    Consenting Party’s share of such costs and equipment will be that interest which would have been chargeable to such Non-Consenting
  17    Party had it participated in the well from the beginning of the operations; and
  18
  19
  20
  21        (b)_500        % of that portion of the costs and expenses of drilling, reworking, / deepening, plugging back, testing and completing,
  22 after deducting any cash contributions received under Article VIII.C., and       500     % of that portion of the cost of newly acquired equip-
  23 ment in the well (to and including the wellhead connections), which would have been chargeable to such Non-Consenting Party ir it had
  24 participated therein.
  25
  26
  27
  28           An ^election not to participate in the drilling or the deepening of a well shall be deemed an election not to participate in any re-
  29    working / or plugging back operation proposed in such a well, or portion thereof, to which the initial Non-Consent election applied that is
  30    conducted at any time prior to full recovery by the Consenting Parties of the Non-Consenting Party’s recoupment account. Any such
  31    reworkins / or plugging back operation conducted during the recoupment peri^l shall be deemed part^gf the cost of operation of said well
  32    / afi^-there shall* be added to the sums to be recouped by the Consenting Parties /efte-hundred percent ( / WQ%) of that portion of the costs of
  33    the reworking / or plugging back operation which would have been chargeable to such Non-Consenting Party had it participated therein. If
  34    such a reworking / or plugging back operation is proposed during such recoupment period, the provisions of this Article VLB. shall be ap-
  35    plicable as between said Consenting Parties in said well.
  36
  37
  38
  39       During the period of time Consenting Parties are entitled to receive Non-Consenting Party’s share of production, or the
  40 proceeds therefrom. Consenting Parties shall be responsible for the payment of all production, severance, excise, gathering and other
  41 taxes, and all royalty, overriding royalty and other burdens applicable to Non-Consenting Party’s share of production not excepted by Ar-
  42 tide m.D.
  43
  44
  45
  46      In the case of any reworking, / plugging back or deeper drilling operation, the Consenting Parties shall be permitted to use, free
  47 of cost, all casing, tubing and other equipment in the well, but the ownersnip of all such equipment shall remain unchanged; and upon
  48 abandonment of a well after such reworking, / plugging back or deeper drilling, the Consenting Parties shall account for all such equip-
  49 ment to the owners thereof, with each party receiving its proportionate part in kind or in value, less cost of salvage.
   50
   51
   52
   53         Within sixty (60) days after the completion of any operation under this Article, the party conducting the operations for the
   54   Consenting Parties shall furnish each Non-Consenting Party with an inventory of the equipment in and connected to the well, and an
   55   itemized statement of the cost of drilling, deepening, plugging back, testing, completing, and equipping the well for production; or, at its
   56   option, the operating party, in lieu of an itemized statement of such costs of operation, may submit a detailed statement of monthly bill-
                 quarter
   57   ings. Each / î»efith-thereafter,during the time the Consenting Parties are being reimbursed as provided above, the party conducting the
   58   operations for the Consenting Parties shall fiimish the Non-Consenting Parties with an itemized statement of all costs and liabilities in-
   59   curred in the operation of the well, together with a statement of the quantity of oil and |as produced from it and the amount of proceeds
   60   realized from the sale of the well’s working interest production during the preceding / month. In determining the quantity of oil and gas
   61   produced during any month. Consenting Parties shall use industry accepted methods such as, but not limited to, metering or periodic
   62   well tests. Any amount realized from the sale or other disposition of equipment newly acquired in connection with any such operation
   63   wmch would have been owned by a Non-Consenting Party had it participated therein shall be credited against the total unretumed costs
   64   of the work done and of the equipment purchased in determining when the interest of such Non-Consenting Party shall revert to it as
   65   above provided; and if there is a credit balance, it shall be paid to such Non-Consenting Party.
   66   * recompleting, sidetracking
   67
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   69
   70


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                                                                     ARTICLE VI
                                                                      continued


   1         If and when the Consenting Parties recover from a Non-Consenting Party’s relinquished interest the amounts provided for above,
   2   the relinquished interests of such Non-Consenting Party shall automatically revert to it and, from and after such reversion，such Non-
   3   Consenting Party shall own the same interest in such well, the material and equipment in or pertaining thereto, and the .production
                 °                                                                                             recomoleting, sidetracking,
   4   therefrom as such Non-Consenting Party would have been entitled to had it participated in the dnlling, reworking，/ deepening or plugging
   5   back of said well. Thereafter, such Non-Consenting Party shall be charged with and shall pay its proportionate pan of the further costs of
   6   the operation of said well in accordance with the terms of this agreement and the Accounting Procedure attached hereto.


   8
   9
  10      Notwithstanding the provisions of this Article VI.B.2.，/ it is agreed that without the mutual consent of / all-partjeg, no wells shall
  11 be completed in or produced from a source of supply from which a well located elsewhere on the Contract Area is producing, unless such
  12
  13
                 防は&虫=ス補nagn鴻ぽ                                                                                                  n that is

     * and :subiect to the right of any partv^to non- consent the proposed operation,
  14 ** two                                            re of the working interest
  15
  16        The provisions of this Article shall have no application whatsoever to the drilling of the initial well described in Article VIA.
  17 except (a) as to Article VII.D.l. (Option No. 2)，if selected, or (b) as to the rewo?kPing!n/%eSepenm|&plugging back of such initial well
  18 after if has been drilled to the depth specified in Article VIA. if it shall thereafter prove to be a dry hole or, if initially completed for pro-
  19 duction, ceases to produce in paying quantities.
  20
  21
  22
  23          3. Stand-Bv Time: When a well which has been drilled or deepened has reached its authorized depth and all tests have been
  24   completed, and the results thereof furnished to the parties，stand-by costs incurred pending response to a party’s notice proposing a
  25   reworking, deepening, plugging back or completing operation in such a well shall be charged and borne as part of the drilling or deepen-
  26   ing operation just completed. Stand-by costs subsequent to all parties responding, or expiration of the response time permitted, whichever
  27   first occurs, and prior to agreement as to the participating interests of all Consenting Parties pursuant to the terms of the second gram-
  28   matical paragraph of Article VI.B.2.，shall be charged to and borne as part of the proposed operation, but if the proposal is subsequently
  29   withdrawn because of insufficient participation, such stand-by costs shall be allocated between the Consenting Parties in the proportion
  30   each Consenting Party’s interest as shown on Exhibit “A” bears to the total interest as shown on Exhibit “A” of all Consenting Par-
  31 ties.
  32
  33
  34
  35          4. Sidetracking： Except as hereinafter provided, those provisions of this agreement applicable to a “deepening” operation shall
  36   also be applicable to any proposal to directionally control and intentionally deviate a well from vertical so as to change the bottom hole
  37   location (herein call “sidetracking”)，unless done to straighten the hole or to drill around junk in the hole or because of other
  38   mechanical difficulties. Any party having the right to participate in a proposed sidetracking operation that does not own an interest in the
  39   affected well bore at the time of the notice shall，upon electing to participate，tender to the well bore owners its proportionate share (equal
  40   to its interest in the sidetracking operation) of the value of that portion of the existing well bore to be utilized as follows:
  41
  42
  43
  44       (a) If the proposal is for sidetracking an existing dry hole，reimbursement shall be on the basis of the actual costs incurred in
  45 the initial drilling of the well down to the depth at which the sidetracking operation is initiated.
  46
  47
  48
  49       (b) If the proposal is for sidetracking a well which has previously produced, reimbursement shall be on the basis of the well’s
  50 salvable materials and equipment down to the depth at which the sidetracking operation is initiated, determined in accordance with the
  51 provisions of Exhibit “C”，less the estimated cost of salvaging and the estimated cost of plugging and abandoning.
  52
  53
  54
  55       In the event that notice for a sidetracking operation is given while the drilling rig to be utilized is on location, the response period
  56 shall be limited to / forty e?g^t-(i8-)-hours, exclusive- ef-&atbifáayrSuttáúy and-legal-lietiéays; provided, however, any party may request and
  57 receive up to eight (8) additional days after expiration of the / forty eight (^Ig^hours within which to respond by paying for all stand-by time
  58 incurred during such extended response period. If more than one party elects to take such additional time to respond to the notice, stand
  59 by costs shall be allocated between the parties taking additional time to respond on a day-to-day basis m the proportion each electing par-
  60 ty's interest as shown on Exhibit “A” bears to the total interest as shown on Exhibit “A” of all the electing parties. In all other in-
                                                                                  版^W.
  61 stances the response period to a proposal for sidetracking shall be limited to/tfc
  62
  63
  64
  65 C.      TAKING PRODUCTION IN KIND:
  66
                      have the righ.t to.
  67       Each party shall / take m kind or separately dispose of its proportionate share of all oil and gas produced from the Contract Area,
  68 exclusive of production which may be used in development and producing operations and in preparing and treating oil and gas for
  69 marketina purposes and production unavoidably lost. Any extra expenditure incurred in the taking in kind or separate disposition by any
  70 party of its proportionate share of the production shall be borne by such party. Any party taking its share of production in kind shall be



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                                                                        ART]ICLE VI
                                                                         con tinued


    1   required to pay for only its proportionate share of such part of Operator’s surface facilities which it uses.
   2
   3      Each party shall execute such division orders and contracts as may be necessary for the sale of its interest in production from
   4 the Contract Area，and, except as provided in Article VII.B.，shall be entitled to receive payment directly from the purchaser thereof for
    5 its share of all production.
    6
             In the event any party shall fail to make the arrangements necessary to take in kind or separately dispose of its proportionate share of
    8 the oil produced from the Contract Area. Operator—shall have the right, subject to the revpcatkjn at will^by the party, owniijg it，んnot
    9 the obligation, to purchase such o\\ or sell it to others at any time and trbm^time to time, ior the account of the non-takmg party / Qt-the
   10   best price obtainable in the     for-sueh-firoduetieft. Any such purchase or sale by Operator shall be subject always to the right of the
   11   owner of the production to exercise at any time its right to take in kind，or separately dispose of，its share of all oil not previously
   12   delivered to a purchaser. Any purchase or sale by Operator of any other party’s share of oil shall be only for such reasonable periods of
   13   time as are consistent with the minimum needs of the industry under the particular circumstances, but in no event for a period in excess
   14   of one (1) year.
   15
   16         In the event one or more parties’ separate disposition of its share of the gas causes split-stream deliveries to separate pipelines and/or
   17   deliveries which on a day-to-day basis for any reason are not exactly equal to a party’s respective proportionate share of total gas sales to
   18   be allocated to it, the balancing or accounting between the respective accounts of the parties shall be in accordance with any gas balancing
   19   agreement between the parties hereto, whether such an agreement is attached as Exhibit “E”，or is a separate agreement.
   20
   21 D.      Access to Contract Area and Information:
   22
        Agree^^r/ál^^Otafehaecrcts^                                                                         11 costs of aH operations condu cted under this
   23                                                                                                       cost and risk to inspect or o bserve operations,
   24   and shall have access at reasonable times to information pertaining to the developmentpOr operation thereof, including Operator’s books
   25   and records relating thereto. Operator, upon request, shall furnish each of the other / parties with copies of all forms or reports filed with
   26   governmental agencies，daily drilling reports, well logs，tank tables, daily gauge and run tickets and reports of stock on hand at the first of
   27   each month, and shall make available samples of any cores or cuttings taken from any well drilled on the Contract Area. The cost of
   28   gathering and furnishing information to Non-Operator, other than that specified above, shall be charged to the Non-Operator that re-
   29   quests the Information.
   30
   31 E.      Abandonment of Wells:
   32
   33        1. Abandonment of Dry Holes: Except for any well drilled or deepened pursuant to Article VI.B.2.，any well which has been
   34 drilled or deepened under the terms of this agreement and is proposed to be completed as a dry hole shall not be plugged and abandoned
   35 without the consent of / al! parties. / Should Operator, after diligent effort, be unable to contact any party, or should any party fail to reply
   36 within 7fort)-etglit (48)-hours'-(exekisive-of Saturday, Sunday and legal holidays) after receipt of notice of the proposal to plug and abandon
   37 such well, such party shall be deemed to have consented to the proposed abandonment. All such wells shall be plugged and abandoned in
   38 accordance with applicable regulations and at the cost, risk and 一.                                   :ipated in the cost of drilling or deepening
                  ***          or partiçs owning greater than ten perce                           the
   39 such well. / Any party / wno objects to plugging and abandoning such well shall have the               to take over the well and conduct further
   40 operations in search of oil and/or gas subject to the provisions of Article VLB.
   41
   42        2. Abandonment of Wells that have Produced: Except for any well in which a Non-Consent operation has been conducted
   43 hereunder for which the Consenting Parlies have not been folly reimbursed as here in orovided. any well which has been completed as a
   44 producer shall not be plugged and abandoned without the consent of / aM--paFt4es. It / aH-parties consent to such abandonment, the well shall
   45 be plugaed and abandoned in accordance with applicable regulations and at the cost, risk and expense of all the parties hereto. If, within
   46 / thirty     -days after receipt of notice of the proposed abandonment of any well, all parties do not agree to the abandonment of such well，
   47 those wishing to continue its operation from the interval(s) of the fonnation(s) then open to production shall tender to each of the other
   48 parties its proportionate share of the value of the well’s solvable material and equipment, determined^in ^accordance with the provisions of
   49 Exhibit “C”，less the estimated cost of salvaging and the estimated cost of plugging and abandoning. / Each abandoning party shall assign
   50 the non-abandoning parties，without warranty, express or implied, as to title or as to quantity, or fitness for use of the equipment and
   51 material, all of its interest in the well and related equipment, together with its interest in the leasehold estate as to, but only as to, the in-
   52 terval or intervals of the formation or formations then open to production. If the interest of the abandoning party is or includes an oil and
   53 马as interest, such party shall execute and deliver to the non-abandoning party or parties an oil and gas lease, limited to the interval or in-
   54 tervals of the formation or formations then open to production, for a term of one (1) year and so long thereafter as oil and/or gas is pro-
   55 duced from the interval or intervals of the formation or formations covered thereby，such lease to be on the form attached as Exhibit
   56
       * ninety percent (90%) or more of the parties thereof
   57
       ** If the well has been drilled pursuant to Article VI.B.2, only the consent of the Consenting Parties therein shall be required.
   58
                                                     o and abandoning such well shall be in excess of that required by the regulatory body,
   59                     bPe，Ua«¿                   one-half times that required.
   60        two-thirds (66.67%) or more of the owners thereof. If the well has been drilled or reworked pursuant to Article VI.B.2 and the
       Consenting Parties therein have not been fully reimbursed as therein provided, only the approval of two-thirds (66.67%) ot such
   61 Consenting Parties shall be required
   62          Should any party fail to reply to such notice, such party shall be deemed to have consented to the proposed abandonment.
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                                                                         ARTICLE VI
                                                                          continued


    1   “B”. The assignments or leases so limited shall encompass the “drilling unit” upon which the well is located. The payments by, and the
    2   assignments or leases to, the assignees shall be in a ratio based upon the relationship of their respective percentage of participation in the
    3   Contract Area to the aggregate of the percentages of participation in the Contract Area of all assignees. There shall be no readjustment of
    4   interests in the remaining portion of the Contract Area.
    5
    6         Thereafter, abandoning parties shall have no further responsibility, liability, or interest in the operation of or production from
    7   the well in the interval or intervals then open other than the royalties retained in any lease made under the terms of this Article. Upon re-
    8   quest. Operator shall continue to operate the assigned well for the account of the non-abandoning parties at the rates and charges con-
    9   templated by this agreement, plus any additional cost and charges which may arise as the result of the separate ownership of the assigned
   10   well. Upon proposed abandonment of the producing interval(s) assigned or leased, the assignor or lessor shall then have the option to
   11   repurchase its prior interest in the well (using the same valuation formula) and participate in further operations therein subject to the pro-
   12   visions hereof.
   13
   14         3. Abandonment of Non-Consent Operations: The provisions of Article VI.E.l. or VI.E.2 above shall be applicable as between
   15   Consenting Parties in the event of the proposed abandonment of any well excepted from said Articles; provided, however, no well shall be
   16   permanently plugged and abandoned unless and until all parties having the right to conduct further operations therein have been notmed
   17   of the proposed abandonment and afforded the opportunity to elect to take over the well in accordance with the provisions of tms Article
   18   VIE.
   19
   20                                                             ARTICLE VII.
   21                                                 EXPENDITURES AND LIABILITY OF PARTIES
   22
   23 A.       Liability of Parties:
   24
   25          The liability of the parties shall be several, not joint or collective. Each party shall be responsible only for its obligations, and
   26   shall be liable only for its proportionate share of the costs of developing and operating the Contract Area. Accordingly, the liens granted
   27   among the parties in Article VII.B. are given to secure only the debts of each severally. It is not the intention of the parties to create, nor
   28   shall this agreement be construed as creating, a mining or other partnership or association, or to render the parties liable as partrners. In their
        relationship with each other under this agreement, the parties shall not be considered fiduciaries or to have established a confidential
   29   relationship, but rather shall be free to act on an arm’s length basis in accordance with their own self-interest.
   30   B.     Liens and Payment Defaults:
   31
   32          Each Non-Operator grants to Operator a lien upon its oil and gas rights in the Contract Area, and a security interest in its share
   33   of oil and/or gas when extracted and its interest in all equipment to secure payment of its share of expense, together with interest thereon
   34   at the rate provided in Exhibit “C” To the extent that Operator has a security interest under the Uniform Commercial Code of the
   35   state. Operator shall be entitled to exercise the rights and remedies of a secured party under the Code. The bringing of a suit and the ob-
   36   taming of judgment by Operator for the secured indebtedness shall not be deemed an election of remedies or otherwise affect the lien
   37   rights or security interest as security for the payment thereof. In addition, upon default by any Non-Operator in the payment of its share
   38   of expense. Operator shall have the right, without prejudice to other rights or remedies, to collect from the purchaser the proceeds from
   39   the sale of such Non-Operator’s share of oil and/or gas until the amount owed by such Non-Operator, plus interest，has been paid. Each
   40   purchaser shall be entitled to rely upon Operator’s written statement concerning the amount of any default. Operator grants a like lien
   41   and security interest to the Non-Operators to secure payment of Operator’s proportionate share of expense.
   42
   43       If any party fails or is unable to pay its share of expense within sixty (60) days after rendition of a statement therefor by
   44 Operator, the non-defaulting parties, including Operator，shall，upon request by Operator, pay the unpaid amount in the proportion that
   45 the interest of each such party bears to the interest of all such parties. Each party so paying its share of the unpaid amount shallT-te-efetaift
   46 reimbar-sement thereof, be subrogated to the~seotirity rightfrëesefibed- in -the foregoing.paragraph? be entitled to recover the amount it paid plus
        five hundred percent (500%) of that amount out of the proceeds from the sale of the defaulïîng party*s share of oil and for gas and, to secure the pay-
   47   me nt thereof, be subrogated to the security rights described in the foregoing paragraphs. Notwithstanding anything to the contrary in this Paragraph,
        all parties agree that this provision shall not apply to any operation requiring an AFE unless Operator has advance billed all parties for their propor-
   48   tionate share of said costs in accordance with other provisions of this agreemenL Further, notwithstanding anything to the contrary in this Paragraph,
        all parties agree that this provision shall not apply to any oil and gas interests contributed or made subject to this agre
   49
   50
      C.       Payments and Accounting:
   51
   52
              Except as herein otherwise specifically provided. Operator shall promptly pay and discharge expenses incurred in the development
   53
        and operation of the Contract Area pursuant to this agreement and shall charge each of the parties hereto with their respective propor­
   54
        tionate shares upon the expense basis provided in Exhibit “C”. Operator shall keep an accurate record of the joint account hereunder，
   55
         showing expenses incurred and charges and credits made and received.
   56
   57
               Operator, at its election, shall have the right from time to time to demand and receive from the other parties payment in advance
   58
        of their respective shares of the estimated amount of the expense to be incurred in operations hereunder during the next succeeding
   59
        month, which right may be exercised only by submission to each such party of an itemized statement of such estimated expense, together
   60
        with an invoice for its share thereof. Each such statement and invoice for the payment in advance of estimated expense shah be submitted
   61
        on or before the 20th day of the next preceding month. Each party shall pay to Operator its proportionate share of such estimate within
   62
        fifteen (15) days after such estimate and invoice is received. If any party fails to pay its share of said estimate within said time, the amount
   63
        due shall bear interest as provided in Exhibit “C” until paid. Proper adjustment shall be made monthly between advances and actual ex­
   64
        pense to the end that each party shall bear and pay its proportionate share of actual expenses incurred, and no more.
   65
   66
        D.     Limitation of Expenditures:
   67
   68
             1. Drill or Deepen: Without the consent of all parties, no well shall be drilled or deepened, except any well drilled or deepened
   69
        pursuant to the provisions of Article VLB.2. of this agreement. Consent to the drilling or deepening shall include:
   70



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                                                                     ARTICLE VII
                                                                      continued


   1 0 Option No. W : All necessary expenditures for the drilling or deepening, testing, completing and equipping of the well, including
   2 necessary tankage and/or surface facilities. * This Option No. 1 shall apply only to water source and/or water injection wells.
   3
    4 0 Option No. 2た All necessary expenditures for the drilling or deepening and testing of the well. When such well has reached its
    5 authorized depth, and all tests have been completed, and the results thereof fiimished to the parties. Operator shall give immediate notice
    6 to the Non-Operators who have the right to participate in the completion costs. The parties receiving such notice shall have forty-eight
    7 (48) hours (exclusive of Saturday, Sunday and legal holidays) in which to elect to participate in the setting of casing and the completion at-
    8 tempt. Such election, when made, shall include consent to all necessary expenditures for the completing and equipping of such well, in-
    9 eluding necessary tankage and/or surface facilities. Failure of any party receiving such notice to reply within the period above fixed shall
   10 constitute an election by that party not to participate in the cost of the completion attempt. If one or more, but less than all of the parties,
   11 elect to set pipe and to attempt a completion, the provisions of Article VI.B.2. hereof (the phrase “reworking，deepening or plugging
   12 back” as contained in Article VI.B.2. shall be deemed to include “completing”)shall apply to the operations thereafter conducted by less
   13 than all parties. ** This Option No. 2 shall cover all wells except those expressly covered by Option No. 1，above.
   14
   15       2. Rework or Plug Back: Without the consent of all parties, no well shall be reworked or plugged back except a well reworked or
   16 plugged back pursuant to the provisions of Article VI.B.2. of this agreement. Consent to the reworking or plugging back of a well shall
   17 include all necessary expenditures in conducting such operations and completing and equipping of said well, including necessary tankage
   18 and/or surface facilities.
   19
   20       3. Other Operations: Without the consent of /                   Operator shall not undertake any single project reasonably estimated
   21 to require an expenditure in excess of.              Fifty Thousand     and No/100_____________ Dollars ($ 50.000.00_______________ )
   22 except in connection with a well the drilling, reworking, deepening, completing, recompleting, or plugging back of which has been
   23 previously authorized by or pursuant to this agreement; provided，however, that, in case of explosion, fire, flood or other sudden
   24 emergency, whether of the same or different nature. Operator may take such steps and incur such expenses as in its opinion are required
   25 to deal with the emergency to safeguard life and property but Operator，as promptly as possible, shall report the emergency to the other
   26 parties. If Operator prepares an authority for expenditure (AFE) for its own use. Operator shall furnish any Non-Operator so requesting
   27 an information copy thereof for any single project costing in excess of.                   Twentv-Five Thousand and No/100
   28 Dollars fS 25.000.00                                )but  less than the amount first set forth above in this paragraph.
   29
   30 E.     Rentals, Shut-in Well Payments and Minimum Royalties:
   31
   32        Rentals, shut-in well payments and minimum royalties which may be required under the terms of any lease shall be paid by the
   33 party or parties who subjected such lease to this agreement at its or their expense. In the event two or more parties own and have con-
   34 tributed interests in the same lease to this agreement, such parties may designate one of such parties to make said payments for and on
   35 behalf of all such parties. Any party may request, and shall be entitled to receive, proper evidence of all such payments. In the event of
   36 failure to make proper payment of any rental, shut-in well payment or minimum royalty through mistake or oversight where such pay-
   37 ment is required to continue the lease in force，any loss which results from such non-payment shall be borne in accordance with the pro­
   38 visions of Article P/.B./I.
   39
   40        Operator shall notify Non-Operator of the anticipated completion of a shut-in gas well, or the shutting in or return to production
   41 of a producing gas well, at. least five (5)-days-(exe^uding SQturday；-Sunday and~ legal-holidays)，or at the earliest opportunity permitted by
   42 circumstances, prior to taking such action, but assumes no liability for failure to do so. In the event of failure by Operator to so notify
   43 Non-Operator, the loss of any lease contributed hereto by Non-Operator for failure to make timely payments of any shut-in well payment
   44 shall be borne jointly by the parties hereto under the provisions of Article IV.B.3.
   45
   46 F. Taxes:
   47
   48       Beginning with the first calendar year after the effective date hereof. Operator shall render for ad valorem taxation all property
   49 subject to this agreement which by law should be rendered for such taxes, and it shall pay all such taxes assessed thereon before they
   50 become delinquent. Prior to the rendition date, each Non-Operator shall furnish Operator information as to burdens (to include, but not
   51 be limited to, royalties，overriding royalties and production payments) on leases and oil and gas interests contributed by such Non-
   52 Operator. If the assessed valuation of any leasehold estate is reduced by reason of its being subject to outstanding excess royalties, over-
   53 riding royalties or production payments, the reduction in ad valorem taxes resulting therefrom shall inure to the benefit of the owner or
   54 owners of such leasehold estate, and Operator shall adjust the charge to such owner or owners so as to reflect the benefit of such reduo
   ))tion. If the ad valorem taxes are based in whole or in part upon separate valuations of each party’s working interest, then notwithstanding
   56 anything to the contrary herein, charges to the joint account shall be made and paid by the parties hereto in accordance with the tax
   57 value generated by each party’s working interest. Operator shall bill the other parties for their proportionate shares of all tax payments in
   58   the manner provided in Exhibit “C”.
   59
   60         If Operator considers any tax assessment improper. Operator may, at its discretion, protest within the time and manner
   61   prescribed by law, and prosecute the protest to a final aetermination, unless all parties agree to abandon the protest prior to final deter-
   62   mination. During the pendency of administrative or judicial proceedings. Operator may elect to pay，under protest, all such taxes and any
   63   interest and penalty. When any such protested assessment shall have been finally determined. Operator shall pav the tax for the joint ac-
   64   count, together with any interest and penalty accrued, and the total cost shall then be assessed against the parties, and be paid by them, as
   65   provided in Exhibit “C”.
   66
   67          Each party shall pay or cause to be paid all production, severance, excise, gathering and other taxes imposed upon or with respect
   68   to the production or handling of such party’s share or oil and/or gas produced under the terms of this agreement.
   69
   70



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                                                                         ARTICLE VII
                                                                          continued


    1 G. Insurance:
    2
    3       At all times while operations are conducted hereunder，Operator shall comply with the workmen’s compensation law of
    4 the state where the operations are being conducted; provided, however, that Operator may be a self-insurer for liability under said com-
    5 pensation laws in which event the only charge that shall be made to the joint account shall be as provided in Exhibit “C”. Operator shall
    6 also carry or provide insurance for the benefit of the joint account of the parties as outlined in Exhibit “D”，attached to and made a part
    7 hereof. Operator shall require all contractors engaged in work on or for the Contract Area to comply with the workmen’s compensation
    8 law of the state where the operations are being conducted and to maintain such other insurance as Operator may require.
    9
   10       In the event automobile public liability insurance is specified in said Exhibit “D”，or subsequently receives the approval of the
   11 parties, no direct charge shall be made by Operator for premiums paid tor such insurance for Operator’s automotive equipment.
   12
   13                                                               ARTICLE VIII.
   14                                     ACQUISITION, MAINTENANCE OR TRANSFER OF INTEREST
   15
   16 A. Surrender of Leases:
   17
   18       The leases covered by this agreement, insofar as they embrace acreage in the Contract Area，shall not be surrendered in whole
   19 or in part unless all parties consent thereto.
   20
   21        However, should any party desire to surrender its interest in any lease or in any portion thereof, and the other parties do not
   22 agree or consent thereto, the party desiring to surrender shall assign, without express or implied warranty of title, all of its interest in
   23 such lease, or portion thereof，and any well，material and equipment which may be located thereon and any rights in production
   24 thereafter secured，to the parties not consenting to such surrender. If the interest of the assigning party is or includes an oil and gas in-
   25 terest, the assigning party shall execute and deliver to the party or parties not consenting to such surrender an oil and gas lease covering
   26 such oil and gas interest for a term of one (1) year and so long thereafter as oil and/or gas is produced from the land covered thereby, such
   27 lease to be on the form attached hereto as Exhibit “B” Upon such assignment or lease, the assigning party shall be relieved from all
   28 obligations thereafter accruing, but not theretofore accrued, with respect to the interest assigned or leased and the operation of any well
   29 attributable thereto, and the assigning party shall have no further interest in the assigned or leased premises and its equipment and pro-
   30 duction other than the royalties retained in any lease made under the terms of this Article. The party assignee or lessee shall pay to the
   31 party assignor or lessor the reasonable salvage value of the latter’s interest in any wells and equipment attributable to the assigned or leas-
   32 ed acreage. The value of all material shall be determined in accordance with the provisions of Exhibit “C”，less the estimated cost of
   33 salvaging and the estimated cost of plugging and abandoning. If the assignment or lease is in favor of more than one party, the interest
   34   shall be shared by such parties in the proportions that the interest of each bears to the total interest of all such parties.
   35
   36         Any assignment, lease or surrender made under this provision shall not reduce or change the assignor’s，lessor’s or surrendering
   37   party’s interest as it was immediately before the assignment, lease or surrender in the balance of the Contract Area; and the acreage
   38   assigned, leased or s urrendered, and subsequent operations thereon, shall not thereafter be subject to the terms and provisions of this
   39   agreement.
   40
   41   B.    Renewal or Extension oi Leases:
   42
   43         If any party secures a renewal of any oil and gas lease subject to this agreement, all other parties shall be notified promptly, and
   44   shall have the right for a period of thirty (30) days following receipt of such notice in which to elect to participate in the ownership of the
   45   renewal lease, insofar as such lease affects lands within the Contract Area, by paying to the party who acquired it their several proper pro-
   46   portionate shares of the acquisition cost allocated to that part of such lease within the Contract Area, which shall be in proportion to the
   47   interests held at that time by the parties in the Contract Area.
   48
   49         If some, but less than all, of the parties elect to participate in the purchase of a renewal lease, it shall be owned by the parties
   50   who elect to participate therein, in a ratio based upon the relationship of their respective percentage of participation in the Contract Area
   51   to the aggregate of the percentages of participation in the Contract Area of all parties participating in the purchase of such renewal lease.
   52    Any renewal lease in which less than all parties elect to participate shall not be subject to this agreement.
   53
   54       Each party who participates in the purchase of a renewal lease shall be given an assignment ox its proportionate interest therein
   55 by the acquiring party.
   56
   57       The provisions of this Article shall apply to renewal leases whether they are for the entire interest covered by the expiring lease
   58 or cover only a portion of its area or an interest therein. Any renewal lease taken before the expiration of its predecessor lease, or taken or
   59 contracted for within six (6) months after the expiration of the existing lease shall be subject to this provision; but any lease taken or con-
   60 tracted for more than six (6) months after the expiration of an existing lease shall not be deemed a renewal lease and shall not be subject to
   61 the provisions of this agreement.
   62
   63       The provisions in this Article shall also be applicable to extensions of oil and gas leases.
   64
   65 C. Acreage or Cash Contributions:
   66
   67       While this agreement is in force，if any party contracts for a contribution of cash towards the drilling of a well or any other
   68 operation on the Contract Area, such contribution shall be paid to the party who conducted the drilling or other operation and shall be
   69 applied by it against the cost of such drilling or other operation. If the contribution be in the form of acreage, the party to whom the con-
   70 tribution is made shall promptly tender an assignment of the acreage, without warranty of title, to the Drilling Parties in the proportions


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                                                                        ARTICLE VH!
                                                                          continued


    1   said Drilling Parties shared the cost of drilling the well. Such acreage shall become a separate Contract Area and, to the extent possible，be
    2   governed by provisions identical to this agreement. Each party shall promptly notify all other parties of any acreage or cash contributions
    3   it may obtain in support of any well or any other operation on the Contract Area. The above provisions shall also be applicable to op-
    4   tional rights to earn acreage outside the Contract Area which are in support of a well drilled inside the Contract Area.
    5
    6       If any party contracts for any consideration relating to disposition of such party’s share of substances produced hereunder，such
    7 consideration shall not be deemed a contribution as contemplated in this Article VIII.C.
    8
    9 D.      Maintenance of Uniform Interests:
   10
   11       For the- purpose of maimaimng uniformity of ownership-and gas leasehold interests eoverecl-by-tfíis agreement，, no
   12 party shall-sell, enc-umber-tensfer or make other disposit-ien-ot-rts-iftterest-jn-the-leases-embraeeei-within the G-on^aet-Ar-ea-aRd íh-wHs-
   13 equipniertf-ané-preduction unless such disposition          either-：
   14
   15       -h~the-entire-interest of-the-paity-m all leases-and-eq^ipment-æié-proéuet-ion-;
   16
   17         ~an equal-undivided-interest in all-leases-md-eqa■中mera-afhj-pfoduction-in the-Gontrae^A^ea：
   18
   19       Every such-sale，encumbrance, transfer or other disposition made by any party shall be made expressly subject to this agreement
   20 and shall be.made without prejudice to the right of the other parties^ Any added expenditure required as a result of disposition, including
   21
   22       If, at any time the interest of any party is divided among and owned by four or more co-owners, Operator, at its discretion，may
   23 require such co-owners to appoint a single trustee or agent with full authority to receive notices，approve expenditures，receive billings for
   24 and approve and pay such party’s share of the joint expenses, and to deal generally with, and with power to bind, the co-owners of such
   25 party’s interest within the scope of the operations embraced in this agreement; however, all such co-owners shall have the right to enter
   26 into and execute all contracts or agreements for the disposition of tneir respective shares of the oil and gas produced from the Contract
   27 Area and they shall have the right to receive, separately, payment of the sale proceeds thereof.
   28
   29 E.      Waiver of Rights to Partition:
   30
   31       If permitted by the laws of the state or states in which the property covered hereby is located, each party hereto owning an
   32 undivided interest in the Contract Area waives any and all rights it may have to partition and have set aside to it in severalty its undivided
   33 interest therein.
   34
   35    ---- Prcfercfltiflt RighHo^tHFeh^sei
   36
   37         Should any party ■ desire-to sell al-1 -or-any-part-e-F-i^s-i-Ht-erests-mdef this agreement, eF-i-ts-^-ights-and—interests in the Contract
   38   Area, it shall- premptly give-wr-i-tt-ei^etice to the other parties-■■with-ftill-mfoFFftat-ioR-eeneemiF^g-rts-fiFepesed-sale, \\'hich-shaU-4ñ€lHáe-t-he
   39         and address of-the-prospeeëve purohûser-fwho-irmst-be-Feaà^-witi-mg-aFHà-able-tch-ptif-ehase), the purehase-^r-iee'-aRd-aH-e^ier-teFR^s
   40   of the-offer. Tlie other-paFt-ies-shaH-then-have an optional prior .right，for a■periQd-of-ten-(-l-Q)-dayf3-after-receipt-of the notice； to purchase
   41   on-the-same-terms-añá-eeRékions the-inter-est-whiel^he-etl-ief-fiafty-pFoposes-to-se^and—i-f-this-eptienal-right-ifi-exercised-the-paFei^as-
   42   mg-pafties shall share-the-purchasea-interes-t-H:h-the--prGportieft£r-that-the--mt6rest-of-eaeh--bear-s-te-4)ie-t<)tQl-interest-Qf-aH-purohQSffl^-par-
   43        He-wever, there shall be- no-prefer&nt4ai-r4ght -te. .purehase-in-those-eoses—where—any—party-wiehes-to~mertgage--its-interes_ts，. 4e
   44   dispose-of -its-in-teresfô-by-mer-geF^æeFgaR-feation，consolidation-,-or-sale-of-alt-OF-s^bst-anti-atiy-ati-of-rts-asset-s-te-a-subsidia^- or-parent-eom■
   45   pany or40■a~.5übs.idkH:y-of-a.. pareBt-eempany; or to-any-eempany-in-wl^ieli-any-one-paf^-e^^is-a-frhajor-i^y-of-tlie-stoekv
   46
   47                                                                      ARTICLE IX.
   48                                                     INTERNAL REVENUE CODE ELECTION
   49
   50         This agreement is not intended to create, and shall not be construed to create, a relationship of partnership or an association
   51   for profit between or among the parties hereto. Notwithstanding any provision herein that the rights and liabilities nereunder are several
   52   and not joint or collective, or that this agreement and operations hereunder shall not constitute a partnersmp, if, for federal income tax
   53   purposes, this agreement and the operations hereunder are regarded as a partnership，each party hereby affected elects to be excluded
   54   from the application of all of the provisions of Subchapter ‘‘K，’，Chapter 1, Subtitle “A”，of the Internal Revenue Code of 1954, as per-
   55   mitted and authorized by Section 761 of the Code and the regulations promulgated thereunder. Operator is authorized and directed to ex-
   56   ecute on behalf of each party hereby affected such evidence of this election as may be required by the Secretary of the Treasury of the
   57   United States or the Federal Internal Revenue Service, including specifically, but not by way of limitation, all of the returns, statements,
   58   and the data required by Federal Regulations 1.761. Should there be any requirement that each party hereby affected give ftirther
   59   evidence of this election, each such party shall execute such documents and furnish such other evidence as may be required by the
   60   Federal Internal Revenue Service or as may be necessary to evidence this election. No such party shall give any notices or take any other
   61   action inconsistent with the election made hereby. If any present or future income tax laws of the state or states in which the Contract
   62   Area is located or any future income tax laws of the United States contain provisions similar to those in Subchapter “K”，Chapter 1,
   63   Subtitle ‘‘A’’，of the Internal Revenue Code of 1954, under which an election similar to that provided by Section 761 of the Code is per-
   64   mitted, each party hereby affected shall make such election as may be permitted or required by such laws. In making the foregoing elec-
   65   tion, each such party states that the income derived by such party from operations hereunder can be adequately determined without the
   66   computation of partnership taxable income.
   67
   68
   69
   70



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                                                                      ARTICLE X.
    2                                                            CLAIMS AND LAWSUITS
    3
    4         Operator may settle any single uninsured third party damage claim or suit arising from operations hereunder if the expenditure
    5   does not exceed                                               Ten Thousand and No/100                                                     Dollars
    6       10.000.00                      )and if the payment is in complete settlement of such claim or suit. If the amount required for settlement ex-
    7   ceeds the above amount, the parties hereto shall assume and take over the further handling of the claim or suit, unless such authority is
    8   delegated to Operator. All costs and expenses of handling, settling, or otherwise discharging such claim or suit shall be at the joint ex-
    9   pense of the parties participating in the operation from which the claim or suit arises. If a claim is made against any party or if any party is
   10   sued on account of any matter arising from operations hereunder over which such individual has no control because of the rights given
   11   Operator by this agreement, such party shall immediately notify all other parties, and the claim or suit shall be treated as any other claim
   12   or suit involvmg op erations hereunder. All claims or suits involving title to any oil and gas lease subject to this agreement shall be
        treated as ai claim _or suit against all parties hereto.
   13
   14                                                                   ARTICLE XL
   15                                                                FORCE MAJEURE
   16
   17       If any party is rendered unable, wholly or in part, by force majeure to carry out its obligations under this agreement, other than
   18 the obligation to make money payments, that party shall give to all other parties prompt written notice of the force majeure with
   19 reasonably full particulars concerning it; thereupon, the obligations of the party giving the notice, so far as they are affected by the force
   20 majeure, shall be suspending during, but no longer than, the continuance of the force majeure. The affected party shall use all reasonable
   21 diligence to remove the force majeure situation as quickly as practicable.
   22
   23       The requirement that any force majeure shall be remedied with all reasonable dispatch shall not require the settlement of strikes,
   24 lockouts, or other labor difficulty by the party involved, contrary to its wishes; how all such difficulties shall be handled shall be entirely
   25 within the discretion of the party concerned.
   26
   27       The term “force majeure”， as here employed, shall mean an act of God, strike, lockout, or other industrial disturbance, act of
   28 the public enemy, war，blockade, public riot, lightning, fire, storm, flood, explosion, governmental action, governmental delay，restraint
   29 or inaction, unavailability of equipment, and any other cause, whether of the kind speciTically enumerated above or otherwise, which is
   30 not reasonably within the control of the party claiming suspension.
   31
   32                                                                  ARTICLE XII.
   33                                                                      NOTICES
   34
   35       All notices authorized or required between the parties and required by any of the provisions of this agreement, uni ess otherwise
   36 specifically provided, shall be given in writing by mail or telegram, postage or charges prepaid，or by telex or telecopier / and addressed to
   37 the parties to whom the notice is given at the addresses listed on Exhibit “A” The originating notice given under any provision hereof
   38 shall be deemed given only when received by the party to whom such notice is directed，and the time for such party to give any notice in
   39 response thereto shall run from the date the originating notice is received. The second or any responsive notice shall be deemed given
                                                                         •                                                              or email
   40 when deposited in the mail or with the telegraph company, with postage or charges prepaid, or sent by telex or telecopier / . Each party
   41 shall have the right to change its address at any time，and from time to time, by giving written notice thereof to all other parties.
   42
   43                                                                  ARTICLE XIII.
   44                                                            TERM OF AGREEMENT
   45
   46        This agreement shall remain in full force and effect as to the oil and gas leases and/or oil and gas interests subject hereto for the
   47 period of time selected below; provided, however, no party hereto shall ever be construed as having any right title or interest in or to any
   48 lease or oil and gas interest contributed by any other party beyond the term of tms agreement.
   49
   50 0 Option No. 1: So long as any of the oil and gas leases subject to this agreement remain or are continued in force as to any part
   51 of the Contract Area, whether by production, extension, renewal，or otherwise.
   52
   53 a— —Option No. .2—In the event the well described in Article-VItA., -or-a-ny subsequent well drilled under--any provisien-ef-this
   54 agreement-, results-in-produeticm of oil and/or' gas-in-pay-mg-qttaHtities, this-agreement-shal-l-&ontinue-i-n-fefee se -teftg-as any such-wet-l-er
   55 wells produce, or are capable-of-procfaeëeivanë-feF an additiQnal-perieé-ef：                        ■ days from cessation-of-^l-preduetioru-prov-idedr
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   57 ing，plugging-bQelc--tesëng or attempting-to-eempl-ete-a ■    weH.._or-weHs-heFeimdeivthis-agreement_-s.haH~€ent.inue4rHforee-"imt.i.l such opera
   58 tions hav^-been-eompleted and4f produeti-on-Fesults-therefrom, this agreement--shall' e6ntinue-in-jerGe-as-fir-ev-Haed--her-em-Pn-the-e^^fiM-he
   59 well described...in_~A-rticle VI.八.，or■any-subseqwnt--weij drilled-her-e^HHier, results in--a--dry--hole, a»d-n0-ethep^vel4-is-p>Fedi-t€ingrer-eapaMe
   60 of produeing-eü- and/or- gas- from -t-he-gorrt-raet-AFea, this agreement-shall terminate -unless d-Fil-í ingr-áeepeningrpjBgging back- or rework-
   61 ing- opeFations are commenced withirh                    days from the                                    そH:
   62
   63        It is agreed, however, that the termination of this agreement shall not relieve any party hereto from any liability which has
   64 accrued or attached prior to the date of such termination.
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        A.A.P.L. FORM 610- MODEL FORM OPERATING AGREEMENT - 1982



                                                            ARTICLE XIV.
    2                                           COMPLIANCE WITH LAWS AND REGULATIONS
    3
    4 A- Laws, Regulations and Orders:
    5
    6       This agreement shall be subject to the conservation laws of the state in which the Contract Area is located, to the valid rules，
    7 regulations, and orders of any duly constituted regulatory body of said state; and to all other applicable federal, state，and local laws, or-
    8 dinances, rules, regulations, and orders.
    9
   10 B. Governing Law:
   11
   12       This agreement and all matters pertaining hereto, including, but not limited to, matters of performance, non-performance, breach,
   13 remedies, procedures, rights, duties, and interpretation or construction, shall be governed and determined by the law of the state in which
   14 the Contract Area is located. If the Contract Area is in two or more states，the law of the state of.                  Alabama
   15 shall govern.
   16
   17 C Regulatory Agencies:
   18
   19        Nothing herein contained shall grant, or be construed to grant Operator the right or authority to waive or release any rights,
   20 privileges, or obligations which Non-Operators may have under federal or state laws or under mies, regulations or orders promulgated
   21 under such laws in reference to oil, gas and mineral operations, including the location, operation, or production of wells, on tracts offset-
   22 ting or adjacent to the Contract Area.
   23
   24        With respect to operations hereunder, Non-Operators agree to release Operator from any and all losses, damages, injuries, claims
   25 and causes of action arising out of，incident to or resulting directly or indirectly from Operator’s interpretation or application of rules.
   26 rulings, regulations or orders of the Department of Energy or predecessor or successor agencies to the extent such interpretation or ap-
   27 plication was made in good faith. Each Non-Operator further agrees to reimburse Operator for any amounts applicable to such Non-
   28 Operator’s share of production that Operator may be required to refund, rebate or pay as a result of such an incorrect interpretation or
   29 application, together with interest and penalties thereon owing by Operator as a result of such incorrect interpretation or application.
   30
   31        Non-Operators authorize Operator to prepare and submit such documents as may be required to be submitted to the purchaser
   32 of any crude oil sold hereunder or to any other person or entity pursuant to the requirements of the.上
   33 of-1■七               may be amended-from                     Act,?-）；--Qnd--any valid regulations or rules which may be issued by the Treasury
   34 Department from time to time pursuant to seÀà-/ Act. Each party hereto agrees to furnish any and all certifications or other information
   35 which is required to be furnished by said Act in a timely manner and in sufficient detail to permit compliance with safé-/ Act.
   36
   37                                                                  ARTICLE XV.
   38                                                             OTHER PROVISIONS
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                                                    ARTICLE XV

                                               OTHER PROVISIONS

   A. PRECEDENCE OF OPERATIONS

   Where a well that has been authorized under the terms of this Agreement by all parties, has been drilled to
   the proposed depth or the objective formation, or a depth at which further drilling is impractical, whichever
   is the lesser, and the consenting parties participating in the well cannot agree upon the sequence and timing
   of further operations regarding such well, the following elections shall control in the order enumerated
   below:

   (1) an election to perform additional logging, coring or testing;
   (2) an election to attempt to complete the well at the deepest drilled depth proposed for completion by any
       Party;
   (3) an election to plug back and attempt to complete the well in a shallower depth or formation;
   (4) an election to deepen the well;
   (5) an election to sidetrack the well;
   (6) an election to rework the well by generally accepted stimulation techniques whether or not the well had
       previously produced in commercial quantities or is capable of commercial production;
   (7) an election to temporarily abandon the well;
   (8) an election to plug and abandon the well.

   It is provided, however, that if at any time said consenting parties are considering the above election, the
   wellbore is in such a condition that, in the opinion of a majority of the consenting parties in possessory,
   cost-bearing interest (and not in number), a reasonaDiy prudent operator would not conduct the operations
   contemplated by the particular election involved for fear of placing the hole in jeopardy or losing the same
   prior to completing the well in the objective depth or objective formation, such election shall not be given
   the priority herein above set forth. In such event, the operation, which, in the opinion of a majority of the
   consenting parties in possessory, cost bearing interest (and not in number) is less likely to jeopardize the
   well, will be given priority. Should the consenting parties be equally divided in their opinion, then the
   opinion of the Operator shall prevail. It is further understood that if some, but not all parties, elect to
   participate in the additional logging, coring, or testing, they may do so at their expense and risk, but should
   the party or parties not participate in such additional logging, coring, or testing, later elect to participate in a
   proposed operation based on the information obtained from the additional logging, coring, or testing, then
   the party or parties so electing shall be required to pay their proportionate share of the cost of said logging,
   coring, or testing, and shall be entitled to the logs, cores or the results of the tests. For the purpose of this
   paragraph the proposed depth shall be the depth as set forth in the AFE or in the proposal for the proposed
   operation, and the objective formation shall be the formation as set forth in the AFE or in the proposal for
   the proposed operation.

   B. HOLIDAYS

   The word “holidays” when used herein is defined as a legal holiday observed by the United States
   government and its agencies.

   C. DISPUTES AS TO PROPOSED DEPTHS

   If during the drilling of any well drilled hereunder, a bona fide dispute shall exist as to whether the proposed
   depth has been reached in such well (as for example, whether a well has been drilled to a depth sufficient to
   test a particular sand or formation or if the well has reached the stratigraphic equivalent of a particular
   depth), the opinion of a majority of ownership of the total possessory, cost-bearing interest (and not in
   number) of the owners as shown by Exhibit “A” shall control and be binding upon all parties. Ifthe parties
   are equally divided, the opinion of the Operator will prevail.

   D. ADVANCEMENT OF COSTS

   The provisions of section 1.5(a) of the Participation Agreement to which this agreement is attached as
   Exhibit “D” shall govern advancement of costs relative to the initial well. Notwithstanding any other
   provisions herein. Operator shall have the right to request and receive from each Non-Operator payment(s)
   in advance of its respective share of (i) the dry hole cost for any other well to be drilled hereunder to which
   such Non-Operator has consented, and (ii) the cost of any completion, reworking, recompletion,
   sidetracking, deepening or plugging back operation to which such Non-Operator has consented (any such
   operation under clause (i) or (ii), being herein called a “Drilling Operation”). Such request for advance
   payment may be made upon all Non-Operators or upon any one or more of them to the exclusion of others,
   and shall be made in writing no earlier than thirty (30) days prior to the anticipated commencement date for
   such Drilling Operation. The amount of each Non-Operator’s advance payment shall be based upon the


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   latest AFE for such operation. Such advanced payments shall be held by Operator for the account of the
   Non-Operators and applied, with interest against the actual costs incurred in the applicable operation.

   A Non-Operator receiving a request for advance payment shall, within seven (7) days of the receipt of such
   request if and when a drilling rig is on location and within fifteen (15) days of the receipt of such request in
   all other cases, pay to operator in cash the full amount of such request. Operator shall credit the amount to
   the Non-Operator’s account for the payment of such Non-Operator’s share of costs of such Drilling
   operation, and following the end of each month Operator shall charge such account with such
   Non-Operator’s share of actual costs incurred during such month.

   Payment in advance shall in no event relieve a Non-Operator of its obligation to pay its share of the actual
   cost of a Drilling Operation previously approved, and when the actual costs have been determined,
   Operator shall adjust the accounts of the parties by refunding any net amounts due or invoicing the parties
   for additional sums owing, which additional sums shall be paid in accordance with the Accounting
   Procedure as set forth in Exhibit “C” to this Agreement. Advance payment by a Non-Operator of his share
   of completed well costs shall in no event prevent such completion of a well pursuant to Option No. 2 of
   Article VII.D.l. and, in the event such a Non-Operator elects not to participate in completion, the sums that
   such Non-Operator has advanced shall not be charged with any share of the costs of any completion
   attempted.

   In the event a Non-Operator from which a request for advance payment was made does not, within the time
   and manner above provided, fully satisfy the request for advance payment by depositing cash as aforesaid,
   then Operator, at his option, shall make a second written request by certified mail, return receipt requested
   for such advance. Non-Operator shall pay for said advance as aforesaid within five (5) business days from
   receipt of such second request.

   If a Non-Operator fails to pay within five (5) business days of the receipt of such second request, then
   Non-Operator may, at the sole discretion and timing election of the Operator, be deemed non-consent in
   said operation retroactive to the beginning of such operation and thereafter subject to the penalty provisions
   of Article VI.B.2 hereof.

   If the Non-Operator fails to make such payment or furnish such security within five (5) business days of the
   receipt of such second request, Operator shall promptly notify all other parties still participating in such
   Drilling Operation of the default in payment and if and when applicable, of the relinquishment of an interest
   under this provision. The parties who wish to participate in the Drilling Operation shall have five (5) days
   from receipt of the applicable notice to elect to assume the costs chargeable to such relinquished interest
   and shall share such relinquished interest in proportion to their assumption of such relinquished interest. If
   the parties who wish to participate in the Drilling Operation are unwilling to assume the costs chargeable to
   such relinquished interest, the Drilling Operation shall be cancelled.

   Notwithstanding anything to the contrary herein, if the applicable drilled well or operation is unsuccessful
   or results in a dry hole, Operator shall have the right to sue a Non-Operator who failed to pay for its
   proportionate share of expenses in lieu of Operator’s right to deem the Non-Operator Non-Consent.

   E. NECESSARY EXPENDITURES EXCLUDE SIDETRACKING

   The phrase “necessary expenditures” in Article VII.D.l., (Option No. 2) on page 10 shall not be deemed to
   Include sidetracking operations, unless specifically included in an Authority for Expenditure approved by
   the participating parties.

   F. ADDITIONAL CHARGES

   Notwithstanding anything to the contrary contained in this Operating Agreement or the Accounting
   Procedure (Exhibit “C”)，the following items pertaining to the Unit Area shall not be considered as
   administrative overhead, but the Operator shall be entitled to make a direct charge against the Joint
   Account for same:

   Long distance telephone call, fees for legal services, overnight mail, title costs (including curative), costs
   and expenses in connection with preparation and presentation of evidence and exhibits of State Oil and
   Gas Board of Alabama hearings, preparation and handling of application to and hearings before other
   governmental agencies or regulatoiy bodies.

   G. INDEMNITY

   Except for liabilities resulting from the gross negligence or willful misconduct of the Operator, each
   Non-Operator shall defend, indemnify and hold Operator harmless against any and all liability in excess of
   insurance coverage carried for the joint account for injury to each such Non-Operator’s officers, employees
   and/or agents, resulting from or in any way relating to such officers, employees, and/or agents presence on

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   a drilling rig on the Contract Area or from such person traveling by air or water between any point and such
   drilling rig. Such indemnity to Operator shall also apply to any other person whose presence on the rig or
   transportation to or from such rig is at the request of the indemnifying Non-Operator (except for liabilities
   resulting from the gross negligence or willful misconduct of the Operator).

   H. GAS BALANCING

   In the event that (i) any party hereto refuses to participate in any operation proposed under this Agreement
   and who is, as consequence thereof, subject to forfeiture of his interest, and (ii) such party is, at that time, in
   an imbalance situation with either overproduction or underproduction, then the mechanism established in
   Exhibit “E” to correct such imbalances shall prevail.

   I. SEVERABILITY

   If any term or other provision of this Agreement is invalid, illegal or incapable of being enforced by any rule
   of law or public policy, all other conditions and provisions of this agreement shall nevertheless remain in
   full force and effect so long as the economic or legal substance of the transactions contemplated hereby is
   not affected in any manner materially adverse to any party. Upon any binding determination that any term
   or other provision is invalid, illegal or incapable of being enforced, the parties hereto shall negotiate in good
   faith to modify this Agreement so as to effect the original intent of the parties as closely as possible in an
   acceptable and legally enforceable manner.

   J. NO WAIVERS

   No failure or delay by any party in exercising any right, power or privilege hereunder shall operate as a
   waiver thereof nor shall any single or partial exercise thereof preclude any other or further exercise thereof
   or exercise of any other right, power or privilege. The rights and remedies herein provided shall be
   cumulative and not exclusive of any rights or remedies provided by law.

   K. AREA OF MUTUAL INTEREST

   The parties hereby create an Area of Mutual Interest (“AMI”) consisting of the lands outlined by a bold red
   line on the plat attached hereto as Exhibit “A-2". This AMI shall remain in force and effect for a term of
   five (5) years from the date of this Agreement and, insofar and only insofar as the AMI includes lands
   covered by oil and gas leases and/or oil and gas interests subject to this Agreement, as long thereafter as said
   oil and gas leases and/or oil and gas interests remain in force and effect. This AMI shall terminate after
   five (5) years as to all such lands not covered by oil and gas leases and/or oil and gas interests subject to this
   Agreement.

   During the term of this AMI, if any party hereto, including related persons or entities, (“Acquiring Party”)
   directly or indirectly acquires any oil and gas lease or any oil and gas interest covering lands lying within
   the AMI, the Acquiring Party shall promptly advise the other parties (“Offerees”)of such acquisition. In
   such event, each Offeree shall have the right to acquire its proportionate interest in such oil and gas lease
   and/or oil and gas interest in accordance with the other provisions of this AMI. If the oil and gas lease or
   oil and gas interest covers lands within and outside the AMI, the Acquiring Party shall only offer, and the
   Offerees shall only have the right to acquire its proportionate interest, in the oil and gas lease or oil and gas
   interest insofar and only insofar as the same covers lands lying within the AMI. In such a case, the oil and
   gas lease or oil and gas interest insofar as they cover lands lying outside the AMI shall not be subject to this
   AMI, this Operating Agreement or the Participation Agreement to which this Operating Agreement is
   attached as Exhibit “D”.

   Promptly upon acquiring such oil and gas lease and/or oil and gas interest, the Acquiring Party shall, in
   writing, advise the Offerees of such acquisition. The notice shall include a copy of all instruments of
   acquisition including, by way of example but not of limitation, copies of the leases, assignments, subleases,
   farmouts or other contracts affecting the oil and gas lease and/or oil and gas interest.

    The Acquiring Party shall also enclose an itemized statement of the actual costs and expenses incurred by
    the Acquiring Party in acquiring such oil and gas lease and/or oil and gas interest (“Acquisition costs”).
    The Offeree shall have a period of fifteen (15) days after receipt of the notice within which to furnish the
    Acquiring Party written notice of its election to acquire its proportionate interest in the offered oil and gas
    lease and/or oil and gas interest. If, however, a well in search of oil or gas is being drilled within the AMI,
    each Offeree shall have a period of twenty-four (24) hours (excluding Saturdays, Sundays and legal
    holidays) after delivery of the notice within which to elect to acquire its proportionate interest in the oil and
    gas lease and/or oil and gas interest so offered. It is provided, however, that the twenty-four (24) hour
    election period shall not apply unless the Acquiring Party shall give the notice to the Offerees within two
    (2) days after the date on which the Acquiring Party acquired the oil and gas lease and/or oil and gas
    interest so offered. In addition thereto, the Acquiring Party shall also:



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            ⑻        furnish the Offerees with the approximate location of the well then being drilled and the
                     name of the operator or drilling contractor drilling the well, and

            (b)      specifically advise the Offerees that the Offerees shall have a period of twenty-four (24)
                     hours within which to elect to acquire an interest in the offered Oil and Gas Interest.

    The above information shall be in addition to the information and copies of instruments provided for above
    in connection with the usual notices of acquisition of an oil and gas lease and/or oil and gas interest. If the
    Acquiring Party does not receive actual written notice of election of an Offeree to acquire its proportionate
    interest within the fifteen (15) day or twenty-four (24) hour period, as the case may be, such failure shall
    constitute an election by such Offeree not to acquire its interest therein. An Offeree accepting the offered
    interest shall be entitled to participate in such oil and gas lease and/or oil and gas interest in the proportion
    to which its interest bears to the total interest of all parties (including the acquiring party) electing to
    participate. Promptly after the time for election expires, the Acquiring Party, or the Operator on its
    behalf, shall invoice the Offeree electing to acquire an interest for its proportionate part of the Acquisition
    Cost, as reflected by the invoice. Upon receipt of such reimbursement, the Acquiring Party shall execute
    and deliver an appropriate assignment to such Offeree. If the Acquiring Party does not receive the
    amount due from the Offeree within thirty (30) days after receipt by the Offeree of the invoice for its cost,
    the Acquiring Party may, at its election, give written notice to such delinquent party that the failure of the
    Acquiring Party to receive the amount due within five (5) days after receipt of such written notice Dy the
    delinquent Offeree shall constitute a withdrawal by the delinquent Offeree of its former election to acquire
    the interest, and such Offeree shall no longer have the right to acquire an interest in the offered oil and gas
    lease and/or oil and gas interest.

    Any assignment made by the Acquiring Party shall be made free and clear of any liens, encumbrances,
    overriding royalty interests and other burdens created by or arising under the Acquiring Party but
    otherwise without warranty of title, either express or implied not even for the return of the purchase price.
    The assignment shall be made and accepted subject to, and each assignee shall expressly assume its
    portion of all of the obligations of the Acquiring Party. Fhe assignment shall also be made ana accepted
    subject to this Agreement and the Participation Agreement to wmch this Agreement is attached as Exhibit
    “D”. Without limitation upon the foregoing, oil and gas lease or oil and gas interest covered by the
    assignment shall bear its share of the reversionary working interest described in section 1.5 of said
    Participation Agreement.

    If two (2) or more separate oil and gas leases and/or oil and gas interests are included in the same notice,
    the Offeree shall have the separate right of election as to each separate oil and gas lease and/or oil and gas
    interest.

    The provisions of this AMI shall not apply to acquisitions as a result of merger, consolidation,
    reorganization or an acquisition from a parent, subsidiary, or affiliated corporation, or as to individuals,
    from ascendants or descendants or trusts of which such parties are beneficiaries. Neither shall it apply to
    sales and acquisitions between partners in a partnership or venturers in a joint venture, or to any
    acquisition by any party of an interest which interest prior to and at the time of such acquisition was subject
    to this Agreement, unless such acquisition was the renewal or extension of a lease which at the date of
    expiration was subject to this Agreement.

    Renewals and extensions of oil and gas lease(s) and/or oil and gas interest(s) shall be subject to Article
    VIII.B of this Agreement.

    L. DISBURSEMENT OF ROYALTIES

    If Operator prepares and administers a division order for and receives and distributes the proceeds of
    production attributable to the interest of a Non-Operator, then Operator shall be entitled to charge that
    party for an appropriate monthly overhead charge for disbursing such royalty payments, in addition to the
    combined fixed rates specified in Exhibit “C” hereto. If through error or inadvertence Operator shall fail
    to pay or timely pay any royalties, overriding royalties or other payments to the parties entitled thereto, he
    shall not be liable in damages to the other Parties hereto for such failure, unless arising out of the gross
    negligence or willful misconduct of the Operator.

    M. INFORMATION


    Anything to the contrary hereinabove notwithstanding, it is stipulated that any non-consenting party to an
    operation conducted hereunder shall have no right to observe such operation or have access to information
    pertaining to such operation, until such time as the non-consenting party’s share of the cost of such
    operation and the penalty therefor has been recovered by the consenting parties as provided herein.




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    N. OPERATOR’S LIEN- SECURITY INTEREST

    Subject to the provision of Article VIL B. of this Agreement, each non-Operator grants to Operator a lien
    upon all of the rights, titles, and interests of each Non-Operator, whether now existing or hereafter
    acquired, in and to the (1) the oil, gas, or other minerals in, on, and under the Contract Area and (2) any oil,
    gas, and mineral leases covering the Contract Area or any portion thereof. In addition, each
    Non-Operator grants to Operator a security interest in and to all of such Non-Operator’s rignts, titles,
    interests, claims, general intangibles, proceeds, and products thereof, whether now existing or hereafter
    acquired, in and to (1) all oil, gas and other minerals produced from the Contract Area when produced; (2)
    all accounts receivable accruing or arising as a result of the sale of such oil, gas and other minerals; (3) all
    cash or other proceeds from the sale of such oil, gas, and other minerals once produced; and (4) all oil and
    gas wells and other surface and sub-surface equipment and facilities of any kind or character located on the
    Contract Area and the cash or other proceeds received from the sale thereof (collectively, the “Personal
    Property Collateral”). Some of the Personal Property Collateral is or will become fixtures on the Contract
    Area, and the interest of Non-Operator in and to the oil, gas and other minerals when extracted from the
    Contract Area and the accounts receivable accruing or arising as the result of the sale thereof shall be
    financed at the wellhead of the well or wells located on the Contract Area. This Agreement (including a
    carbon, photographic, or other reproduction hereof) shall constitute a non-standard form financing
    statement under the terms of the Uniform Commercial Code of the State in which the Contract Area is
    located, and as such, may be filed for record in the real estate records of the county in which the Contract
    Area is located. Operator grants a like lien and security interest to the Non-Operators to secure payment
    of Operator’s proportionate share of expense, if any.

    O. SEPARATE AGREEMENT FOR NON-UNIFORM INTEREST

    Any oil and gas lease and/or oil and gas interest that is both acquired after the effective date of this
    Agreement and covered by Article VIII.B, VIII.C or XV.K of this Agreement, that thereafter becomes
    owned by only one of the parties hereto shall not be subject to this Agreement from and after the date such
    lease and/or interest becomes so owned. Any oil and gas lease and/or oil and gas interest acquired after
    the effective date of this Agreement and covered by Article VIII.B, VIII.C or XV.K of this Agreement,
    that becomes owned by more than one but less than all of the parties hereto shall remain subject to this
    Agreement as to the parties who own an interest therein, but Operator is authorized to modify Exhibit “A”
    to this Agreement to reflect the parties’ interests in each such oil and gas lease and/or oil and gas interest.
    Operator is further authorized to modify said Exhibit “A” to this Agreement to reflect the parties’ interests
    in each well subject to this Agreement.

    P. METERING OF PRODUCTION

    In the event of transfer, sale, encumbrance or other disposition of interest within the Contract Area, which
    creates the necessity of separate measurement of production, the party creating the necessity for such
    measurement shall alone bear the cost of purchase, installation and operation of such facilities.

    Q. PLUGGING AND LEASEHOLD RESTORATION FUND

    At any time any well subject to this agreement is, in Operator’s sole opinion, approaching the end of its
    economic life and/or its useful purpose, Operator may pre-bill the joint account an amount which is
    reasonably estimated to plug and abandon such well and restore the leasehold premises at the well-site
    location. Such amount shall be invested in an interest bearing certificate of deposit, and the principal and
    interest therefrom utilized to offset the actual costs of plugging and abandonment and restoration of the
    leasehold premises. In the event actual costs are less than the estimate, each working interest owner will
    be issued a refund of the difference, together with any accrued interest on such difference, based upon the
    then working interest percentage of such owner. In the event the actual costs exceed the estimate, each
    owner agrees to pay its proportionate share of the expenses over and above the estimated and pre-billed
    amount.

    R. PREVAILING AGREEMENT

    If there is a conflict between provisions of that Participation Agreement dated effective as of January 23,
    2015, by and between Sklar Exploration Company L.L.C., Sklarco L.L.C., Rose Hill Exploration LLC,
    Landmark Oil and Gas, LLC, Stone Development, LLC, Sticker Resource Investments, LLC, Hanson
    Operating Company, Inc., Babe Development, LLC, Brewton, LLC and Charles A. Morrison Consulting
    Geophysicist, Inc., to which this form of Operating Agreement is attached as Exhibit “D” and this
    Operating Agreement, the provisions of the Participation Agreement shall prevail, and shall be binding
    upon all parties to this Operating Agreement.



                                                  JOA - Article XV
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    S. DEFAULT PENALTY/AUTOMATIC NON-CONSENT

    If written notice has been given that the lien rights conferred in Article VIL B. have been implemented or
    enforced against any party hereto, for so long as the affected party remains in default, it shall have no
    further access to the Contract Area or information obtained in connection with operations hereunder and
    shall not be entitled to vote its interest in any matter hereunder. As to any proposed operation in which it
    otherwise would have the right to participate, such party shall not have the right to elect to participate or be
    a Consenting Party unless and until it pays in full the amount it is in default plus all other outstanding
    amounts due hereunder. If an operation proposed during such default period commences before such
    payment in full, the party in default shall automatically be deemed a Non-Consenting Party to the
    operation.

    T. NON-PARTICIPATING INTERESTS

    Anything to the contrary herein notwithstanding, the parties hereto agree to carry any non-participating oil
    and gas interest and/or any non-participating leasehold interest in proportion to their respective interests as
    set out in Exhibit “A” hereto as same may be revised from time to time to reflect record title and/or
    reformation of the Contract Area.

    U. MISCELLANEOUS

    Anything to the contrary herein notwithstanding, this Operating Agreement is expressly made subject to
    the terms and provisions of the leases and any farmout agreements described in Exhibit “A” hereof. This
    Agreement shall be binding upon and shall inure to the benefit of the parties hereto and their respective
    heirs, devisees, legal representatives, successors and assigns, and the terms hereto shall be deemed to run
    with the oil and gas leases and/or oil and gas interests subject to this Agreement. The headings used in
    this Agreement are for convenience only and shall not be considered m the interpretation or construction
    of the Agreement.

    V. NON-CONSENT

    Any party that forfeits its interest in a well pursuant to Article VLB.2 of this Agreement forfeits their
    interest in the entire well and revenue therefrom, not just a particular Zone therein, for the duration of the
    recoupment period or, if the risk compensation is never recovered, forever. The parties recognize,
    however, that applicable rules of the State Oil and Gas Board of Alabama may allow for the drilling and
    completion of additional wells within the unit for an existing well, and, subject to the other provisions of
    this Agreement, the forfeiture by one party of its interest in the existing well does not affect that party’s
    right to elect to participate or not to participate in a proposal to drill, or any other operation with respect to,
    another well, even if the other well is located in the same unit, and even if the new well is completed in the
    same Zone from which the existing well is producing.

    Anything to the contrary hereinabove notwithstanding, any Non-Consenting Party to an operation
    conducted hereunder shall have no right to observe such operation or subsequent operations within the
    same well or have access to information pertaining to such operation or subsequent operations, until such
    time as the Non-Consenting Party’s share of the cost of such operation, and any applicable subsequent
    operations, and the risk compensation therefor has been recovered by the Consenting Parties as provided
    herein.

    W. SOPHISTICATED INVESTORS

    By execution of this Agreement, each Non-Operator represents to each other and to Operator: (i) that it has
    a working knowledge of the oil and gas industry; (ii) that it is a sophisticated investor and has a financial
    net worth in excess of one million dollars; (iii) that it can afford to take the financial risk associated with
    participation in an oil and gas drilling venture, including without limitation, loss of leasehold costs,
    drilling costs, completion costs, and all other costs incurred in operations under this Agreement; (iv) that it
    ACKNOWLEDGES THERE CAN BE NO ASSURANCE THAT OIL AND/OR GAS WILL BE
    FOUND, OR IF FOUND, THAT IT CAN BE PRODUCED IN PROFITABLE QUANTITIES; (v) that its
    interest hereunder has not been registered pursuant to the Federal Securities Act of 1933, as amended, the
    rules and regulations of the Securities and Exchange Commission promulgated or issued thereunder or the
    securities laws of the State of Alabama, or any other state (“Securities Law’’)，and that it owns said interest
    for investment purposes only, and not with a view to or for sale in connection with any distribution thereof
    within the meaning of Securities Law.




                                                   JOA - Article XV
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        A.A.P.L. FORM 610 - MODEL FORM OPERATING AGREEMENT - 1982



                                                                           ARTICLE XVI.
    2                                                                     MISCELLANEOUS
    3
    4        This agreement shall be binding upon and shall inure to the benefit of the parties hereto and to their respective heirs, devisees,
    5 legal representatives. successors and assigns.
    6
    7        This instrument may be executed in any number of counterparts, each of wmch shall be considered an original for all purposes.
    8
    9        IN WITNESS WHEREOF, this agreement shall be effective as of.                         23rd            day of.        January          ,(year) 2015
   10
   11     -                                                 .who has prepared and circulated thk> form-for execution, represenfô-anë ■waFrantfrthaHhe^eFm
   12 was printed-from-and-with-the exception listed below, is-identical -to the A a PL FoFm-6-lQ -1-98^-Model Form Operatmg Agreemen^as
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   14 ---------------------------------------------------------------------------------------------------------------------------------- ,have been made to the form.
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   16                                                                         OPERATOR
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                                                                                            SKLAR EXPLORATION COMPANY L.L.C.
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                                                                                            SKLARCO L.L.C
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        A.A.P.L. FORM 610 - MODEL FORM OPERATING AGREEMENT - 1982




                                                   HANSON OPERATING COMPANY, INC.
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   10                                              BABE DEVELOPMENT, LLC
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   14                                              Kay Willis, Managing Memoer
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   18                                              BREWTON, LLC
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   21                                              Michael Johnson, Manager
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                                           ACKNOWLEDGMENTS


   STATE OF COLORADO

   COUNTY OF BOULDER
             I,                           __________, a notary public in and for said County and State, hereby
   certify that David A. Barlow, whose name as President & Chief Operating Officer of SKLAR EXPLORATION
   COMPANY L.L.C., a Louisiana limited liability company, is signed to the foregoing instrument and who is
   known to me, acknowledged before me on this day that, being informed of the contents of the instrument, he,
   as such officer and with foil authority, executed the same for and as the act of said company.

           Given under my hand and notarial seal this the              day of.                          ,2015.



                                                              NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:



   STATE OF COLORADO

   COUNTY OF BOULDER
            I,            _____________________ , a notary public in and for said Parish and State, hereby
   certify that David A. Barlow, whose name as President & Chief Operating Officer of SKLARCO L.L.C., a
   Louisiana limited liability company, is signed to the foregoing instrument and who is known to me，
   acknowledged before me on this day that, being informed of the contents of the instrument, he, as such officer
   and with full authority, executed the same for andas the act of said company.

           Given under my hand and notarial seal this the              day of.                          ,2015.



                                                              NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:



   STATE OF

   COUNTY OF

             I,            ____________________ ，a notary public in and for said County and State, hereby
   certify that Michael Johnson, whose name as Manager of Landmark Oil & Gas, LLC a Mississippi limited
   liability company, is signed to the foregoing instrument and who is known to me，acknowledged before me on
   this day that, being iniormed of the contents of the instrument, she, as such officer and with full authority,
   executed the same for and as the act of said company.

           Given under my hand and notarial seal this the              day of,                          ,2015.



                                                              NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:




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   STATE OF

   COUNTY OF

             L        ________________________ , a notary public in and for said County and State, hereby
   certify that L.C. Cheramie, whose name as Manager of Stone Development, LLC.a Mississippi limited liability
   company, is signed to the foregoing instrument and who is known to me, acknowledged before me on this day
   that, being informed of the contents of the instrument, he, as such officer and with full authority, executed the
   same for and as the act of said company.

           Given under my hand and notarial seal this the                 day of.                           ,2015.



                                                                 NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:



   STATE OF

   COUNTY OF

             I,                                          a notary public in and for said County and State, hereby
   certify that Edwin E. Sticker, whose name as Manager of Sticker Resource Investments, LLC, a Mississippi
   limited liability company, is signed to the foregoing instrument and who is known to me, acknowledged before
   me on this day that, being informed of the contents of the instrument, he, as such officer and with full authority,
   executed the same for and as the act of said company.

           Given under my hand and notarial seal this the                 day of                             ,2015.



                                                                 NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:



   STATE OF

   COUNTY OF

             I,    __________________________ , a notary public in and for said County and State, hereby
   certify that Ray Willis, whose name as President of Hanson Operating Company, Inc., a New Mexico limited
   liability company, is signed to the foregoing instrument and who is known to me, acknowledged before me on
   this day that, being informed of the contents of the instrument, he, as such officer and with full authority,
   executed the same for and as the act of said company.

            Given under my hand and notarial seal this the                day of.                            .,2015.



                                                                 NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:




                                                           16a
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   STATE OF

   COUNTY OF

             I,                                         a notary public in and for said County and State, hereby
   certify that Ray Willis, whose name as Managing Member of Babe Development, LLC, a New Mexico limited
   liability company, is signed to the foregoing instrument and who is known to me, acknowledged before me on
   this day that, being informed of the contents of the instrument, he, as such officer and with full authority,
   executed the same for and as the act of said company.

           Given under my hand and notarial seal this the                day of.                           ,2015.



                                                                NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:



   STATE OF

   COUNTY OF

            I,                                          a notary public in and for said County and State, hereby
   certify that Michael Johnson, whose name as Manager of Brewton, LLC, a Mississippi limited liability
   company, is signed to the foregoing instrument and who is known to me, acknowledged before me on this day
   that, being informed of the contents of the instrument, he, as such officer and with full authority, executed the
   same for and as the act of said company.

           Given under my hand and notarial seal this the                day of.                           .,2015.



                                                                NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:




   STATE OF

   COUNTY OF

             I,     _________________________ , a notary public in and for said County and State, hereby
   certify that Charles A. Morrison, whose name as President of Charles A. Morrison Consulting Geophysicist,
   Inc., a Mississippi limited liability company, is signed to the foregoing instrument and who is known to me,
   acknowledged before me on this day that, being informed of the contents of the instrument, he, as such officer
   and with full authority, executed the same for and as the act of said company.

           Given under my hand and notarial seal this the                day of.                           .,2015.



                                                                NOTARY PUBLIC

   [AFFIX NOTARIAL SEAL]

   My Commission Expires:




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                                         EXHIBIT “A”
                                      BREWTON PROSPECT
                                  ESCAMBIA COUNTY, ALABAMA

                                 Attached to and made a part of that certain
                      Operating Agreement (Brewton Prospect) dated January 23,2015,
                      by and between Sklar Exploration Company L.L.C., as Operator,
                                 and Sklarco L.L.C., et al, as Non-Operator


   ⑴     Identification of lands subject to this agreement:

                                               Contract Area

                                   All lands, oil and gas leasehold interests,
                  options to acquire oil and gas leasehold interests and oil and gas interests
                       lying within the red boundary as shown on the plat designated
                               as Exhibit “A-2” and covering all or portions of:

                           Sections 24,25 & 26 Township 3 North, Range 9 East
                      Sections 19-22, 27-30, 31-34, Township 3 North, Range 10 East
                      Sections 1, 12-13, 24-26, 35-36, Township 2 North, Range 9 East
                              Sections 1-36, Township 2 North, Range 10 East
                            Sections 1-2, 11-14, Township 1 North, Range 9 East
                           Sections 1-12 & 18, Township 1 North, Range 10 East
                                        Escambia County, Alabama.

                                          Area of Mutual Interest

                                          Same as Coniract Area

   (2)   Restrictions, if anv, as to depths, formations, or substances:

         There are no restrictions except as may be provided for in any lease or contract subject to this
         Operating Agreement.

   (3)   Decimal Interest and names of Parties to this Agreement

         The following Non-Operators own Option Nos. 1& 2 described in Exhibit “A-l” m the following
         fractional interests:

         Owners                                                     BPO Interest             APO Interest

         Sklarco, LLC                                               81.00000000              64.80000000
         Landmark Oil & Gas, LLC                                    6.00000000                4.80000000
         Stone Development, LLC                                     2.00000000                1.60000000
         Sticker Resource Investments, LLC                          1.00000000                5.67500000
         Hanson Operating Company, Inc.                             6.00000000                4.80000000
         Babe Development, LLC                                      4.00000000                3.20000000
         Brewton, LLC                                                0.00000000              14.62500000
         Charles A. Morrison Consulting
              Geophysicist., Inc.                                    0.00000000                0.50000000
         TOTAL FOR OPTION NOS. 1& 2                                 100.00000000            100.00000000

         The interests owned by the Non-Operators in the Contract Area and in the oil and gas leases and
         interests that become subject to this Agreement will be dependent upon elections made by the
         Non-Operators with respect to oil and gas leases and interests acquired pursuant to said Options
         Nos. 1 & 2 and pursuant to the AMI and the other provisions of this Agreement. Operator shall
         revise this Exhibit “A” from time to time to reflect the interests of the Parties resulting from those
         elections.

   ⑷     Oil and ças lease and/or oil and もas interests subject to this agreement:

         There are no oil and gas leases currently subject to this Agreement. Operator shall amend Exhibit
         “A-l" from time to time as appropriate to reflect the leases or other interests that become subject
         to tois Agreement. The only jointly owned lease burdens will be the lessor’s royalty under each
         of the oil and gas leases that become subject to tms Agreement, and the reversionary working


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         interest described in Section 1.4, of the Participation Agreement to which this Agreement is
         attached as Exhibit “D”. There are no other joint burdens whatsoever.

   (5)   Addresses of parties for notice purposes:

         Sklar Exploration Company, LLC
         401 Edwards Street, Suite 1601
         Shreveport, LA 71101
         Telephone: (318) 227-8668
         Telecopier: (318) 227-9012
         Attn: David Barlow, President, dbarlow@sklarexploration.com
                Greg Rembert, VP Land, grembert@sklarexp1oration.com
                Marshall Jones, Landman, imiones@sklarexploration.com

         Sklarco, LLC
         401 Edwards Street, Suite 1601
         Shreveport, LA 71101
         Telephone: (318) 227-8668
         Telecopier: (318) 227-9012
         Attn: David Barlow，President dbarlow@sklarexploration.com
                Greg Rembert, VP Land, grembert@sklarexpioration.com
                Marshall Jones, Landman, imiones@sklarexploration.com

         Landmark Oil & Gas, LLC
         P. 0. Box 12004
         Jackson, MS 39236
         Telephone: 601-932-2121
         Attn: Michael Johnson, Manager, me琴mhomes.net

         Stone Development, LLC
         P. 0. Box 12004
         Jackson, MS 39236
         Telephone: 601-932-2121
         Attn: L. C. Cheramie，Manager, lc@lmhomes.net

         Sticker Resource Investments, LLC
         P. O.Box 13547
         Jackson, MS 39236
         Telephone: 601-932-6700
         Attn: Edwin E. Sticker, Manager, stickergrp@aol.com

         Hanson Operating Company, Inc.
         P.O.Box 1515
         Roswell, NM 88202
         Telephone: 575-622-7330
         Attn: Ray Willis, President, ravw@dfn.com
                Shari Hamilton, Landman, shari hoci@dfn.com

         Babe Development, LLC
         P. O. Box 758
         Roswell，NM 88202
         Telephone: 575-622-7330
         Attn: Ray Willis, Managing Member, ravw@dfn.com
                 Shari Hamilton, Landman, shari_hoci@dfn.com

         Brewton, LLC
         P. O.Box 12004
         Jackson, MS 39236
         Telephone: 601-932-2121
         Attn: Michael Johnson, Manager, mei@lmhomes.net

         Sticker Resource Investments, LLC
         P. O. Box 13547
         Jackson, MS 39236
         Telephone: 601-932-6700
         Attn: bdwin E. Sticker, Manager, stickergrp@aol .com



                                             JOA - Ex. A
                                              Page 2 of3
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         Charles A. Morrison Consulting Geophysicist, Inc.
         P. O. Box 249
         Madison, MS 39130
         Telephone: 601-605-2738
         Attn: Charles A. Morrison, President, geophvsical@bellsouth.net




                                              JOA - Ex. A
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                                          EXHIBIT “A-l”
                                       BREWTON PROSPECT
                                   ESCAMBIA COUNTY, ALABAMA

                                  Attached to and made a part of that certain
                       Operating Agreement (Brewton Prospect) dated January 23,2015,
                       by and between Sklar Exploration Company L.L.C., as Operator,
                                  and Sklarco L.L.C., et al., as Non-Operator


                       OPTIONS TO ACQUIRE OIL, GAS AND MINERAL LEASES

   1. Geophysical Permit & Lease Option Agreement dated August 29, 2014, by and between D.W.
      McMillan Foundation, Huxford Properties, Ltd., Huxford Land Company, LLC, Heirs of C.C.
      Huxford, Jr., Ed Leigh McMillan, II Family 2009 Irrevocable Trust, McMillan, Ltd., Thomas E.
      McMillan, Jr., Paul D. Owens, Jr. and Katherine M. Owens, T.R. Miller Company, Inc. and TRM
      Woodlands, Inc., as grantors, and Rose Hill Exploration, LLC, as grantee, covering property located
      in Escambia County, Alabama, a short form of which is recorded in Book 591, Page 183 real
      property records of the office of the Probate Judge of Escambia County, Alabama; and

   2. Geophysical Permit & Lease Option Agreement dated August 29, 2014, by and between Cedar Creek
      Land & Timber, Inc., as grantor, and Rose Hill Exploration, LLC, as grantee, covering property
      located in Escambia County, Alabama, a short form of which is recorded in Book 591, Page 224 of
      real property records the office of the Probate Judge of Escambia County, Alabama.




                                               JOA-Ex. A-l
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                                        EXHIBIT “A-2”
                                     BREWTON PROSPECT
                                 ESCAMBIA COUNTY, ALABAMA

                                 Attached to and made a part of that certain
                      Operating Agreement (Brewton Prospect) dated January 23,2015,
                      by and between Sklar Exploration Company L.L.C., as Operator,
                                 and Sklarco L.L.C., et al, as Non-Operator




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                                                                         EXHIBIT "B11
  Prodccczt 88 (9/70)—P«î<d Up (SP 4-75)                                                                                                                      HHDERMAN BROS., RID3ELAND, MS
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                                          OIL, GAS AND MINERAL LEASE
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  stonng and transporting mineras produced from the land covered hereby or any other land adjacent thereto. The tend covered hereby, herein called 4ésAid
  land”, ’Í5 located in the Coiaity o£_                                ______________ _____________ _ State of------ --------------------                                nnd
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  This lease also cov«w and includet, in additian to thit above dccctfbod, all land* if *ny, conti^uoxu or adjacent to or «¿jornias tHo Ltad                                      ¿bed and
  (a) own6d or claimed by lessor by limitation* preacrixrtioa* XKmesúun, xevoifioa or uarocordcd ins trament or (b> Û5 to wHch leas or lias a preference right of
  氬cquisiüoiu Lessor            to execute any Bupplcracncal ixutTiizncct xoqatacccJ by Ivaco ¡far a taor© completo or accurato d«cjriptioa of said land. For the ptu^
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  dato hereof, herciruifter called "'primary tenz^% emd as Joag theroaft               itmSy as borcjaaflor defined, ozo conducted upon siud. land with no cotation for
  more than ninety (90> consecutive clays.
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  of the cose ot frtfltinK oil to raider Xt marlcctablo pipe line oil; (b) To押ン〇夏on jais and casinghead gas produced from Jiaid land (1) -whe:n sold by lessoe.
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  zQarkcted or utilized by^ losseo ffom said Lind, on&-tcnth either in kind or value at t¿e well or mmo At iesaeo's o上oction, except that on sulphur m£n«d and rows
  keted tbo royalty alialf bo one <IolIar (¢1.00) per lonç; ton. l£p *t the croimtlon of tho -primary term or at aay timo or tisnti tbewafter, Acre is nnv -svoU on
  inid land or on Hxmdi with which sold land or any portion tHcicof hsa been pooled, capable o£ producing gas or any oûier mineral covered hereby, ancl nil
  wells «are ahwl-in» this leaae slioll» neverthekas* contteue in force os though opcmtíon.5 were boing conducted on said Itmd for so lone sw said weUs uro sliu__
  and llioraûftor this I^aio may bo continued in force os if no shat-ia had ocemrod. Leasee covonxmta ood affroca to uso ronaonablo diHgmice to produce, utüîzfl,
  or tanrlcct the* rofncnilii capable of helo穴 produced from acid wclb, but in tHe cpccrciso of such diJigcncc, lessee shall not bo obl£«ate<î to install or furnish facili­
  ties other thau well facálitíca and ordirmr^ leaso facilitaea oí flow linea, «:parûtor* itnd lease tank, and ¿ball not bo roquirod to aettk labor trouHo or to market
  gas upon tenus itnacccptnblo ta lessee. lr« at any time or tkaos after Ûio expimtion of the jprlxoary term, all such wells are shut-in for a ocritxi o£ ninety coa-
  seouiivo days，and during such tixxio there aro no operxtiotii on fiâîd la»も fhen *t or befcio the expimtion of Mid ninety day x>enod. lessee sh¿U pay or
  tender, by chock or druEt of lowca» as             m. turn eqa*} to on# dollar <$1^00) for oûch aore o£ land        cav*xed htreby. lotice $hsM mako liîco t>ayineists
  or toidcrs at or bcioro tho end of cftch anmvcisaiy of the expiration of sM ninety day period if upon stxdh £mûiv«mry this lease is "being contfntiod in force
  solely by reason。£ the provisions of tliis xub-poraffrmph. Each 藤uch payment or tonder shall bo made to tlio paxtiot who at the timo of payiaoat would bo oa-
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  orship of shuWn royalty. If at any ttaû ttmt leased payi or tcadm *huWn roysitv, two or moift parties arc, or tlaim to be. eximed to recave same» lessor
  may, in liea^of çaÿ^o^r meti^â oí pa^najt^hcre^grovidod,         oratesd« gucnjhuNía roy¿útyv ¿n ^ manner            specified, cither joint^ to^îuch partie

  for payment. NotblaK Bweia ¿hull -inxpsdt leasee，* xlgit to rele«se u provided la paxagnpix S boieof. In Üío oveat of ttMtgaaieat of thla Iboso in v/hole^or la
        •么 Lessee is hereby g^aattd tb* right,        its option, to pool or usdtizo ail or any p*rt of said land mnd of this lease m to any or *11 xninorflla or horizoai
  thcrouruîcr, with otlicr Unda，lew© or Icoacs* or portion or portions thereof» or xoîncnil or horizon tíheronndor, so as to ostatlish TOlts contelniag not moxo then
  80 surface tierta p]u5 10% acrcûgo tolôranco； provided, however, a xnaiX may bo tstablisbed ar ao cxistms： unit may bo calarccd to contain noc raoro thin 64。
  acres plus 10% Aereas© toieranccr* if imitiicd only, as to ffos or only          to     Jtnd liquid hydrocarbons (condensate) wHch aro not a liquid in tho aubsiiif^co
  reserveïr, 1£ .larger units axe roauired* under any govcniXQCiitaJ ralft or order» for the drilling or operation of 氣 well at a xo^ular location» or far obtaining
  maximum allowable, from any well to b« drilled, drilUn^. or ■ir^ady driflea. any such unit may bo established or enlarged* ta coafonn to tho sizo required by
  sucb povcmmcntûl order or rulô.-Lcsw» sbàll excrci» sairt option w to each do5)lrc<l unit by executing： an initniaaoat ideatifyiag stiÆ unit -and filing it for
  record in tho puMc office in wbsch tírií lease» is recorded. Each of laid options may b« ^xctciscd by losseo fro» tune to time, and whether before or after
  production hw beca ostablishftd either on mid land or on the portion of nid land included ixx tho unie or oa other luid tiaitlzed therewith and any such unit
  may include any well to b» drilled, l>olng drillisd Qr already completed* Á imit established bereunder shall be valid nnd offectivo for 011 pxirposca of tbla
  lease oven though thoro nrny .bo lanci or mineral, royalty or 30050bold interests in land within tie unit which oro not pooled or mútíxod. Any operations con-                                   •
  ducted oa nny part o£ sixch xenitfaed laud shall be ecraiidered* fos «U purpose», «:copt tbo payment of royalty, operations conducted xmdor thia lotio. There
  «ball b<? allocated ta tho Ismà covered by this leaie intíaded in «ny tuco tcoit ibftt propoztioa of thô total pro<itiction of unitízGd mincrAls from well* in tho
  «nit, after deducting *ny vacó In Icmo.or xznit ojwaHom, vrhidh the timabcr o£ suitacts *orôJ îa tho i&nd covered î>y tHü 10050 included Is tLo ■unit be«n to
  tho total nximfaor of surfKo ccrci in tbo tmit. Tbo production so âl3oc*ted ilmH be coMid«red for <JI puiposes, including the payroent or ¿eüvery of royalty, over-
  riding royûlty, and any otter payments put of productioa, to be tho ontíroi production of uaitiz^d minerals from th« portion oí said !¿nd covered ncroby and
  ¿achtcled ¿a. 5uch unit In tbo same T^asxacr as though produced from snid land under tho tersis of this 10119o. The owner of the xcvorsSonary estate of any term
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  of term reqpinn^ production of oil or Sos. Tbo formatíon of ruch unit al^ll nob nnyo tbo effect of cíianídní the owúorthip o£ any ihnt-in i>rodiictioa joyilty
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  Quit lesieo may not io lolcaîo oi to Und* ■within a* naît wbil» ttor»               opë^Hoiu; thereon for vzdtizod minertJi tiaJeu All pooled leases ùie released ts to
  Unâs within tho imit. Lamm tnay dbsolvo any unit eetâbUAfaèd hwundtr oy filing for record i£t                   pablio of£Ic# \Mhor» ÛxU lou» ic r«Qordcd n deel&imtîon to
  that effet•ち i£ at that timo no oporétíoaM kjo boin^ conducted thereon lor unitized xnirienJj:. Sublet ro tho pravlsfona of this par*iirflpli 4r x unit onco
  «stablUhed tercnrtdcr shall rertmin in fore© s<y long aa any lease «íbjcct thorcto iliiU remain in force. A isnit rc«ay bo to estiLblísl^ed, Tnodifíed or dissolved dor-
  Ing the Ufo of this. lease-             •
         5, I-caaeo may at any Hmo and from tímo to tim© «xocuta juad deliver to 1051or or file for r.                              roleuse!9 of this lease as to Slu y part or
  ft3I of said land or of any tainentl or ¿on2011 tíiénsnndw, «nd ÛWfTüby bo i«Hcv«d ôf xiH olxUsAtíoní as to the relewcd aerea; or interest*
      '• 6;*TKs- ia fli PAID-UP LEASE. In con*ldcr»tion of tho down esmh pnymcn^ liesse           :L or «¿roes
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  2n paying quantities'.     -                                              ••
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  by Its operations to growinB crops amd timber on Mid iiuxd.
Case:20-12377-MER Doc#:1467-7 Filed:10/08/21                                                                                           Entered:10/08/21 15:47:25 Page34 of
                                      52

                                                                                           EXHIBIT "B% continued
      8. Th e righti mad state of any ptóy bento miy be uñgnád from timo to timo in whole or in pazt *ad m to any minenl ox borfzon. AH of^tbo covcnanti^
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 thft t 10326& baa failed to  comply  witii rqv enpliod obligation or covcaant hereof, this Iomo sh»E act bo lubjoct to cáaooIUtíoa for vay *uch causo «xcopk jtftor fln»l
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 in force and effect as to (1) sufficient acreage around each well as to v/hich thero are oparatiozu to constitute，drilling         for any caui^ it tMl acvorfholws remain
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                                                                                                                                          so retainer.
 如u\0¿ &heP^r^^                                                                で                          sU p«z30E3s \rHoxax0cver- Lcmox^j lights and Interests hereunder
                                                                                                          ifl^Sox on raid Innd, but lessor agre« that Iwseo shall Jiavo tho
 right at any time to pay or rtduco sarao tor lessor, cittier befoxo or after maturity» 抑d bo suDrog&ted to tho riîlits
 戴mounts so p^id from roynUio* or other pmyxnonts payable or which m*y hocom û p»yablo to lessor nzid/or «stlgni xuador of                   tiuj holder thereof rhd to dcdiict
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 gai, auTpîsur, or other mincnOs in *11 or any port of said land than the entire *ûd undivided foo «Imple' «tot^
                                                                                                                   :LS'
                                                                                              bc invalid or advoca* to lessor. If thw ¡coso covers * Ic« intcrot in tho_oil,
                                                                                                                              (wtethor 1c«。ビi iatorwt b heroin fpoc^iod or
 cot), or no iatorcjt therein, thon the royalties, and othor moneys accruing from any part as to which this loaso                covon las toan luch rull^ mtercj^ »h«ll bo
 fntetest covered by1^* lomso .(whether or not owned ëy lessor) sh^U bo paid ont of tbo loyalty bcrslzx provided. This
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 who executes it without regard to whctiicr it is executed by all thoso nacoed horein u lessor,
        II, If, while thxj Icojo ù in facco, at, or after the expiration of tie piîmaïy tena îxcreo^ it ii txot boins coAtlnucd
 well proviiioos of paragraph 3 horoofr and lessee is not conducting operation» on said land by tensón o£ Cl) any                            in force by xoason o£ tho «laut-ía
 not subwiciüeûtly deCermíBed to bo invalid) or (2) any other csuis«v wbother tiznilar or disimilar, (except nnaacial)law, order, nda or ropuatiOD. (wnethor or
 chd primtuy torro Lar«of shall be «^endod until tho Bist aiuilvo»*ry dato Hereof oocurrm^ ninoty (flO) or mor© dUiyi                 boyond 'the rwuonablo control of lessoo,
       cause, cod this 】0ti» may be extfindôd thereafter by oycrAtionf at if inch delay had sot occonr^d.                                following tho reajovtí of #uch delay㈣
        12. Within thirty (GO) days prior to the c?q>âraÜoTi of the primary term o£ this Icose, or i: opernti ons arc being conducted
 therewith nt the expiration of the primsuy term in such mernner as to                                                                              on raid
                                                                                                                                                       .      le      land pooled
                                                                                       this lease in force, within thixty (30) days Jiftcr the c:oroplc     _ tion of a dry hole
 r亡sultinp from such operations^ lessee may extend the primary term of this lease as to nil or any part of acreage Ûlcù covered                    hereby»
 (5) years beyond the initial prhmiry term, by written notíficntíon of fiction taken and by mnkini prtymont to lessor                                        for rh additfonal I
                                                                                                                                                                               five
 riectcd by notice to lessee pursuant to Pora«ntph 8 hereof, or to cho credit of lessor or wch                                        or to lessor’s xuccctuor In interest as
                                                                                                             XMCiccjsor in interest ia acy deposit oxy bank named herein
 in any ùmendtitory Instrintï ent in the sum of $.                                               r each net acre ns to wh：ich the lca5e is so extended. I£ this option is
 exercised by lessee, the lea:        extended will thirreafter he treated as if the origina] primiiry term bnd been five (5) yeiiis longer.




 IN WITNESS WHEREOF, this injtrument If executed on tho d&to flr«t *bovo writtea,




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                                                                                                                                                                                                .(SEAL)



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                                                                                  JOINT OR SINGLE ACKNOWLEDGMENT
                                                                                     (MISSISSrPPI-ALABAMA-FLOHIDA)
STATE OF

COUNTY OF

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(Affix Seal)


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STATE OF
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COUNTY OF

     I, a                                                                                           «nd for tho aforesaid imixdxctioa, Irexcby certify that


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ïubscribûac witncsi, où tho <iay the stuao bem                                                                                «nd in tbe proicac© o£ tho athar
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witness subscribed bis ñamo as a wâtûcsj ia Lis prcacuco.

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cop as
                                                                                                                   COPAS 2005 Accounting Procedure
                                                                                                                          Recommended by COPAS


                                                        ExhibitÍC C，，
                                                 ACCOUNTING PROCEDURE
                                                    JOINT OPERATIONS
      Attached to and made part of that certain Operating Agreement (Brcwton Prospect) dated January 23, 2015, by and between Sklar
  2   Exploration Company L.L.C., as Operator, and Sklarco L.L.C., ct al” as Non-Operator_____________                    _   _____
  3
  4
  5
  6                                                            I. GENERAL PROVISIONS

  8   IF THE PARTIES FAIL TO SELECT EITHER ONE OF COMPETING “ALTERNATIVE” PROVISIONS, OR SELECT ALL THE
  9   COMPETING “ALTERNATIVE” PROVISIONS, ALTERNATIVE 1 IN EACH SUCH INSTANCE SHALL BE DEEMED TO HAVE
 10   BEEN ADOPTED BY THE PARTIES AS A RESULT OF ANY SUCH OMISSION OR DUPLICATE NOTATION.
 11
 12   IN THE EVENT THAT ANY “OPTIONAL” PROVISION OF THIS ACCOUNTING PROCEDURE IS NOT ADOPTED BY THE
 13   PARTIES TO THE AGREEMENT BY A TYPED, PRINTED OR HANDWRITTEN INDICATION, SUCH PROVISION SHALL NOT
 14   FORMA PART OF THIS ACCOUNTING PROCEDURE, AND NO INFERENCE SHALL BE MADE CONCERNING THE INTENT
 15   OF THE PARTIES IN SUCH EVENT.
 16
 17        DEFINITIONS
 18
 19        All terms used in this Accounting Procedure shall have the following meaning, unless otherwise expressly defined in the Agreement:
 20
 21        “Affiliate” means for a person, another person that controls, is controlled by, or is under common control with that person. In this
 22        definition, (a) control means the ownership by one person, directly or indirectly, of more than fifty percent (50%) of the voting securities
 23        of a corporation or, for other persons, the equivalent ownership interest (such as partnership interests), and (b) “person’ means an
 24        individual, corporation, partnership, trust, estate, unincorporated organization, association, or other legal entity.
 25
 26        “Agreement” means the operating agreement farmout agreement, or other contract between the Parties to which this Accounting
 27        Procedure is attached.
 28
 29        “Controllable Material” means Material that, at the time of acquisition or disposition by the Joint Account, as applicable, is so classified
 30        in the Material Classification Manual most recently recommended by the Council of Petroleum Accountants Societies (COPAS).
 31
 32        “Equalized Freight” means the procedure of charging transportation cost to the Joint Account based upon the distance from the nearest
 33        Railway Receiving Point to the property.
 34
 35        “Excluded Amount” means a specified excluded trucking amount most recently recommended by COPAS.
 36
 37        “Field Office” means a structure, or portion of a structure, whether a temporary or permanent installation, the primary function of which is
 38        to directly serve daily operation and maintenance activities of the Joint Property and which serves as a staging area for directly chargeable
 39        field personnel.
 40
 41          First Level Supervision” means those employees whose primary function in Joint Operations is the direct oversight of the Operator’s
 42        field employees and/or contract labor directly employed On-site in a field operating capacity. First Level Supervision functions may
 43        include, but are not limited to:
 44
 45             • Responsibility for field employees and contract labor engaged in activities that can include field operations, maintenance.
 46               construction, well remedial work, equipment movement and drilling
 47             • Responsibility for day-to-day direct oversight of rig operations
 48             • Responsibility for day-to-day direct oversight of construction operations
 49             • Coordination ofjob priorities and approval of work procedures
 50             • Responsibility for optimal resource utilization (equipment. Materials, personnel)
 51             • Responsibility for meeting production and field operating expense targets
 52             • Representation of the Parties in local matters involving community，vendors, regulatory agents and landowners, as an incidental
 53                 part of the supervisor’s operating responsibilities
 54             •   Responsibility for all emergency responses with field staff
 55             •   Responsibility for implementing safety and environmental practices
 56             •   Responsibility for field adherence to company policy
 57             •   Responsibility for employment decisions and performance appraisals for field personnel
 58             •   Oversight of sub-groups for field functions such as electrical，safety, environmental, telecommunications, which may have group
 59                 or team leaders.
 60
 61        “Joint Account” means the account showing the charges paid and credits received in the conduct of the Joint Operations that are to be
 62        shared by the Parties, but does not include proceeds attributable to hydrocarbons and by-products produced under the Agreement.
 63
 64        “Joint Operations” means all operations necessary or proper for the exploration, appraisal, development, production, protection,
 65        maintenance，repair, abandonment, and restoration of the Joint Property.
 66




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           “Joint Property” means the real and personal property subject to the Agreement.
 2
 3         “Laws” means any laws, rules, regulations, decrees, and orders of the United States of America or any state thereof and all other
 4         governmental bodies, agencies，and other authorities having jurisdiction over or affecting the provisions contained in or the transactions
 5         contemplated by the Agreement or the Parlies and their operations, whether such laws now exist or are hereafter amended, enacted.
 6         promulgated or issued.

 8         “Material” means personal property，equipment, supplies, or consumables acquired or held for use by the Joint Property.
 9
 10        “Non-Operators” means the Parties to the Agreement other than the Operator.
 11
 12        “Offshore Facilities” means platforms, surface and subsea development and production systems，and other support systems such as oil and
 13        gas handling facilities, living quarters, offices，shops，cranes, electrical supply equipment and systems, fuel and water storage and piping，
 14        heliport, marine docking installations, communication facilities, navigation aids, and other similar facilities necessary in the conduct of
 15        offshore operations, all of which are located offshore.
 16
 17        “Off-site” means any location that is not considered On-site as defined in this Accounting Procedure.
 18
 19         On-site” means on the Joint Property when in direct conduct of Joint Operations. The term “On-site” shall also include that portion of
 20        Offshore Facilities，Shore Base Facilities, fabrication yards, and staging areas from which Joint Operations are conducted, or other
 21        facilities that directly control equipment on the Joint Property, regardless of whether such facilities are owned by the Joint Account
 22
 23        “Operator” means the Party designated pursuant to the Agreement to conduct the Joint Operations.
 24
 25        “Parties” means legal entities signatory to the Agreement or their successors and assigns. Parties shall be referred to individually as
 26        “Party”
 27
 28        “Participating Interest” means the percentage of the costs and risks of conducting an operation under the Agreement that a Party agrees,
 29        or is otherwise obligated, to pay and bear.
 30
 31        “Participating Party” means a Party that approves a proposed operation or otherwise agrees, or becomes liable, to pay and bear a share of
 32        the costs and risks of conducting an operation under the Agreement.
 33
 34        “Personal Expenses” means reimbursed costs for travel and temporary living expenses.
 35
 36        “Railway Receiving Point” means the railhead nearest the Joint Property for which freight rates are published，even though an actual
 37        railhead may not exist.
 38
 39        “Shore Base Facilities” means onshore support facilities that during Joint Operations provide such services to the Joint Property as a
 40        receiving and transshipment point for Materials; debarkation point for drilling and production personnel and services; communication,
 41        scheduling and dispatching center; and other associated functions serving the Joint Property.
 42
 43          Supply Store” means a recognized source or common stock point for a given Material item.
 44
 45        “Technical Services” means services providing specific engineering, geoscience, or other professional skills, such as those performed by
 46        engineers, geologists, geophysicists, and technicians, required to handle specific operating conditions and problems for the benefit of Joint
 47        Operations; provided, however. Technical Services shall not include those functions specifically identified as overhead under the second
 48        paragraph of the introduction of Section III (Overhead). Technical Services may be provided by the Operator, Operator’s Affiliate，Non-
 49        Operator, Non-Operator Affiliates, and/or third parties.
 50
 51   2.   STATEMENTS AND BILLINGS
 52
 53        The Operator shall bill Non-Operators on or before the last day of the month for their proportionate share of the Joint Account for the
 54        preceding month. Such bills shall be accompanied by statements that identify the AFE (authority for expenditure), lease or facility，and all
 55        charges and credits summarized by appropriate categories of investment and expense. Controllable Material shall be separately identified
 56        and fully described in detail, or at the Operator’s option. Controllable Material may be summarized by major Material classifications.
 57        Intangible drilling costs, audit adjustments, and unusual charges and credits shall be separately and clearly identified.
 58
 59        The Operator may make available to Non-Operators any statements and bills required under Section L2 and/or Section 1.3.A {Advances
 60        and Payments by the Parties) via email, electronic data interchange，internet websites or other equivalent electronic media in lieu of paper
 61        copies. The Operator shall provide the Non-Operators instructions and any necessary information to access and receive the statements and
 62        bills within the timeframes specified herein. A statement or billing shall be deemed as delivered twenty-four (24) hours (exclusive of
 63        weekends and holidays) after the Operator notifies the Non-Operator that the statement or billing is available on the website and/or sent via
 64        email or electronic data interchange transmission. Each Non-Operator individually shall elect to receive statements and billings
 65        electronically, if available from the Operator, or request paper copies. Such election may be changed upon thirty (30) days prior written
 66         notice to the Operator.




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      3.   ADVANCES AND PAYMENTS BY THE PARTIES

 2
           A.   Unless otherwise provided for in the Agreement, the Operator may require the Non-Operators to advance their share of the estimated
 3
                cash outlay for the succeeding month’s operations within fifteen (15) days after receipt of the advance request or by the first day of
 4
                the month for which the advance is required, whichever is later. The Operator shall adjust each monthly billing to reflect advances
 5
                received from the Non-Operators for such month. If a refund is due, the Operator shall apply the amount to be refunded to the
 6
                subsequent month’s billing or advance, unless the Non-Operator sends the Operator a written request for a cash refund. The Operator
                shall remit the refund to the Non-Operator within fifteen (15) days of receipt of such written request.
 8
 9
           B.   Except as provided below, each Party shall pay its proportionate share of all bills in full within fifteen (15) days of receipt date. If
 10
                payment is not made within such time, the unpaid balance shall bear interest compounded monthly at the prime rate published by the
 11
                Wall Street Journal on the first day of each month the payment is delinquent, plus three percent (3%), per annum, or the maximum
 12
                contract rate permitted by the applicable usury Laws governing the Joint Property, whichever is the lesser, plus attorney’s fees, court
 13
                costs, and other costs in connection with the collection of unpaid amounts. If the Wall Street Journal ceases to be published or
 14
                discontinues publishing a prime rate, the unpaid balance shall bear interest compounded monthly at the prime rate published by the
 15
                Federal Reserve plus three percent (3%), per annum. Interest shall begin accruing on the first day of the month in which the payment
 16
                was due. Payment shall not be reduced or delayed as a result of inquiries or anticipated credits unless the Operator has agreed.
 17
                Notwithstanding the foregoing, the Non-Operator may reduce payment, provided it furnishes documentation and explanation to the
 18
                Operator at the time payment is made, to the extent such reduction is caused by:
 19
 20
                (1)   being billed at an incorrect working interest or Participating Interest that is higher than such Non-Operator’s actual working
 21
                      interest or Participating Interest, as applicable; or
 22
                (2)   being billed for a project or AFE requiring approval of the Parties under the Agreement that the Non-Operator has not approved
 23
                      or is not otherwise obligated to pay under the Agreement; or
 24
                (3)   being billed for a property in which the Non-Operator no longer owns a working interest，provided the Non-Operator has
 25
                      furnished the Operator a copy of the recorded assignment or letter in-lieu. Notwithstanding the foregoing, the Non-Operator
 26
                      shall remain responsible for paying bills attributable to the interest it sold or transferred for any bills rendered during the thirty
 27
                      (30) day period following the Operator’s receipt of such written notice; or
 28
                (4)   charges outside the adjustment period, as provided in Section 1.4 {Adjustments).
 29
 30
      4.   ADJUSTMENTS
 31
 32
           A.   Payment of any such bills shall not prejudice the right of any Party to protest or question the correctness thereof; however, all bills
 33
                and statements，including payout statements, rendered during any calendar year shall conclusively be presumed to be true and correct,
 34
                with respect only to expenditures, after twenty-four (24) months following the end of any such calendar year, unless within said
 35
                period a Party takes specific detailed written exception thereto making a claim for adjustment. The Operator shall provide a response
 36
                to all written exceptions, whether or not contained in an audit report, within the time periods prescribed in Section 1.5 (Expenditure
 37
                Audits).
 38
 39
           B.   All adjustments initiated by the Operator, except those described in items (1) through (4) of this Section 1.4.B, are limited to the
 40
                twenty-four (24) month period following the end of the calendar year in which the original charge appeared or should have appeared
 41
                on the Operator’s Joint Account statement or payout statement. Adjustments that may be made beyond the twenty-four (24) month
 42
                period are limited to adjustments resulting from the following:
 43
 44
                (1)   a physical inventory of Controllable Material as provided for in Section V {Inventories of Controllable Material), or
 45
                (2)   an offsetting entry (whether in whole or in part) that is the direct result of a specific joint interest audit exception granted by the
 46
                      Operator relating to another property, or
 47
                (3)   a govemment/regulatory audit, or
 48
                (4)   a working interest ownership or Participating Interest adjustment.
 49
 50
      5.   EXPENDITURE AUDITS
 51
 52
           A.   A Non-Operator, upon written notice to the Operator and all other Non-Operators, shall have the right to audit the Operator’s
 53
                accounts and records relating to the Joint Account within the twenty-four (24) month period following the end of such calendar year in
 54
                which such bill was rendered; however, conducting an audit shall not extend the time for the taking of written exception to and the
 55
                adjustment of accounts as provided for in Section 1.4 (Adjustments). Any Party that is subject to payout accounting under the
 56
                Agreement shall have the right to audit the accounts and records of the Party responsible for preparing the payout statements, or of
 57
                the Party furnishing information to the Party responsible for preparing payout statements. Audits of payout accounts may include the
 58
                volumes of hydrocarbons produced and saved and proceeds received for such hydrocarbons as they pertain to payout accounting
 59
                required under the Agreement. Unless otherwise provided in the Agreement, audits of a payout account shall be conducted within the
 60
                twenty-four (24) month period following the end of the calendar year in which the payout statement was rendered.
 61
 62
                Where there are two or more Non-Operators, the Non-Operators shall make every reasonable effort to conduct a joint audit in a
 63
                manner that will result in a minimum of inconvenience to the Operator. The Operator shall bear no portion of the Non-Operators’
 64
                audit cost incurred under this paragraph unless agreed to by the Operator. The audits shall not be conducted more than once each year
 65
                without prior approval of the Operator, except upon the resignation or removal of the Operator, and shall be made at the expense of
 66




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cop as
                those Non-Operators approving such audit.

 2
                The Non-Operator leading the audit (hereinafter “lead audit company”)shall issue the audit report within ninety (90) days after
 3
                completion of the audit testing and analysis; however, the ninety (90) day time period shall not extend the twenty-four (24) month
 4
                requirement for taking specific detailed written exception as required in Section I.4.A {Adjustments) above. All claims shall be
 5
                supported with sufficient documentation.
 6
 7
                A timely filed written exception or audit report containing written exceptions (hereinafter ‘"written exceptions”)shall, with respect to
  8
                the claims made therein, preclude the Operator from asserting a statute of limitations defense against such claims, and the Operator
  9
                hereby waives its right to assert any statute of limitations defense against such claims for so long as any Non-Operator continues to
 10
                comply with the deadlines for resolving exceptions provided in this Accounting Procedure. If the Non-Operators fail to comply with
 11
                the additional deadlines in Section I.5.B or 1.5.C, the Operator’s waiver of its rights to assert a statute of limitations defense against
 12
                the claims brought by the Non-Operators shall lapse, and such claims shall then be subject to the applicable statute of limitations,
 13
                provided that such waiver shall not lapse in the event that the Operator has failed to comply with the deadlines in Section 1.5.B or
 14
                I.5.C.
 15
 16
           B.   The Operator shall provide a written response to all exceptions in an audit repon within one hundred eighty (180) days after Operator
 17
                receives such report. Denied exceptions should be accompanied by a substantive response. If the Operator fails to provide substantive
 18
                response to an exception within this one hundred eighty (180) day period, the Operator will owe interest on that exception or portion
 19
                thereof, if ultimately granted, from the date it received the audit report. Interest shall be calculated using the rate set forth in Section
 20
                1.3.B (Advances and Payments by the Parties).
 21
 22
           C.   The lead audit company shall reply to the Operator’s response to an audit report within ninety (90) days of receipt, and the Operator
 23
                shall reply to the lead audit company’s follow-up response within ninety (90) days of receipt; provided, however, each Non-Operator
 24
                shall have the right to represent itself if it disagrees with the lead audit company’s position or believes the lead audit company is not
 25
                adequately fiilfílling its duties. Unless otherwise provided for in Section I.5.E, if the Operator fails to provide substantive response
 26
                to an exception within this ninety (90) day period, the Operator will owe interest on that exception or portion thereof, if ultimately
 27
                granted, from the date it received the audit report. Interest shall be calculated using the rate set forth in Section 1.3.B (Advances and
 28
                Payments by the Parties).
 29
 30
           D.   If any Party fails to meet the deadlines in Sections 1.5.B or 1.5.C or if any audit issues are outstanding fifteen (15) months after
 31
                Operator receives the audit report, the Operator or any Non-Operator participating in the audit has the right to call a resolution
 32
                meeting, as set forth in this Section 1.5.D or it may invoke the dispute resolution procedures included in the Agreement, if applicable.
 33
                The meeting will require one month’s written notice to the Operator and all Non-Operators participating in the audit. The meeting
 34
                shall be held at the Operator’s office or mutually agreed location, and shall be attended by representatives of the Parties with
 35
                authority to resolve such outstanding issues. Any Party who fails to attend the resolution meeting shall be bound by any resolution
 36
                reached at the meeting. The lead audit company will make good faith efforts to coordinate the response and positions of the
 37
                Non-Operator participants throughout the resolution process; however，each Non-Operator shall have the right to represent itself.
 38
                Attendees will make good faith efforts to resolve outstanding issues, and each Party will be required to present substantive information
 39
                supporting its position. A resolution meeting may be held as often as agreed to by the Parties. Issues unresolved at one meeting may
 40
                be discussed at subsequent meetings until each such issue is resolved.
 41
 42
                If the Agreement contains no dispute resolution procedures and the audit issues cannot be resolved by negotiation, the dispute shall
 43
                be submitted to mediation. In such event，promptly following one Party’s written request for mediation, the Parties to the dispute
 44
                shall choose a mutually acceptable mediator and share the costs of mediation services equally. The Parties shall each have present
 45
                at the mediation at least one individual who has the authority to settle the dispute. The Parties shall make reasonable efforts to
 46
                ensure that the mediation commences within sixty (60) days of the date of the mediation request. Notwithstanding the above，any
 47
                Party may file a lawsuit or complaint (1) if the Parties are unable after reasonable efforts, to commence mediation within sixty (60)
 48
                days of the date of the mediation request, (2) for statute of limitations reasons, or (3) to seek a preliminary injunction or other
 49
                provisional judicial relief, if in its sole judgment an injunction or other provisional relief is necessary to avoid irreparable damage or
 50
                to preserve the status quo. Despite such action, the Parties shall continue to try to resolve the dispute by mediation.
 51
 52
           E,   D (Optional Provision - Forfeiture Penalties)
 53
                If the Non-Operators fail to meet the deadline in Section I.5.C, any unresolved exceptions that were not addressed by the Non-
 54
                Operators within one (1) year following receipt of the last substantive response of the Operator shall be deemed to have been
 55
                withdrawn by the Non-Operators. If the Operator fails to meet the deadlines in Section I.5.B or 1.5.C, any unresolved exceptions that
 56
                were not addressed by the Operator within one (1) yearfollowing receipt of the audit report or receipt of the ¡así substantive response
 57
                of the Non-Operators, whichever is later, shall be deemed to have been granted by the Operator and adjustments shall be made,
 58
                without interest, to the joint Account.
 59
 60
      6.   APPROVAL BY PARTIES
 61
 62
           A.    GENERAL MATTERS
 63
 64
                 Where an approval or other agreement of the Parties or Non-Operators is expressly required under other Sections of this Accounting
 65
                 Procedure and if the Agreement to which this Accounting Procedure is attached contains no contrary provisions in regard thereto, the
 66




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                 Operator shall notify all Non-Operators of the Operator’s proposal and the agreement or approval of a majority in interest of the
                 Non-Operators shall be controlling on all Non-Operators.
 2
 3
                 This Section I.6.A applies to specific situations of limited duration where a Party proposes to change the accounting for charges from
 4
                 that prescribed in this Accounting Procedure. This provision does not apply to amendments to this Accounting Procedure, which are
 5
                 covered by Section 1.6.B.
 6
  7
           B.    AMENDMENTS
  8
  9
                 If the Agreement to which this Accounting Procedure is attached contains no contrary provisions in regard thereto, this Accounting
 10
                 Procedure can be amended by an affirmative vote of                                __ ) or more Parties, one of which is the Operator,
 11
                 having a combined working interest of at least____                   percent C    .%), which approval shall be binding on all Parties,
 12
                 provided, however, approval of at least one ( 1 ) Non-Operator shall be required.
 13
 14
           C.    AFFILIATES
 15
 16
                 For the purpose of administering the voting procedures of Sections I.6.A and 1.6.B, if Parties to this Agreement are Affiliates of each
 17
                 other, then such Affiliates shall be combined and treated as a single Party having the combined working interest or Participating
 18
                 Interest of such Affiliates.
 19
 20
                 For the purposes of administering the voting procedures in Section 1.6.A, if a Non-Operator is an Affiliate of the Operator, votes
 21
                 under Section I.6.A shall require the majority in interest of the Non-Operator(s) after excluding the interest of the Operator’s
 22
                 Affiliate.
 23
 24
                                                                   II. DIRECT CHARGES
 25
 26
      The Operator shall charge the Joint Account with the following items:
 27
 28
           RENTALS AND ROYALTIES
 29
 30
           Lease rentals and royalties paid by the Operator, on behalf of all Parties, for the Joint Operations.
 31
 32
      2.   LABOR
 33
 34
           A.    Salaries and wages, including incentive compensation programs as set forth in COPAS MFI-37 (“Chargeability of Incentive
 35
                 Compensation Programs’’)，for:
 36
 37
                 (1 )   Operator’s field employees directly employed On-site in the conduct of Joint Operations,
 38
 39
                 (2)    Operator’s employees directly employed on Shore Base Facilities, Offshore Facilities, or other facilities serving the Joint
 40
                        Property if such costs are not charged under Section 11.6 (Equipment and Facilities Furnished by Operator) or are not a
 41
                        function covered under Section III (Overhead),
 42
 43
                 (3)    Operator’s employees providing First Level Supervision,
 44
 45
                 (4)    Operator’s employees providing On-site Technical Services for the Joint Property if such charges are excluded from the
 46
                        overhead rates in Section III (Overhead),
 47
 48
                 (5)    Operator’s employees providing Off-site Technical Services for the Joint Property if such charges are excluded from the
 49
                        overhead rates in Section HI (Overhead).
 50
 51
                 Charges for the Operator’s employees identified in Section 11.2.A may be made based on the employee’s actual salaries and wages,
 52
                 or in lieu thereof, a day rate representing the Operator’s average salaries and wages of the employee’s specific job category.
 53
 54
                 Charges for personnel chargeable under this Section 11.2.A who are foreign nationals shall not exceed comparable compensation paid
 55
                 to an equivalent U.S. employee pursuant to this Section 11.2，unless otherwise approved by the Parties pursuant to Section
 56
                 1.6.A (General Matters).
 57
 58
            B.    Operator’s cost of holiday, vacation, sickness, and disability benefits, and other customary allowances paid to employees whose
 59
                  salaries and wages are chargeable to the Joint Account under Section 11.2.A，excluding severance payments or other termination
 60
                  allowances. Such costs under this Section II.2.B may be charged on a “when and as-paid basis” or by “percentage assessment” on the
 61
                  amount of salaries and wages chargeable to the Joint Account under Section Ü.2.A. If percentage assessment is used, the rate shall
 62
                  be based on the Operator’s cost experience.
 63
 64
            C.    Expenditures or contributions made pursuant to assessments imposed by governmental authority that are applicable to costs
 65
                  chargeable to the Joint Account under Sections II.2.A and B.
 66




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           D.   Personal Expenses of personnel whose salaries and wages are chargeable to the Joint Account under Section 11.2.A when the
                expenses are incurred in connection with directly chargeable activities.
 2
 3
           E.   Reasonable relocation costs incurred in transferring to the Joint Property personnel whose salaries and wages are chargeable to the
 4
                Joint Account under Section 11.2.A. Notwithstanding the foregoing, relocation costs that result from reorganization or merger of a
  5
                Party, or that are for the primary benefit of the Operator, shall not be chargeable to the Joint Account. Extraordinary relocation
  6
                costs, such as those incurred as a result of transfers from remote locations, such as Alaska or overseas, shall not be charged to the
  7
                Joint Account unless approved by the Parties pursuant to Section I.6.A (General Matters).
  8
  9
           F.   Training costs as specified in COPAS MFI-35 (“Charging of Training Costs to the Joint Account”)for personnel whose salaries and
 10
                wages are chargeable under Section 11.2.A. This training charge shall include the wages, salaries, training course cost, and Personal
 11
                Expenses incurred during the training session. The training cost shall be charged or allocated to the property or properties directly
 12
                benefiting from the training. The cost of the training course shall not exceed prevailing commercial rates, where such rates are
 13
                available.
 14
 15
           G.   Operator’s current cost of established plans for employee benefits, as described in COPAS MFI-27 (“Employee Benefits Chargeable
 16
                to Joint Operations and Subject to Percentage Limitation”)，applicable to the Operator’s labor costs chargeable to the Joint Account
 17
                under Sections II.2.A and B based on the Operator’s actual cost not to exceed the employee benefits limitation percentage most
 18
                recently recommended by COPAS.
 19
 20
           H.   Award payments to employees，in accordance with COPAS MFI-49 (“Awards to Employees and Contractors”)for personnel whose
 21
                salaries and wages are chargeable under Section II.2.A.
 22
 23
      3.   MATERIAL
 24
 25
           Material purchased or furnished by the Operator for use on the Joint Property in the conduct of Joint Operations as provided under Section
 26
           IV (Material Purchases, Transfers, and Dispositions). Only such Material shall be purchased for or transferred to the Joint Property as
 27
           may be required for immediate use or is reasonably practical and consistent with efficient and economical operations. The accumulation
 28
           of surplus stocks shall be avoided.
 29
 30
      4.   TRANSPORTATION
 31
 32
           A.   Transportation of the Operator’s，Operator’s Affiliate’s, or contractor’s personnel necessary for Joint Operations.
 33
 34
           B.   Transportation of Material between the Joint Property and another property, or from the Operator’s warehouse or other storage point
 35
                to the Joint Property, shall be charged to the receiving property using one of the methods listed below. Transportation of Material
 36
                from the Joint Property to the Operator’s warehouse or other storage point shall be paid for by the Joint Property using one of the
 37
                methods listed below:
 38
 39
                (1)   If the actual trucking charge is less than or equal to the Excluded Amount the Operator may charge actual trucking cost or a
 40
                      theoretical charge from the Railway Receiving Point to the Joint Property. The basis for the theoretical charge is the per
 41
                      hundred weight charge plus ftiel surcharges from the Railway Receiving Point to the Joint Property.. The Operator shall
 42
                      consistently apply the selected alternative.
 43
 44
                (2)   If the actual trucking charge is greater than the Excluded Amount, the Operator shall charge Equalized Freight. Accessorial
 45
                      charges such as loading and unloading costs，split pick-up costs，detention, call out charges, and permit fees shall be charged
 46
                      directly to the Joint Property and shall not be included when calculating the Equalized Freight.
 47
 48
      5.   SERVICES
 49
 50
           The cost of contract services, equipment, and utilities used in the conduct of Joint Operations，except for contract services, equipment，and
 51
           utilities covered by Section III (Overhead), or Section 11.7 {Affiliates), or excluded under Section EL9 {Legal Expense). Awards paid to
 52
           contractors shall be chargeable pursuant to COPAS MFI-49 (“Awards to Employees and Contractors”).
 53
 54
           The costs of third party Technical Services are chargeable to the extent excluded from the overhead rates under Section III (Overhead).
 55
 56
      6.   EQUIPMENT AND FACILITIES FURNISHED BY OPERATOR
 57
 58
           In the absence of a separately negotiated agreement, equipment and facilities furnished by the Operator will be charged as follows:
 59
 60
           A.   The Operator shall charge the Joint Account for use of Operator-owned equipment and facilities, including but not limited to
 61
                production facilities，Shore Base Facilities, Offshore Facilities, and Field Offices, at rates commensurate with the costs of ownership
 62
                and operation. The cost of Field Offices shall be chargeable to the extent the Field Offices provide direct service to personnel who
 63
                are chargeable pursuant to Section Ü.2.A {Labor). Such rates may include labor，maintenance，repairs，other operating expense,
 64
                insurance, taxes, depreciation using straight line depreciation method, and interest on gross investment less accumulated depreciation
 65
                not to exceed                      percent (_            .%) per annum; provided, however, depreciation shall not be charged when the
 66




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                equipment and facilities investment have been fully depreciated. The rate may include an element of the estimated cost for
                abandonment, reclamation, and dismantlement. Such rates shall not exceed the average commercial rates currently prevailing in the
 2
                immediate area of the Joint Property.
 3
 4
           B.   In lieu of charges in Section 11.6. A above, the Operator may elect to use average commercial rates prevailing in the immediate area
  5
                of the Joint Property, less twenty percent (20%). If equipment and facilities are charged under this Section 11.6.B, the Operator shall
 6
                adequately document and support commercial rates and shall periodically review and update the rate and the supporting
                documentation. For automotive equipment, the Operator may elect to use rates published by the Petroleum Motor Transport
  8
                Association (PMTA) or such other organization recognized by COPAS as the official source of rates.
  9
 10
      7.   AFFILIATES
 11
 12
           A.   Charges for an Affiliate’s goods and/or services used in operations requiring an AFE or other authorization from the Non-Operators
 13
                may be made without the approval of the Parties provided (i) the Affiliate is identified and the Affiliate goods and services are
 14
                specifically detailed in the approved AFE or other authorization, and (ii) the total costs for such Affiliate’s goods and services billed
 15
                to such individual project do not exceed $.                        If the total costs for an Affiliate’s goods and services charged to such
 16
                individual project   are not  specifically detailed in the approved  AFE or authorization or exceed such amount charges for such
 17
                Affiliate shall require approval of the Parties, pursuant to Section 1.6. A (General Matters).
 18
 19
           B.   For an Affiliate’s goods and/or services used in operations not requiring an APE or other authorization from the Non-Operators,
 20
                charges for such Affiliate’s goods and services shall require approval of the Parties，pursuant to Section 1.6. A {General Matters), if the
 21
                charges exceed $•                       in a given calendar year.
 22
 23
           C.   The cost of the Affiliate’s goods or services shall not exceed average commercial rates prevailing in the area of the Joint Property,
 24
                unless the Operator obtains the Non-Operators’ approval of such rates. The Operator shall adequately document and support
 25
                commercial rates and shall periodically review and update the rate and the supporting documentation; provided, however,
 26
                documentation of commercial rates shall not be required if the Operator obtains Non-Operator approval of its Affiliate’s rates or
 27
                charges prior to billing Non-Operators for such Affiliate’s goods and services. Notwithstanding the foregoing, direct charges for
 28
                Affiliate-owned communication facilities or systems shall be made pursuant to Section 11.12 {Communications).
 29
 30
                If the Parties fail to designate an amount in Sections 11.7. A or ÏI.7.B, in each instance the amount deemed adopted by the Parties as a
 31
                result of such omission shall be the amount established as the Operator’s expenditure limitation in the Agreement. If the Agreement
 32
                does not contain an Operator’s expenditure limitation, the amount deemed adopted by the Parties as a result of such omission shall be
 33
                zero dollars ($ 0.00).
 34
 35
      8.   DAMAGES AND LOSSES TO JOINT PROPERTY
 36
 37
           All costs or expenses necessary for the repair or replacement of Joint Property resulting from damages or losses incurred, except to the
 38
           extent such damages or losses result from a Party’s or Parties’ gross negligence or willful misconduct in which case such Party or Parties
 39
           shall be solely liable.
 40
 41
           The Operator shall furnish the Non-Operator written notice of damages or losses incurred as soon as practicable after a report has been
 42
           received by the Operator.
 43
 44
      9.   LEGAL EXPENSE
 45
 46
           Recording fees and costs of handling, settling, or otherwise discharging litigation, claims, and liens incurred in or resulting from
 47
           operations under the Agreement, or necessary to protect or recover the Joint Property, to the extent permitted under the Agreement. Costs
 48
           of the Operator’s or Affiliate’s legal staff or outside attorneys, including fees and expenses, are not chargeable unless approved by the
 49
           Parties pursuant to Section 1.6.A (General Matters) or otherwise provided for in the Agreement.
 50
 51
           Notwithstanding the foregoing paragraph, costs for procuring abstracts, fees paid to outside attorneys for title examinations (including
 52
           preliminary, supplemental, shut-in royalty opinions，division order title opinions), and curative work shall be chargeable to the extent
 53
           permitted as a direct charge in the Agreement.
 54
 55
 56
       10. TAXES AND PERMITS
 57
 58
           All taxes and permitting fees of every kind and nature, assessed or levied upon or in connection with the Joint Property, or the production
 59
           therefrom, and which have been paid by the Operator for the benefit of the Parties, including penalties and interest, except to the extent the
 60
           penalties and interest result from the Operator’s gross negligence or willful misconduct.
 61
 62
           If ad valorem taxes paid by the Operator are based in whole or in part upon separate valuations of each Party’s working interest, then
 63
           notwithstanding any contrary provisions，the charges to the Parties will be made in accordance with the tax value generated by each Party’s
 64
           working interest.
 65
 66




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            Costs of tax consultants or advisors, the Operator’s employees, or Operator’s Affiliate employees in matters regarding ad valorem or other
            tax matters, are not permitted as direct charges unless approved by the Parties pursuant to Section 1.6. A (General Matters).
 2
  3
            Charges to the Joint Account resulting from sales/use tax audits, including extrapolated amounts and penalties and interest, are permitted,
  4
            provided the Non-Operator shall be allowed to review the invoices and other underlying source documents which served as the basis for
  5
            tax charges and to determine that the correct amount of taxes were charged to the Joint Account. If the Non-Operator is not permitted to
  6
            review such documentation, the sales/use tax amount shall not be directly charged unless the Operator can conclusively document the
            amount owed by the Joint Account.
  8
  9
      11.   INSURANCE
 10
 11
            Net premiums paid for insurance required to be carried for Joint Operations for the protection of the Parties. If Joint Operations are
 12
            conducted at locations where the Operator acts as self-insurer in regard to its worker’s compensation and employer’s liability insurance
 13
            obligation, the Operator shall charge the Joint Account manual rates for the risk assumed in its self-insurance program as regulated by the
 14
            jurisdiction governing the Joint Property. In the case of offshore operations in federal waters, the manual rates of the adjacent state shall be
 15
             used for personnel performing work On-site, and such rates shall be adjusted for offshore operations by the U.S. Longshoreman and
 16
            Harbor Workers (USL&H) or Jones Act surcharge, as appropriate.
 17
 18
      12.   COMMUNICATIONS
 19
 20
            Costs of acquiring, leasing, installing, operating, repairing, and maintaining communication facilities or systems, including satellite, radio
 21
            and microwave facilities, between the Joint Property and the Operator’s office(s) directly responsible for field operations in accordance
 22
            with the provisions of COPAS MFI-44 (“Field Computer and Communication Systems”). If the communications facilities or systems
 23
            serving the Joint Property are Operator-owned, charges to the Joint Account shall be made as provided in Section 11.6 {Equipment and
 24
            Facilities Furnished by Operator). If the communication facilities or systems serving the Joint Property are owned by the Operator’s
 25
            Affiliate, charges to the Joint Account shall not exceed average commercial rates prevailing in the area of the Joint Property. The Operator
 26
            shall adequately document and support commercial rates and shall periodically review and update the rate and the supporting
 27
            documentation.
 28
 29
      13.   ECOLOGICAL, ENVIRONMENTAL, AND SAFETY
 30
 31
            Costs incurred for Technical Services and drafting to comply with ecological, environmental and safety Laws or standards recommended by
 32
            Occupational Safety and Health Administration (OSHA) or other regulatory authorities. All other labor and functions incurred for
 33
            ecological，environmental and safety matters, including management, administration, and permitting, shall be covered by Sections 11.2
 34
            (Labor), 11.5 (Services)^ or Section III (Overhead), as applicable.
 35
 36
            Costs to provide or have available pollution containment and removal equipment plus actual costs of control and cleanup and resulting
 37
            responsibilities of oil and other spills as well as discharges from permitted outfalls as required by applicable Laws, or other pollution
 38
            containment and removal equipment deemed appropriate by the Operator for prudent operations, are directly chargeable.
 39
 40
      14. ABANDONMENT AND RECLAMATION
 41
 42
            Costs incurred for abandonment and reclamation of the Joint Property, including costs required by lease agreements or by Laws.
 43
 44
      15.   OTHER EXPENDITURES
 45
 46
            Any other expenditure not covered or dealt with in the foregoing provisions of this Section II (Direct Charges), or in Section HI
 47
            (Overhead) and which is of direct benefit to the Joint Property and is incurred by the Operator in the necessary and proper conduct of the
 48
            Joint Operations. Charges made under this Section 11.15 shall require approval of the Parties, pursuant to Section 1.6. A {General Matters).
 49
 50
 51
                                                                        III. OVERHEAD
 52
 53
      As compensation for costs not specifically identified as chargeable to the Joint Account pursuant to Section II {Direct Charges), the Operator
 54
      shall charge the Joint Account in accordance with this Section III.
 55
 56
      Functions included in the overhead rates regardless of whether performed by the Operator, Operator’s Affiliates or third parties and regardless
 57
      of location, shall include，but not be limited to, costs and expenses of:
 58
 59
               •   warehousing, other than for warehouses that are jointly owned under this Agreement
 60
               •   design and drafting (except when allowed as a direct charge under Sections 11.13,111.1. A(ii)，and 111.2, Option B)
 61
               •   inventory costs not chargeable under Section V (Inventories of Controllable Material)
 62
               •   procurement
 63
               •   administration
 64
               •   accounting and auditing
 65
               •   gas dispatching and gas chart integration
 66




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                •   human resources
                •   management
 2
                •   supervision not directly charged under Section 11.2 (Labor)
 3
                •   legal services not directly chargeable under Section 11.9 (Legal Expense)
 4
                •   taxation, other than those costs identified as directly chargeable under Section 11.10 {Taxes and Permits)
 5
                •   preparation and monitoring of permits and certifications; preparing regulatory reports; appearances before or meetings with
 6
                    governmental agencies or other authorities having jurisdiction over the Joint Property, other than On-site inspections; reviewing,
 7
                    interpreting, or submitting comments on or lobbying with respect to Laws or proposed Laws.
 8
  9
      Overhead charges shall include the salaries or wages plus applicable payroll burdens，benefits, and Personal Expenses of personnel performing
 10
      overhead functions, as well as office and other related expenses of overhead functions.
 11
 12
      1.   OVERHEAD—DRILLING AND PRODUCING OPERATIONS
 13
 14
           As compensation for costs incurred but not chargeable under Section II (Direct Charges) and not covered by other provisions of this
 15
           Section III, the Operator shall charge on either:
 16
 17
                    0     (Alternative 1) Fixed Rate Basis, Section 111.1.B.
 18
                    D     (Alternative 2) Percentage Basis, Section IIL1.C.
 19
 20
           A.       TECHNICAL SERVICES
 21
 22
                    (i)   Except as otherwise provided in Section 11.13 {Ecological Environmental, and Safety) and Section 111.2 (Overhead - Major
 23
                          Construction and catastrophe), or by approval of the Parties pursuant to Section I.6.A {General Matters), the salaries, wages,
 24
                          related payroll burdens and benefits，and Personal Expenses for On-site Technical Services, including third party Technical
 25
                          Services:
 26
 27
                          0 (Alternative 1 - Direct) shall be charged direct to the Joint Account.
 28
 29
                          口    (Alternative 2 - Overhead) shall be covered by the overhead rates.
 30
 31
                    (ii) Except as otherwise provided in Section 11.13 {Ecological. Environmental, and Safety) and Section 111.2 (Overhead — Major
 32
                         Construction and Catastrophe), or by approval of the Parties pursuant to Section I.6.A {General Matters), the salaries, wages，
 33
                         related payroll burdens and benefits, and Personal Expenses for Off-site Technical Services, including third party Technical
 34
                          Services:
 35
 36
                          口    (Alternative 1 - AH Overhead) shall be covered by the overhead rates.
 37
 38
                          0    (Alternative 2 - All Direct) shall be charged direct to the Joint Account.
 39
 40
                          □    (Alternative 3 - Drilling Direct) shall be charged direct to the Joint Account, only to the extent such Technical Services
 41
                               are directly attributable to drilling, redrilling, deepening, or sidetracking operations, through completion, temporary
 42
                               abandonment, or abandonment if a dry hole. Off-site Technical Services for all other operations, including workover,
 43
                               recompletion, abandonment of producing wells，and the construction or expansion oí rixed assets not covered by Section
 44
                               111.2 (Overhead - Major Construction and Catastrophe) shall be covered by the overhead rates.
 45
 46
           Notwithstanding anything to the contrary in this Section III，Technical Services provided by Operator’s Affiliates are subject to limitations
 47
           set forth in Section 11.7 (Affiliates). Charges for Technical personnel performing non-technical work shall not be governed by this Section
 48
           111.1 .A, but instead governed by other provisions of this Accounting Procedure relating to the type of work being performed.
 49
 50
      B.    OVERHEAD—FIXED RATE BASIS
 51
 52
            (1)     The Operator shall charge the Joint Account at the following rates per well per month:
 53
 54
                    Drilling Well Rate per month S 12.000.00               (prorated for less than a full month)
 55
 56
                     Producing Well Rate per month S 1,200.00
 57
 58
            (2)     Application of Overhead—Drilling Well Rate shall be as follows:
 59
 60
                    (a)   Charges for onshore drilling wells shall begin on the spud date and terminate on the date the drilling and/or completion
 61
                          equipment used on the well is released，whichever occurs later. Charges for offshore and inland waters drilling wells shall
 62
                          begin on the date the drilling or completion equipment arrives on location and terminate on the date the drilling or completion
 63
                          equipment moves off location, or is released, whichever occurs first. No charge shall be made during suspension of drilling
 64
                          and/or completion operations for fifteen (15) or more consecutive calendar days.
 65
 66




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                 (b)   Charges for any well undergoing any type of workover, recompletion, and/or abandonment for a period of five (5) or more
                       consecutive work-days shall be made at the Drilling Well Rate. Such charges shall be applied for the period from date
 2
                       operations, with rig or other units used in operations, commence through date of rig or other unit release, except that no charges
 3
                       shall be made during suspension of operations for fifteen (15) or more consecutive calendar days.
 4
 5
           (3) Application of Overhead—Producing Well Rate shall be as follows:
 6
 7
                 (a)   An active well that is produced, injected into for recovery or disposal, or used to obtain water supply to support operations for
 8
                       any portion of the month shall be considered as a one-well charge for the entire month.
 9
 10
                 (b)   Each active completion in a multi-completed well shall be considered as a one-well charge provided each completion is
 11
                       considered a separate well by the governing regulatory authority.
 12
 13
                 (c)   A one-well charge shall be made for the month in which plugging and abandonment operations are completed on any well,
 14
                       unless the Drilling Well Rate applies, as provided in Sections III.l.B.(2)(a) or (b). This one-well charge shall be made whether
 15
                       or not the well has produced.
 16
 17
                 (d)   An active gas well shut in because of overproduction or failure of a purchaser, processor, or transporter to take production shall
 18
                       be considered as a one-well charge provided the gas well is directly connected to a permanent sales outlet.
 19
 20
                 (e)   Any well not meeting the criteria set fortn in Sections 111.1.B.(3) (a), (b), (c)，or (d) shall not qualify for a producing overhead
 21
                       charge.
 22
 23
           (4) The well rates shall be adjusted on the first day of April each year following the effective date of the Agreement; provided,
 24
                 however, if this Accounting Procedure is attached to or otherwise governing the payout accounting under a farm out agreement, the
 25
                 rates shall be adjusted on the first day of April each year following the effective date of such farmout agreement. The adjustment
 26
                 shall be computed by applying the adjustment factor most recently published by COPAS. The adjusted rates shall be the initial or
 27
                 amended rates agreed to by the Parties increased or decreased by the adjustment factor described herein，for each year from the
 28
                 effective date of such rates, in accordance with COPAS MFI-47 (“Adjustment of Overhead Rates”).
 29
 30
      C.   OVERHEAD—PERCENTAGE BASIS
 31
 32
 33
           ⑴ Operator shall charge the Joint Account at the following rates:
 34
                 (a)   Development Rate                         percent (_____ ) % of the cost of development of the Joint Property, exclusive of costs
 35
                       provided under Section 11.9 (Legal Expense) and all Material salvage credits.
 36
 37
                 (b)   Operating Rate                           percent (_       .%) of the cost of operating the Joint Property, exclusive of costs
 38
                       provided under Sections 11.1 {Rentals and Royalties) and 11.9 (Legal Expense)', all Material salvage credits; the value
 39
                       of substances purchased for enhanced recovery; all property and ad valorem taxes, and any other taxes and assessments that
 40
                       are levied, assessed, and paid upon the mineral interest in and to the Joint Property.
 41
 42
           (2)   Application of Overhead—Percentage Basis shall be as follows:
 43
 44
                 (a)   The Development Rate shall be applied to all costs in connection with:
 45
 46
                       [i]     drilling, redrilling, sidetracking, or deepening of a well
 47
                       [ii]    a well undergoing plugback or workover operations for a period of five (5) or more consecutive work-days
 48
                       [iii]   preliminary expenditures necessary in preparation for drilling
 49
                       [iv]    expenditures incurred in abandoning when the well is not completed as a producer
 50
                       [V]     construction or installation of fixed assets, the expansion of fixed assets and any other project clearly discernible as a
 51
                               fixed asset, other than Major Construction or Catastrophe as defined in Section 111.2 (Overhead-Major Construction
 52
                               and Catastrophe).
 53
 54
                 (b)   The Operating Rate shall be applied to all other costs in connection with Joint Operations, except those subject to Section 111.2
 55
                       {Overhead-Major Construction and Catastrophe).
 56
 57
      2.   OVERHEAD—MAJOR CONSTRUCTION AND CATASTROPHE
 58
 59
           To compensate the Operator for overhead costs incurred in connection with a Major Construction project or Catastrophe, the Operator
 60
           shall either negotiate a rate prior to the beginning of the project or shall charge the Joint Account for overhead based on the following
 61
           rates for any Major Construction project in excess of the Operator’s expenditure limit under the Agreement, or for any Catastrophe
 62
           regardless of the amount. If the Agreement to which this Accounting Procedure is attached does not contain an expenditure limit. Major
 63
           Construction Overhead shall be assessed for any single Major Construction project costing in excess of $100,000 çross.
 64
 65
 66




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           Major Construction shall mean the construction and installation of fixed assets, the expansion of fixed assets, and any other project clearly
           discernible as a fixed asset required for the development and operation of the Joint Property, or in the dismantlement, abandonment,
 2
           removal, and restoration of platforms, production equipment, and other operating facilities.
 3
 4
           Catastrophe is defined as a sudden calamitous event bringing damage, loss, or destruction to property or the environment, such as an oil
 5
           spill, blowout, explosion, fire, storm, hurricane, or other disaster. The overhead rate shall be applied to those costs necessary to restore the
 6
           Joint Property to the equivalent condition that existed prior to the event.
 7
 8
           A.    If the Operator absorbs the engineering, design and drafting costs related to the project:
  9
 10
 11
                 ⑴          5       % of total costs if such costs are less than $100,000; plus

 12
                 (2)        2       % of total costs in excess of $100,000 but less than $1，000,000; plus
 13
 14
                 (3)                % of total costs in excess of $ I，000,000.
 15
 16
           B.    If the Operator charges engineering，design and drafting costs related to the project directly to the Joint Account:
 17
 18
 19
                 ⑴          5       .% of total costs if such costs are less than $100,000; plus

 20
                 (2)        2       _% of total costs in excess of $ 100,000 but less than $1,000,000; plus
 21
 22
                 (3)                .% of total costs in excess of $ 1，〇00,000.
 23
 24
           Total cost shall mean the gross cost of any one project. For the purpose of this paragraph, the component parts of a single Major
 25
           Construction project shall not be treated separately, and the cost of drilling and workover wells and purchasing and installing pumping
 26
           units and downhole artiticial lift equipment shall be excluded. For Catastrophes, the rates shall be applied to all costs associated with each
 27
           single occurrence or event.
 28
 29
           On each project the Operator shall aavise the Non-Operator(s) in advance which of the above options shall apply.
 30
 31
           For the purposes of calculating Catastrophe Overhead, the cost of drilling relief wells, substitute wells, or conducting other well operations
 32
           directly resulting from the catastrophic event shall be included. Expenditures to which these rates apply shall not be reduced by salvage or
 33
           insurance recoveries. Expenditures that qualify for Major Construction or Catastrophe Overhead shall not qualify for overhead under any
 34
           other overhead provisions.
 35
 36
           In the event of any conflict between the provisions of this Section 111.2 and the provisions of Sections 11.2 (Labor), 11.5 (Se/yices), or 11.7
 37
           {Affiliates), the provisions of this Section 111.2 shall govern.
 38
 39
      3.   AMENDMENT OF OVERHEAD RATES
 40
 41
           The overhead rates provided for in this Section III may be amended from time to time ir，m practice，the rates are found to be insufticient
 42
           or excessive，in accordance with the provisions of Section 1.6.B {Amendments).
 43
 44
 45
                                              IV. MATERIAL PURCHASES, TRANSFERS, AND DISPOSITIONS
 46
 47
      The Operator is responsible for Joint Account Material and shall make proper and timely charges and credits for direct purchases, transfers, and
 48
      dispositions. The Operator shall provide all Material for use in the conduct of Joint Operations; however. Material may be supplied by the Non-
 49
      Operators, at the Operator’s option. Material furnished by any Party shall be fijmished without any express or implied warranties as to quality,
 50
      fitness for use, or any other matter.
 51
 52
            DIRECT PURCHASES
 53
 54
            Direct purchases shall be charged to the Joint Account at the price paid by the Operator after deduction of all discounts received. The
 55
            Operator shall make good faith efforts to take discounts offered by suppliers, but shall not be liable for failure to take discounts except to
 56
            the extent such failure was the result of the Operator’s gross negligence or willful misconduct. A direct purchase shall be deemed to occur
 57
            when an agreement is made between an Operator and a third party for the acquisition of Material for a specific well site or location.
 58
            Material provided by the Operator under “vendor stocking programs，’’ where the initial use is for a Joint Property and title of the Material
 59
            does not pass from the manufacturer, distributor, or agent until usage, is considered a direct purchase. If Material is found to be defective
 60
            or is returned to the manufacturer, distributor, or agent for any other reason, credit shall be passed to the Joint Account within sixty (60)
 61
            days after the Operator has received adjustment from the manufacturer, distributor, or agent.
 62
 63
 64
 65
 66




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      2.   TRANSFERS

 2
           A transfer is determined to occur when the Operator (i) ftimishes Material from a storage facility or from another operated property, (ii) has
 3
           assumed liability for the storage costs and changes in value, and (iii) has previously secured and held title to the transferred Material.
 4
           Similarly, the removal of Material from the Joint Property to a storage facility or to another operated property is also considered a transfer;
 5
           provided，however. Material that is moved from the Joint Property to a storage location for safe-keeping pending disposition may remain
 6
           charged to the Joint Account and is not considered a transfer. Material shall be disposed of in accordance with Section IV.3 {Disposition of
 7
           Surplus) and the Agreement to which this Accounting Procedure is attached.
  8
 9
           A.   PRICING
 10
 11
                The value of Material transferred to/from the Joint Property should generally reflect the market value on the date of physical transfer.
 12
                Regardless of the pricing method used, the Operator shall make available to the Non-Operators sufficient documentation to verify the
 13
                Material valuation. When higher than specification grade or size tubulars are used in the conduct of Joint Operations, the Operator
 14
                shall charge the Joint Account at the equivalent price for well design specification tubulars，unless such higher specification grade or
 15
                sized tubulars are approved by the Parties pursuant to Section I.6.A (General Matters). Transfers of new Material will be priced
 16
                using one of the following pricing methods; provided, however, the Operator shall use consistent pricing methods, and not alternate
 17
                between methods for the purpose of choosing the method most favorable to the Operator for a specific transfer:
 18
 19
                (1)    Using published prices in effect on date of movement as adjusted by the appropriate COPAS Historical Price Multiplier (HPM)
 20
                       or prices provided by the COPAS Computerized Equipment Pricing System (CEPS).
 21
 22
                       (a)   For oil country tubulars and line pipe, the published price shall be based upon eastern mill carload base prices (Houston,
 23
                             Texas, for special end) adjusted as of date of movement, plus transportation costas defined in Section IV.2.B [Freight).
 24
 25
                       (b)   For other Material, the published price shall be the published list price in effect at date of movement, as listed by a Supply
 26
                             Store nearest the Joint Property where like Material is normally available，or point of manufacture plus transportation
 27
                             costs as defined in Section IV.2.B (Freight).
 28
 29
                (2)    Based on a price quotation from a vendor that reflects a current realistic acquisition cost.
 30
 31
                 (3)   Based on the amount paid by the Operator for like Material in the vicinity of the Joint Property within the previous twelve (12)
 32
                       months from the date of physical transfer.
 33
 34
                 (4)   As agreed to by the Participating Parties for Material being transferred to the Joint Property, and by the Parties owning the
 35
                       Material for Material being transferred from the Joint Property.
 36
 37
           B.    FREIGHT
 38
 39
                 Transportation costs shall be added to the Material transfer price using the method prescribed by the COPAS Computerized
 40
                 Equipment Pricing System (CEPS). If not using CEPS, transportation costs shall be calculated as follows:
 41
 42
                 (1) Transportation costs for oil country tubulars and line pipe shall be calculated using the distance from eastern mill to the
 43
                     Railway Receiving Point based on the carload weight basis as recommended by the COPAS MFI-38 (“Material Pricing
 44
                     Manual”)and other COPAS MFIs in effect at the time of the transfer.
 45
 46
                 (2)   Transportation costs for special mill items shall be calculated from that mill's shipping point to the Railway Receiving Point.
 47
                       For transportation costs from other than eastern mills, the 30,000-pound interstate truck rate shall be used. Transportation costs
 48
                       for macaroni tubing shall be calculated based on the interstate truck rate per weight of tubing transferred to the Railway
 49
                       Receiving Point.
 50
 51
                 (3) Transportation costs for special end tubular goods shall be calculated using the interstate truck rate from Houston, Texas, to the
 52
                     Railway Receiving Point.
 53
 54
                 (4)   Transportation costs for Material other than that described in Sections IV.2.B.(1) through (3), shall be calculated from the
 55
                       Supply Store or point of manufacture, whichever is appropriate, to the Railway Receiving Point
 56
 57
                 Regardless of whether using CEPS or manually calculating transportation costs, transportation costs from the Railway Receiving Point
 58
                 to the Joint Property are in addition to the foregoing, and may be charged to the Joint Account based on actual costs incurred. All
 59
                 transportation costs are subject to Equalized Freight as provided in Section 11.4 (Transportation) of this Accounting Procedure.
 60
 61
           C     TAXES
 62
 63
                 Sales and use taxes shall be added to the Material transfer price using either the method contained in the COPAS Computerized
 64
                 Equipment Pricing System (CbPS) or the applicable tax rate in effect for the Joint Property at the time and place of transfer. In either
 65
                 case, the Joint Account shall be charged or credited at the rate that would have governed had the Material been a direct purchase.
 66




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          D.   CONDITION

 2
               (1)    Condition “A” - New and unused Material in sound and serviceable condition shall be charged at one hundred percent (100%)
 3
                      of the price as determined in Sections IV.2.A {Pricing), IV.2.B {Freight), and IV.2.C {Taxes). Material transferred from the
 4
                      Joint Property that was not placed in service shall be credited as charged without gain or loss; provided, however, any unused
  5
                      Material that was charged to the Joint Account through a direct purchase will be credited to the Joint Account at the original
 6
                      cost paid less restocking fees charged by the vendor. New and unused Material transferred from the Joint Property may be
 7
                      credited at a price other than the price originally charged to the Joint Account provided such price is approved by the Parties
  8
                      owning such Material, pursuant to Section 1.0.A (General Matters). All refurbishing costs required or necessary to return the
 9
                      Material to original condition or to correct handling, transportation, or other damages will be borne by the divesting property.
 10
                      The Joint Account is responsible for Material preparation, handling, and transportation costs for new and unused Material
 11
                      charged to the Joint Property either through a direct purchase or transfer. Any preparation costs incurred, including any internal
 12
                      or external coating and wrapping, will be credited on new Material provided these services were not repeated for such Material
 13
                      for the receiving property.
 14
 15
               (2)    Condition “B” 一 Used Material in sound and serviceable condition and suitable for reuse without reconditioning shall be priced
 16
                      by multiplying the price determined in Sections IV.2.A (Pricing), 1V.2.B {Freight), and IV.2.C (Taxes) by seventy-five percent
 17
                      (75%).
 18
 19
                      Except as provided in Section IV.2.D(3), all reconditioning costs required to return the Material to Condition “B” or to correct
 20
                      handling, transportation or other damages will be borne by the divesting property.
 21
 22
                      If the Material was originally charged to the Joint Account as used Material and placed in service for the Joint Property, the
 23
                      Material will be credited at the price determined in Sections IV.2.A {Pricirjg\ IV.2.B (Freight), and FV.2.C {Taxes) multiplied
 24
                      by sixty-five percent (65%).
 25
 26
                      Unless otherwise agreed to by the Parties that paid for such Material, used Material transferred from the Joint Property that was
 27
                      not placed in service on the property shall be credited as charged without gain or loss.
 28
 29
               (3)    Condition “C” 一 Material that is not in sound and serviceable condition and not suitable for its original function until after
 30
                      reconditioning shall be priced by multiplying the price determined in Sections IV.2.A (Pricing), IV.2.B {Freight), and IV.2.C
 31
                      [Taxes) by fifty percent (50%).
 32
 33
                      The cost of reconditioning may be charged to the receiving property to the extent Condition “C” value，plus cost of
 34
                      reconditioning，does not exceed Condition “B” value.
 35
 36
               (4)    Condition “D” 一 Material that (i) is no longer suitable for its original purpose but useable for some other purpose, (ii) is
 37
                      obsolete，or (iii) does not meet original specifications but still has value and can be used in other applications as a substitute for
 38
                      items with different specifications, is considered Condition “D” Material. Casing, tubing, or drill pipe used as line pipe shall be
 39
                      priced as Grade A and B seamless line pipe of comparable size and weight Used casing, tubing, or drill pipe utilized as line
 40
                      pipe shall be priced at used line pipe prices. Casing, tubing, or drill pipe used as higher pressure service lines than standard line
 41
                      pipe, e.g.，power oil lines, shall be priced under normal pricing procedures for casing, tubing, or drill pipe. Upset tubular goods
 42
                      shall be priced on a non-upset basis. For other items, the price used should result in the Joint Account being charged or credited
 43
                      with the value of the service rendered or use of the Material, or as agreed to by the Parties pursuant to Section 1.6. A {General
 44
                      Matters).
 45
 46
               (5)    Condition “E” 一 Junk shall be priced at prevailing scrap value prices.
 47
 48
          E.   OTHER PRICING PROVISIONS
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 50
 51
               ⑴      Preparation Costs

 52
                      Subject to Section II [Direct Charges) and Section III {Overhead) of this Accounting Procedure, costs incurred by the Operator
 53
                      in making Material serviceable including inspection, third party surveillance services, and other similar services will be charged
 54
                      to the Joint Account at prices which reflect the Operator’s actual costs of the services. Documentation must be provided to the
 55
                      Non-Operators upon request to support the cost of service. New coating and/or wrapping shall be considered a component of
 56
                      the Materials and priced in accordance with Sections IV.1 (Direct Purchases) or IV.2.A {Pricing), as applicable. No charges or
 57
                      credits shall be made for used coating or wrapping. Charges and credits for inspections shall be made in accordance with
 58
                      COPAS MFI-38 (“Material Pricing Manual”).
 59
 60
                (2)   Loading and Unloading Costs
 61
 62
                       Loading and unloading costs related to the movement of the Material to the Joint Property shah be charged in accordance with
 63
                       the methods specified in COPAS MFI-38 (“Material Pricing Manual”).
 64
 65
 66




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      3.   DISPOSITION OF SURPLUS

 2
           Surplus Material is that Material, whether new or used, that is no longer required for Joint Operations. The Operator may purchase, but
 3
           shall be under no obligation to purchase, the interest of the Non-Operators in surplus Material.
 4
 5
           Dispositions for the purpose of this procedure are considered to be the relinquishment of title of the Material from the Joint Property to
 6
           either a third party, a Non-Operator, or to the Operator. To avoid the accumulation of surplus Material, the Operator should make good
  7
           faith efforts to dispose of surplus within twelve (12) months through buy/sale agreements, trade, sale to a third party, division in kind, or
  8
           other dispositions as agreed to by the Parties.
  9
 10
           Disposal of surplus Materials shall be made in accordance with the terms of the Agreement to which this Accounting Procedure is
 11
           attached. If the Agreement contains no provisions governing disposal of surplus Material, the following terms shall apply:
 12
 13
                      The Operator may, through a sale to an unrelated third party or entity, dispose of surplus Material having a gross sale value that
 14
                      is less than or equal to the Operator’s expenditure limit as set forth in the Agreement to which this Accounting Procedure is
 15
                      attached without the prior approval of the Parties owning such Material.
 16
 17
                       If the gross sale value exceeds the Agreement expenditure limit, the disposal must be agreed to by the Parties owning such
 18
                       Material.
 19
 20
                      Operator may purchase surplus Condition “A” or “B” Material without approval of the Parties owning such Material, based on
 21
                      the pricing methods set forth in Section IV.2 {Transfers).
 22
 23
                      Operator may purchase Condition “C” Material without prior approval of the Parties owning such Material if the value of the
 24
                      Materials, based on the pricing methods set forth in Section IV.2 {Transfers), is less than or equal to the Operator’s expenditure
 25
                      limitation set forth in the Agreement. The Operator shall provide documentation supporting the classification of the Material as
 26
                       Condition C.
 27
 28
                       Operator may dispose of Condition “D” or “E” Material under procedures normally utilized by Operator without prior approval
 29
                       of the Parties owning such Material.
 30
 31
      4.   SPECIAL PRICING PROVISIONS
 32
 33
           A.    PREMIUM PRICING
 34
 35
                 Whenever Material is available only at inflated prices due to national emergencies, strikes, government imposed foreign trade
 36
                 restrictions, or other unusual causes over which the Operator has no control, for direct purchase the Operator may charge the Joint
 37
                 Account for the required Material at the Operator’s actual cost incurred in providing such Material, making it suitable for use, and
 38
                 moving it to the Joint Property. Material transferred or disposed of during premium pricing situations shall be valued in accordance
 39
                 with Section IV.2 {Transfers) or Section IV.3 (Disposition ofSurplus), as applicable.
 40
 41
           B.    SHOP-MADE ITEMS
 42
 43
                 Items fabricated by the Operator’s employees, or by contract laborers under the direction of the Operator, shall be priced using the
 44
                 value of the Material used to construct the item plus the cost of labor to fabricate the item. If the Material is from the Operator’s
 45
                 scrap or junk account, the Material shall be priced at either twenty-five percent (25%) of the current price as determined in Section
 46
                 IV.2.A {Pricing) or scrap value, whichever is higher. In no event shall the amount charged exceed the value of the item
 47
                 commensurate with its use.
 48
 49
           C.    MILL REJECTS
 50
 51
                 Mill rejects purchased as “limited service” casing or tubing shall be priced at eighty percent (80%) of K-55/J-55 price as determined in
 52
                 Section IV.2 (Transfers). Line pipe converted to casing or tubing with casing or tubing couplings attached shall be priced as K-55/J-
 53
                 55 casing or tubing at the nearest size and weight.
 54
 55
 56
                                                  V. INVENTORIES OF CONTROLLABLE MATERIAL
 57
 58
 59
      The Operator shall maintain records of Controllable Material charged to the Joint Account，with sufficient detail to perform physical inventories.
 60
 61
      Adjustments to the Joint Account by the Operator resulting from a physical inventory of Controllable Material shall be made within twelve (12)
 62
      months following the taking of the inventory or receipt of Non-Operator inventory report. Charges and credits for overages or shortages will be
 63
      valued for the Joint Account in accordance with Section IV.2 (Transfers) and shall be based on the Condition “B” prices in effect on the date of
 64
      physical inventory unless the inventoiying Parties can provide sufficient evidence another Material condition applies.
 65
 66




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           DIRECTED INVENTORIES
  1
 2
           Physical inventories shall be performed by the Operator upon written request of a majority in working interests of the Non-Operators
 3
           (hereinafter, “directed inventory”)； provided, however，the Operator shall not be required to perform directed inventories more frequently
 4
           than once every five (5) years. Directed inventories shall be commenced within one hundred eighty (180) days after the Operator receives
 5
           written notice that a majority in interest of the Non-Operators has requested the inventory. All Parties shall be governed by the results of
 6
           any directed inventory.
 7
 8
           Expenses of directed inventories will be borne by the Joint Account; provided, however, costs associated with any post-report follow-up
  9
           work in settling the inventory will be absorbed by the Party incurring such costs. The Operator is expected to exercise judgment in keeping
 10
           expenses within reasonable limits. Any anticipated disproportionate or extraordinary costs should be discussed and agreed upon prior to
 U
           commencement of the inventory. Expenses of directed inventories may include the following:
 12
 13
           A.   A per diem rate for each inventory person, representative of actual salaries, wages, and payroll burdens and benefits of the personnel
 14
                performing the inventory or a rate agreed to by the Parties pursuant to Section 1.6.A {General Matters). The per diem rate shall also
 15
                be applied to a reasonable number of days for pre-inventory work and report preparation.
 16
 17
           B.   Actual transportation costs and Personal Expenses for the inventory team.
 18
 19
           C.   Reasonable charges for report preparation and distribution to the Non-Operators.
 20
 21
      2.   NON-DIRECTED INVENTORIES
 22
 23
           A.   OPERATOR INVENTORIES
 24
 25
                Physical inventories that are not requested by the Non-Operators may be performed by the Operator, at the Operator’s discretion. The
 26
                expenses of conducting such Operator-initiated inventories shall not be charged to the Joint Account.
 27
 28
           B.   NON-OPERATOR INVENTORIES
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 30
                 Subject to the terms of the Agreement to which this Accounting Procedure is attached, the Non-Operators may conduct a physical
 31
                 inventory at reasonable times at their sole cost and risk after giving the Operator at least ninety (90) days prior written notice. The
 32
                 Non-Operator inventory report shall be furnished to the Operator in writing within ninety (90) days of completing the inventory
 33
                 fieldwork.
 34
 35
           C.    SPECIAL INVENTORIES
 36
 37
                The expense of conducting inventories other than those described in Sections V.l (Directed Inventories), V.2.A (Operator
 38
                Inventories), or V.2.B {Non-Operator Inventories), shall be charged to the Party requesting such inventory; provided, however，
 39
                inventories required due to a change of Operator shall be charged to the Joint Account in the same manner as described in Section
 40
                 V.l {DirectedInventories).
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                                            EXHIBIT “D”
                                         BREWTON PROSPECT
                                     ESCAMBIA COUNTY, ALABAMA

                                   Attached to and made a part of that certain
                        Operating Agreement (Brewton Prospect) dated January 23, 2015,
                        by and between Sklar Exploration Company L丄.C., as Operator,
                                   and Sklarco L.L.C., et al., as Non-Operator

   Operator shall carry the following insurance with the limits stipulated below for the joint account.
   Operator shall have the right to charge the joint account premiums for the insurance coverage required by
   this Exhibit. Such premiums shall be allocated to the joint account using a fair and reasonable method
   based on the nature of the operations covered by this Agreement. Non-operating working interest owners
   shall be named as additional insured on the liability policies. This insurance shall be primary.
   Certificates of insurance will be provided upon request.

            WORKERS，COMPENSATION AND EMPLOYER’S LIABILITY

   A. Workers’ Compensation and Employer’s Liability Insurance covering the employees of Operator
   engaged in operations hereunder in compliance with the applicable State and Federal Laws.

   B. Extension of Coverage B of policy to provide for not less than $500,000 for death or injury to one
   person in any one accident.

   II.      COMPREHENSIVE GENERAL LIABILITY

   Coverage for all operations conducted hereunder Dy Operator for the Joint Account with a combined
   single limit each occurrence/aggregate of $2,000,000 for bodily injury and property damage. Said
   Comprehensive General Liability Insurance shall include contractual liability coverage.

   III.     AUTOMOBILE LIABILITY

   Coverage shall include owned, non-owned and hired vehicles. Limit $500,000 combined single limit
   each occurrence for bodily injury and property damage.

   IV.      EXCESS LIABILITY

   Operator shall carry excess liability insurance in an amount necessary to provide a total of $5,000,000
   coverage for both Automobile Liability and Comprehensive General Liability.

   Any party, at its own expense, may carry its own coverage for Excess Liability Insurance with limits as
   set forth in this Section IV. Any party so electing must notify Operator of such election prior to
   commencement of operations and provide a certificate of insurance evidencing the appropriate limits of
   liability. Upon timely notification such party will not be charged by Operator for the coverage.

    V.      EXTRA EXPENSE LIABILITY

   Operator’s Extra Expense coverage including control of well, seepage, pollution and contamination
   coverage, cleanup and/or containment coverage, redrilling and/or restoring, shall be carried by Operator,
   subject to limit(s) as shown below and subject to deductible not to exceed $25,000 per occurrence.

                                           Liability Limit: $5,000,000

    Any party, at its own expense, may carry its own coverage for Extra Expense Liability Insurance with
    limits as set forth in this Section V. Any party so electing must notify Operator of such election prior to
    commencement of operations and provide a certificate or insurance evidencing the appropriate limits of
    liability. Upon timely notification such party will not be charged by Operator for the coverage.


   ANY PARTY, at its own expense, may acquire such additional insurance as it may deem necessary to
   protect its own interest against claims, losses, damages or destruction to property arising out of operations
   hereunder.




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                                             EXHIBIT “E”
                                          BREWTON PROSPECT
                                      ESCAMBIA COUNTY, ALABAMA

                                    Attached to and made a part of that certain
                         Operating Agreement (Brewton Prospect) dated January 23, 2015,
                         by and between Sklar Exploration Company L.L.C., as Operator,
                                    and Sklarco L.L.C., et al., as Non-Operator


                                       GAS BALANCING AGREEMENT

          Subject to and under the terms of the above described Operating Agreement, the parties hereto
   own and are entitled to share in the oil and gas produced from the wells completed on the Joint Operating
   Area described in the Operating Agreement (the “JOA”).

           Each party shall have the right, but not the obligation, to make arrangements to sell or utilize its
   share of the gas produced from said JOA. However, one or more of the parties may be unable to take or
   market its interest in the gas production from time to time; therefore, to permit any party to produce and
   dispose of its interest in the gas production from the JOA with as much flexibility as possible, the parties
   hereto agree to the storage and balancing agreement herein set forth.


            Subject to the provisions of the Operating Agreement to which this Exhibit is attached, during the
   period or periods when any party hereto has no market for, or its purchaser is unable to take or if any
   party elects not to take its share of gas, the other parties, or any of them, shall be entitled to produce and
   take said share, and each of such taking parties shall have the right to take all or any part of its pro rata
   share thereof, said pro rata share being based on the ratio of its participation percentage under this
   Operating Agreement to the participation percentages of all taking parties. All parties hereto shall share
   in and own the condensate recovered at the surface in accordance with their respective interest, but each
   party taking such gas shall own all of the gas delivered to its purchaser. Any party whose share of gas is
   not marketed shall be credited with gas in storage equal to its share of the gas produced, less its share of
   the gas used in lease operation, vented or lost. Operator shall maintain a current account of the gas
   balance between the parties and shall furnish all parties hereto monthly statements showing the total
   quantity of gas produced, used in lease operations, vented or lost, and the total quantity of condensate
   recovered.
                                                          2.
            After notice to Operator, any party may begin taking or delivering its share of the gas produced.
   In addition to its share, each party, until it has recovered its gas in storage and balanced its gas account,
   shall be entitled to take or deliver a volume of gas equal to fifty percent (50%) of each overproduced
   party’s share of gas produced. If more than one party is entitled to the stated volume of the overproduced
   parties’ share of gas, each shall have the right to take all or any part of its pro rata share thereof, said pro
   rata share being based on the ration of its participation percentage under this Operating Agreement to the
   participating percentages of all entitled parties. Each party shall at all times use its best efforts to regulate
   its takes and deliveries from the Unit Area so the lease will not be shut-in for overproducing the
   allowable, it any, assigned thereto by the regulatory body having jurisdiction.

                                                          3.
            At all times while gas is produced from the Contract Area, any party taking or marketing gas shall
   furnish to the Operator monthly reports of the volumes of gas delivered to its purchaser during the
   preceding month and to the revenue attributable thereto; and any such party shall pay to the Operator a
   percentage of the proceeds of such sale equal to the aggregate percentage of any and all royalties and
   overriding royalties which are payable on gas produced by any such party, and Operator will, in turn,
   make settlement for all royalties and overriding royalties which are payable on gas produced from the
   Contract Area. In the event that the total royalties and overriding royalties so paid to the Operator be
   insufficient to discharge royalty and overriding royalty obligations on gas produced and marketed from
   the Contract Area, then any such deficiency will be borne by the party whose interest is burdened by the
   royalty or overriding royalty as to which the deficiency was asserted. Any party or parties contributing
   separate leases to the Contract Area shall furnish the Operator with division order title opinions on which
   Operator shall be entitled to rely in making distribution of royalties and overriding royalties share of
   production of liquid hydrocarbons recovered from the gas by lease equipment.

                                                          4.
           Any party producing and taking or delivering gas to the purchaser shall pay any and all
   production taxes due on such gas. Also, any party producing and taking or delivering gas to its purchaser
   shall pay, or cause to be paid, royalty and other obligations payable out of production due to its royalty
   owners based on the volume of gas actually taken for its account.

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                                                          5.
            Nothing herein shall be construed to deny any party the right, from time to time, to produce and
   take or deliver to the purchaser its full share of the allowable gas production to meet the deliverability
   tests required by its purchaser.
                                                          6.
            Should production of gas from any reservoir or producing formation of each wellbore be
   permanently discontinued before the gas account is balanced, cash settlement will be made between the
   underproduced and overproduced parties. In making such cash settlement, each overproduced party shall
   make payment to Operator along with sufficient accounting documentation as hereinafter described and
   Operator shall make disbursement to the underproduced parties. In making such settlement, the
   underproduced party or parties will be paid a sum of money by the overproduced party or parties
   attributable to the overproduction which said overproduced party sold or took but did not sell, less
   applicable production taxes and royalties theretofore paid, less any reasonable compression, treating,
   gathering, or transportation costs actually incurred and paid to third party, unaffected entitles and
   otherwise directly in connection with the sale of the overproduction, at the price received by the
   overproduced party at the time and from time to time the overproduced party delivered and sold that
   portion of production that was attributable to the share of the underproduced party. For gas taken but not
   sold, settlement shall be based on the price which the taking party would have received under its purchase
   agreement if the gas had been sold at the time taken, or, in absence of a contract, at the weighted average
   price of the parties selling gas at the time the gas was taken.

            In the event any gas sold under this Agreement is subject to a regulated price by the FERC or a
   successor agency or governmental authority with jurisdiction thereover, the price basis shall be the rate
   collected, from time to time, which is not subject to possible refund, as provided by NGPA or as required
   by the FERC pursuant to the final determination, order, or settlement applicable to the gas sold from any
   reservoir (other than the general refund obligation of 18 CFR Section 273.301 or its successor regulation
   and the potential refund obligations arising from the lack of absolute finality provided by Section 502 (d)
   (1) and (2) of the NGPA plus any additional collected amount to be accounted for at such time as final
   determination is made with respect thereto but shall not exceed their contractually entitled price of the
   underproduced party. Notwithstanding the foregoing, should the underproduced party desire to receive
   such additional collected amount which is subject to possible refund pending the issuance of said final
   determination, order, or settlement, such underproduced party shall be entitled to the payment thereof
   from the overproduced party of parties upon the underproduced party executing and delivering to said
   overproduced party or parties an acceptable agreement in whicn the underproduced party agrees to repay
   to the overproduced party of parties that amount so paid that is required by said final determination, order,
   or settlement to be refunded, plus the interest thereon specified in the pertinent Order of the Commission.

             Notwithstanding anything within this Agreement to the contrary, in no event shall an
    underproduced party be entitled to an overproduction payment which is attributable to a price which was
    higher than the underproduced party could have collected under the terms of its gas purchase contract, if
    in existence, at the time the gas was taken by the overproduced party. Further, no overproduced party
    shall ever be required to make an overproduction payment to any underproduced party, which exceeds the
    amount the overproduced party actually received for the gas at the time it was produced.

                                                            7.
             This Agreement shall be and remain in force and effect for a term concurrent with the term of that
    certain Operating Agreement between the parties described above to which it comprises the exhibit noted
    hereinabove.
                                                            8.
             Nothing herein shall change or affect each party’s obligation to pay its proportionate share of all
    costs and liabilities incurred in JOA operations as its share thereof is set forth in the above described Joint
    Operating Agreement.
                                                            9.
             The terms, covenants and conditions of this Agreement shall be binding upon and shall inure to
    the benefit of the parties hereto and their respective successors and assigns. The parties hereto agree to
    give notice of the existence of this agreement to any successor in interest and make any transfer of any
    interest in the lease or any part thereof subject to the terms of this Agreement.




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